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                                EXHIBIT B (contd.)

                         Copy of All Filings with State Court
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                                                                                 Velva L. Price
                                                                                District Clerk
                                                                                Travis County
                                                                             D-1-GN-18-001835
                              D-1-GN-18-001835                               Alexus Rodriguez

   NEIL HESLIN                            §    IN DISTRICT COURT OF
      Plaintiff                           §
                                          §
   VS.                                    §
                                          §    TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,          §
   FREE SPEECH SYSTEMS, LLC, and          §
   OWEN SHROYER,                          §
      Defendants                          §    459th DISTRICT COURT
                                          §

                              D-1-GN-18-001842
   LEONARD POZNER and                     §    IN DISTRICT COURT OF
   VERONIQUE DE LA ROSA                   §
      Plaintiffs                          §
                                          §
   VS.                                    §    TRAVIS COUNTY, TEXAS
                                          §
   ALEX E. JONES, INFOWARS, LLC,          §
   and FREE SPEECH SYSTEMS, LLC,          §
       Defendants                         §    459th DISTRICT COURT
                                          §


                              D-1-GN-18-006623
   SCARLETT LEWIS                         §    IN DISTRICT COURT OF
      Plaintiff                           §
                                          §
   VS.                                    §
                                          §    TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,          §
   and FREE SPEECH SYSTEMS, LLC,          §
       Defendants                         §
                                          §    459th DISTRICT COURT
                                          §


              REPLY IN SUPPORT OF MOTION FOR PRO HAC VICE
                     ADMISSION OF MARC J. RANDAZZA
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        Plaintiffs’ response to the Motion for pro hac vice admission is an
 unprofessional screed that relies primarily on a legal nullity, a vacated interim
 arbitration order1, outright lies, and half truths.
        Plaintiffs’ counsel have known for years that Randazza and his firm are
 representing Defendants in litigation involving the Sandy Hook shooting, and in fact
 invited his participation. (See Declaration of Marc J. Randazza [“Randazza Decl.”],
 attached as Exhibit 1; see also August 12, 2020 email from Mark Bankston to
 Randazza, attached as Exhibit 2; and see August 26, 2019 letter from Bankston to
 Scott Nyitray and Michael Burnett, attached as Exhibit 3.)
        Yet now, for dramatic effect, they act surprised that he has sought pro hac vice
 admission here. This is a tactical opposition that is not made in good faith. Plaintiffs
 argue that Randazza should be denied admission based on his use of colorful language
 in out-of-court statements, but such a standard (if applied evenly), would disqualify
 Plaintiffs’ lead counsel, Mark Bankston, and would also potentially subject him to
 discipline by the State Bar. Plaintiffs’ opposition is no more than a strategic attempt
 to deny Defendants their counsel of choice.
        The competing values in this dispute are a defendant’s right to counsel of his
 choice, counsel who has been with him for years, and who he is comfortable with.
 Notably, Attorney Bankston himself wrote that Randazza has approached this
 litigation in a “very tasteful and principled” manner. See Exhibit 3. Mr. Bankston
 wrote “His [Randazza’s] presence in these lawsuits as InfoWars’ corporate counsel
 is sorely missed.” Id. Bankston even provided a sworn declaration that “my
 experience with Mr. Randazza in that case [referring to the instant case] was that he


 1
   It was vacated after a court refused to confirm it. Should the Court wish, Defendants would be
 happy to share the briefing on why, as a matter of law, it was unreliable and biased, with statements
 that flew in the face of undisputed fact and governing law. However, Defendants will generally
 refrain from unnecessarily relitigating issues relating to that discarded arbitration.

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 always acted properly and above reproach in all respects.” See Exhibit 4,
 Declaration of Mark. Bankston.)
        On the other side of the dispute is the plaintiffs who speculate (if they are
 credited with being honest, and this “speculation” is not mere cynical tactical
 maneuvering) that Mr. Randazza may do something that they may find troubling, but
 against the backdrop of their clear interest in depriving the Defense of one of the top
 First Amendment lawyers in the nation, who has been involved in coordinating
 aspects of this litigation for years.2
        The Defendant's right to counsel of his choice outweighs any speculation on
 the Plaintiff's part.    If the court denies the motion, then the Defendants are
 permanently denied their right to counsel of their choice. If the Court grants the
 motion, there is no permanency - the court retains the right, at any time, without
 notice, to revoke the pro hac vice admission. If Mr. Randazza is admitted pro hac
 vice, he will have a very strong incentive to comport himself in a manner that will be
 far afield from the image that Mr. Bankston is trying to paint.
        The Court should grant the instant Motion and admit Randazza pro hac vice.
 1.0    LEGAL STANDARD
        1.1    Applicable Law
        Texas courts long ago also settled that a litigant’s right to be represented by the
 attorney of his choice is a significant one, and the unwarranted denial of a defendant’s
 right to select counsel constitutes fundamental error. See Keller Industries, Inc. v.
 Blanton, 804 S.W.3d 182, 185 (Tex. App.—Houston [14th Dist.] 1991, orig.
 proceeding); Ayres v. Canales, 790 S.W.2d 554, 557–58 (Tex.1990); Farmers' Gas
 Co. v. Calame, 262 S.W. 546, 548 (Tex. Civ. App.—Waco 1924, no writ). See also,
 Swartz v. Swartz, 76 S.W.2d 1071, 1072 (Tex. Civ. App.—Dallas 1934, no writ)

 2
  Randazza was absent for a number of months, predicating Bankston’s comment that he was not
 still involved.

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 (unwarranted denial of counsel of choice constitutes reversible error). Absent a
 compelling reason, courts should not deprive litigants of that right because such
 deprivation can result in immediate and palpable harm. Hoggard v. Snodgrass, 770
 S.W.2d 577, 581 (Tex. App. — Dallas 1989, orig. proceeding).
        This right is not unfettered of course. The attorney must be legally qualified,
 which Mr. Randazza clearly is. In the case of a non-resident attorney, the Court must
 approve the attorney in accordance with standards promulgated by the Supreme Court
 at the time. There is no dispute that Mr. Randazza has meet these promulgated
 statutory requirements.3 In Texas, courts are clear that once a Texas defendant
 complies with the rules and regulations that defendant should not be denied his or her
 choice of counsel by a Court except for compelling reasons. Blanton, 804 S.W.3d
 at 185. “Unsupported speculation as to possible, future misbehavior on their part
 should not preclude non-resident attorneys from representing clients in Texas
 courts.” Id. Although Ayres specifically dealt with the advocate-witness rule, the
 Supreme Court there stated, “the rule should not be used as a tactical weapon to
 deprive the opposing party of a right to be represented by the lawyer of his or her
 choice because reducing the rule to such a use would subvert its purpose.” Id.
        Most certainly, the Plaintiffs are seeking to use this process as just such a
 tactical weapon for the precise purpose of trying to deprive the Defendants of their
 right to be represented by a lawyer of their choice. This Court is begged to not subvert
 the rule for this purpose.
        1.2    Plaintiffs try to mislead the court with their citations
        It is telling that the case law on which Plaintiffs rely to argue for a much
 different standard comes from foreign jurisdictions.4 Further, while Bankston has

 3
   In fact, Mr. Randazza has been admitted to the bar of the Western District of Texas and the 5th
 Circuit Court of Appeals recently. See Exhibit 6 and Exhibit 7.
 4
   For example, he relies on a District of Rhode Island case. Randazza was admitted pro hac vice in


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 carefully cherry picked quotes from those cases to try to make it appear that they
 support his position, an examination of the facts in those cases shows that he seems
 to be trying to mislead the court as to how applicable they are.
        In Kampitch v. Lach, 405 F. Supp. 2d 210, 211 (D.R.I. 2005), the petitioning
 attorney expressly failed to disclose three incidents of sanctions and two prior pro
 hac vice applications. In sharp contrast, Mr. Randazza has withheld nothing. Notably,
 the U.S. District Court for the District of Rhode Island admitted Mr. Randazza pro
 hac vice only a few weeks ago, with the same fulsome disclosures made in this matter.
 Moreover, the misconduct in Kampitch was recent in time; Mr. Randazza’s discipline
 arose from events in 2012.
        In Panzardi-Alvarez v. United States, 879 F.2d 975, 978 (1st Cir. 1989), the
 petitioning attorney harassed the judge and failed to disclose an improper payment
 scheme; Mr. Randazza has done nothing of the sort.
        Kohlmayer v. AMTRAK, 124 F. Supp. 2d 877, 880 (D.N.J. 2000) involved an
 attorney who “left a trail of mistrials in his wake” and engaged in improper in court
 conduct; such is not the case with Mr. Randazza. In fact, in a different Rhode Island
 case, the presiding state court judge specifically noted that none of Randazza’s prior
 incidents involved litigation misconduct. See Exhibit 7.
        In Collins v. Collins, 2020 OK CIV APP 65, ¶ 34, 481 P.3d 270, 278, there
 was a “potential for abusive misconduct” where the attorney withheld information
 from the court; Mr. Randazza has made no such withholding.




 both the District of Rhode Island and in Rhode Island state court, after a full examination of his
 history. See Exhibit 7. He relies on a Massachusetts case, when Mr. Randazza clearly meets the
 standard to practice in Massachusetts, as he is a member in good standing of the Massachusetts bar.
 He relies on a 1st Cir. Case, a Middle District of Florida case, as well – bars where he is admitted,
 and bars where prior litigation adversaries have sought to use this very same information against
 him.

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       Meschi v. Iverson, 60 Mass. App. Ct. 678, 681-82, 805 N.E.2d 72, 74-75
 (2004) directly involved skirting professional ethics to the potential detriment of an
 opposing party; such has never occurred as to Mr. Randazza.
       The attorney in Mike Woods v. On Baldwin Pond, LLC , No. 6:13-cv-726-Orl-
 41DAB, 2014 WL 12625077 (M.D. Fla. Nov. 26, 2014) displayed a “consistent lack
 of knowledge” of the local rules; Mr. Randazza has never been so accused.
       Plaintiffs also cite their cases without the full context, as the Massachusetts
 court reversing denial of pro hac vice expressly found “the existence of adequate local
 representation cannot constitute, by itself, an independent ground to uphold the
 denial.” PCG Trading, LLC v. Seyfarth Shaw, LLP, 460 Mass. 265, 276, 951 N.E.2d
 315, 322 (2011).
       1.3      The decision is subject to change
       A defendant’s fundamental right to choose counsel weighs heavily in favor of
 a Court granting the pro hac vice motion because as Texas courts universally
 recognize, the court and opposing party possesses ample protection after admission
 should Mr. Randazza actually misbehave. Rule 19(e) sets out the clear parameters for
 revoking an order granting a non-resident attorney permission to appear pro hac vice.

             If, after being granted permission to participate in the
             proceedings of any particular cause in Texas, the non-resident
             attorney engages in professional misconduct as that term is
             defined by the State Bar Act, the State Bar Rules, or the Texas
             Disciplinary Rules of Professional Conduct, the court may
             revoke the non-resident attorney's permission to participate in
             the Texas proceedings and may cite the non-resident attorney for
             contempt. In addition, the court may refer the matter to the
             Grievance Committee of the Bar District in which the court is
             located.
       Accordingly, what is the worst that could happen if this Court admits Randazza
 pro hac vice and he gets out of line, at all? This court could, without delay, simply


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 take away his pro hac vice admission. So why commit reversible error by denying it
 prospectively?
 2.0   FACTUAL ISSUES IN THE OPPOSITION
       Randazza has not attempted to hide anything about his history or his litigation
 conduct. The pro hac vice motion contains an excessively fulsome disclosure and
 includes all credible allegations against Randazza. Everything else in Plaintiffs’
 response consists of unsubstantiated or irrelevant allegations meant to muddy the
 waters. Randazza is forced to respond to Plaintiffs’ allegations, but the Court should
 not pay attention to them, as they have no bearing on whether Randazza should be
 admitted pro hac vice.
       Just as Bankston tries to mislead the court with selective quotes from cases that
 do not really support his position, he further undermines his credibility by a
 combination of providing “facts” to the court that are either not facts at all or when
 they are, misleadingly presenting them. This is beyond mere zealous advocacy, and
 rises to dishonorable conduct.
       2.1    The Oron Litigation
       Although Defendants do not believe it is appropriate to relitigate matters in
 which Randazza has already prevailed, Plaintiffs’ knowing and material
 misrepresentations must be addressed. Plaintiffs’ characterization of Randazza’s
 attorney misconduct is wildly misleading and relies on representing unsubstantiated
 allegations as proven facts. In reality, the only misconduct Randazza was found to
 have committed was failing to advise his client in the Oron litigation as to seeking
 separate counsel prior to signing a promissory note for the purpose of reimbursing
 litigation costs, and entertaining settlement discussions that could have potentially
 involved representing the opposing party in the future. Neither act was harmful to the
 legal process, nor did any of Randazza’s conduct harm his client, Excelsior/Liberty
 (“E/L”), or the opposing party. In any event, this conduct happened nine years ago

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 and Randazza has learned his lesson. There is no prospect of such conduct happening
 again here, and Plaintiffs cannot provide any evidence suggesting such a possibility.
        Randazza never solicited a bribe. All he did was entertain a settlement term
 that could have led to a restriction on his right to practice (i.e. he might have a conflict
 of interest should someone wish to hire him against Oron). There was no Nevada case
 at the time establishing that such conduct violated Nevada Rule of Professional
 Conduct 5.6, and so Randazza reasonably believed this conduct was ethically
 permitted. He was mistaken, and he completed his additional ethics credits to ensure
 that this error would not happen again.
        Randazza did not destroy evidence. Rather, he maintained all materials
 relevant to his dispute. A single computer was wiped to preserve the attorney/client
 privilege as to Randazza’s other clients, which the Rules of Professional Conduct
 required him to do. Moving evidence from one place to another, and protecting client
 confidences is hardly “destroying” evidence.
        There was no conflict of interest presented by Randazza representing adult
 entertainment companies other than E/L. In fact, when raised in Randazza’s Florida
 disciplinary proceeding (which was disclosed in Randazza’s pro hac vice motion), an
 actual judge found there was no conflict caused by representing other clients in the
 adult entertainment industry. (Report of Referee in The Florida Bar v. Randazza,
 Case No. SC19-188 (Fla. July 7, 2020), attached as Exhibit 8, at 6-7.)5 Randazza
 representing other companies created no more a conflict than Attorney Bankston
 representing multiple plaintiffs against Defendants.6


 5
   The Court should note that the Florida Bar proceeding is the only one in which Randazza was
 afforded a full evidentiary hearing. The Florida Bar’s recitation of facts in this case is accurate.
 Bankston’s is knowingly false. See Exhibit 8.
 6
   If anything, Bankston has a greater likelihood of a conflict of interest here because, if Plaintiffs
 receive a judgement or reach a settlement with monetary terms, they will have to divide any assets
 among themselves and will become adverse to one another.

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         Regarding XVideos, there was similarly no conflict. Once Randazza identified
  a possible conflict, he made sure not to counsel either party. He also did not conceal
  any payments specifically approved by a court in public proceedings.
         Plaintiffs’ argument to the contrary relies entirely on an unconfirmed
  arbitration award that was vacated by the U.S. Bankruptcy Court for the District of
  Nevada. (See order vacating IAA in In re marc John Randazza, Case No. BK-S-15-
  14956-ABL, ECF No. 261 (D. Nev. Bankr. Aug. 2, 2018), attached as Exhibit 9.)
  The award is thus of no effect and must be disregarded. If the Court wishes to consider
  the findings of the arbitrator despite this vacatur, it should also consider the numerous
  examples of the arbitrator’s bias, clear errors of fact and law, and unreliable
  credibility findings that Randazza identified in the proceedings leading up to the
  award’s vacatur. (See Opposition to Motion for Order Confirming IAA in Excelsior
  Media Corp. v. Randazza, Adv. No. 15-01193-abl, Adv. ECF No. 137-5 (D. Nev.
  Bankr. Mar. 16, 2017), attached as Exhibit 10, at 53-58.)7
         Plaintiffs try to ignore that the arbitration award means nothing by noting that
  the arbitrator, who was clearly and manifestly biased, made comments criticizing the
  settlement of Excelsior/Liberty’s claims against Randazza. But again, without an
  order confirming an arbitration award, the arbitration award is a legal nullity and even
  if admissible, due zero weight. A biased and disgruntled arbitrator shouting into the
  wind does not change this, and this Court is in no position to relitigate such matters
  when no other court has credited the majority of Excelsior/Liberty’s allegations. In
  fact, the Arbitrator needed to be threatened with sanctions by the bankruptcy court
  because he refused to honor the bankruptcy court’s order approving a settlement that
  included vacatur of the arbitration award. (See Order to Show Cause regarding failure


  7
    Most galling was the arbitrator finding Randazza’s testimony not credible based on where
  Randazza sat and his posture during the arbitration hearing, despite specifically commanding him
  to sit in such a manner. (Id. At 53-54)

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  to vacate arbitration award, Case No. 15-14956-abl, ECF No. 238 (D. Nev. Bankr.
  June 26, 2018), attached as Exhibit 11.) Further, Bankston falsely claims that he is a
  “former California federal judge,” Haberfeld was, in truth, merely a magistrate for
  four years, decades prior. Mr. Haberfeld, who was pursuing his own interest rather
  than following the law, should not be trusted, in the least, as an arbitrator or a witness.
        Apart from the vacated interim arbitration award, Plaintiffs knowingly lie that
  Randazza offered a bribe to Excelsior/Liberty in the form of a bounty on his law
  licenses. Randazza was trying to settle a putative malpractice claim where his client
  was not injured, but instead was seeking essentially to penalize Randazza due to a
  personal dispute with Randazza. And, so, Randazza speculated as to a possible way
  to reduce Excelsior/Liberty’s desired penalty to a dollar value based in part on
  Randazza’s ability to pay such a settlement. The source of his income is his bar
  licenses. Even Mr. Haberfeld, who had a personal axe to grind, does not appear to
  complain about this.
        Randazza also did not traffic in wrongfully obtained information related to the
  Oron litigation. He used information he properly obtained as part of his duty to
  represent his clients and committed no misconduct. Plaintiffs again improperly rely
  on the meaningless arbitration award for this claim, and it should be ignored. But,
  even looking at the evidence Plaintiffs provide in support of their claim, it is obvious
  they are lying. James Grady, the person who told Randazza about this information,
  mentioned that he obtained it from a third party. (Response at Exhibit 9.) Grady did
  not disclose or suggest there was anything improper in how they were obtained.
  Randazza then told Grady there would not be an issue using this information if it had
  been legitimately obtained, but that, there would be issues if, for example, a hacker
  obtained it. (Id.) It is important to keep in mind that this was in an email thread where
  Randazza planned on sittting Grady as a witness in this litigation regarding this
  information. Grady was to be a witness and was expected to testify as to his source

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  of this information. (Id.) It would be a very poor maneuver for Randazza to
  voluntarily place a witness on the stand if he truly had any concern that the material
  in question was illegally obtained.
        Randazza admitted to violation of two of Nevada’s Rules of Professional
  Conduct. He was disciplined for this conduct, and other jurisdictions in which he is
  admitted engaged in reciprocal disciplinary proceedings regarding this conduct, and
  only this conduct. No state imposed any discipline more severe than a stayed
  suspension premised on compliance with certain probation conditions. Randazza has
  consistently been complying with probation conditions stemming from his discipline
  without incident since October 2018. He has not tried to hide this information, even
  publishing the Florida Bar findings on his own website for all to view.8 He has taught
  Ethics CLE courses, where he has pointed to his discipline to caution fellow
  attorneys. See Exhibit 12.
        His disciplinary history does not even suggest he is not a reputable attorney
  who cannot be trusted to observe the ethical standards required of Texas attorneys,
  and does not constitute good cause to deny his admission pro hac vice in this case. In
  fact, as noted, the Western District of Texas made a thorough inquiry into his
  admission – not just pro hac vice, but as a full member of its bar.
        2.2    Randazza Did Not Bring Frivolous Sexual Harassment Claims
        Plaintiffs, again relying on the unconfirmed, vacated arbitration award, claim
  that Randazza should not be admitted pro hac vice here because he brought “frivolous
  claims that he was sexually harassed.” (Response at 21.) Though Randazza did not
  ultimately prevail in sexual harassment claim, he believed he had been harassed. He
  did not believe a pornographic film would be filmed in his office without his consent,
  and he did not consent to his employer performing fellatio on a drunken co-worker

  8
     https://randazza.com/wp-content/uploads/Annotated-Florida-Bar-v.-Randazza.Supreme-Court-
  Case-No.-SC-19-188.Report-of-Referee-copy.pdf

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  in the back seat of a vehicle Randazza was driving. Though the party to this act denied
  doing so, that is what Randazza stated under oath that he saw in the rearview mirror,
  and he maintains that story under penalty of perjury.
        Representing the interests of adult entertainers professionally is very different
  from being forced to watch a sex act performed in your own car. The arbitrator who
  chose not to credit Randazza’s testimony regarding these events made other
  inexplicable and unreliable credibility determinations. (Exhibit 10 at 53-54.)
        The sole basis for Plaintiffs’ argument as to the frivolity of Randazza’s sexual
  harassment claim is a meaningless, conclusory piece of paper. The Court should
  ignore this argument in its entirety.
        2.3    Randazza Was Not “Lambasted” by a Utah Federal Court
        Plaintiffs lie about the proceedings in Purple Innovation, LLC v. Honest
  Reviews, LLC, 2018 U.S. Dist. LEXIS 23150 (D. Utah Feb. 9, 2018) to imply that a
  federal court found Randazza had misrepresented facts. This is false. Randazza was
  not “lambasted” for making any kind of knowing misrepresentation. Rather,
  Randazza made representations to the court based on information he had obtained
  from his client, believing his client to be telling him the truth. Randazza never made
  any knowing misrepresentations, and the Court never made any such findings. The
  court did not impose sanctions against Randazza or his firm, instead only sanctioning
  Randazza’s client for misrepresentations. Id. at *21-22.
        2.4    Randazza Did Not Make Anti-Semitic or Ethnic Slurs
        Plaintiffs rely on statements from Don Juravin, the founder of Roca Labs, Inc.,
  and several related companies, to claim that Randazza has a history of anti-Semitic
  statements and intimidation of litigation opponents.
        As an initial matter, Juravin is a known fraudster. He and his companies
  defrauded thousands of consumers about the efficacy of a dangerous “weight loss”
  nutraceutical and then intimidated these customers into silence by threatening to sue

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  them if they said anything bad about this sham product. Randazza helped put an end
  to Juravin’s grift – including providing a brief to the Federal Trade Commission,
  which then prosecuted Juravin and imposed a $25 million fine. This is the source
  that Bankston wants this court to find to be unbiased and credible.
        Unlike the unconfirmed allegations in the IAA, all of Juravin’s misdeeds are
  all proven matters of public record. The Federal Trade Commission successfully filed
  suit against Juravin and his companies, resulting in a $25 million dollar judgment
  against them. FTC v. Roca Labs, Inc., 2019 U.S. Dist. LEXIS 46419, *23-24 (M.D.
  Fla. Jan. 4, 2019). Plaintiffs are free to consider Juravin a credible source of
  information, but that says more about them than it does about Randazza.
        For example, Plaintiffs Randazza engaged in “harassment” by posting, on his
  own Twitter account and outside the context of any litigation, a joke on Halloween,
  stating “Some fucker put Roca Labs’ shit in my kids’ candy bag!” (Response at 18.)
  As to how this could possibly be harassment when it does not identify any individual
  and does not even claim anyone affiliated with Roca Labs did anything is anyone’s
  guess. But, as a further example of how Juravin consistently acted in bad faith, he
  sued Randazza over this statement only to later voluntarily dismiss it. This is the
  kind of thing that Bankston expects this court to call “misconduct?”
        Plaintiffs then cite a declaration from Juravin’s counsel regarding statements
  made after the conclusion of a mediation, i.e., conduct outside the context of
  litigation. Randazza denies these statements – made by an attorney who himself
  advised his client to file bar complaints as a litigation strategy – because Randazza
  was effective in the Roca Labs litigation. Juravin submitted this declaration to the
  court in the Roca Labs case. The court did not find it credible and took no action
  against Randazza based on it. He also complained to the Florida Bar, which took no
  action. Again, an uncorroborated statement ignored by a court and a state bar is not
  a reason to deny Randazza admission pro hac vice.

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        Just like Plaintiffs’ counsel, Juravin thought it would be tactically advisable to
  try and eliminate Randazza from representing his client. Juravin thus filed civil claims
  and multiple bar complaints against Randazza. In fact, he does so on a somewhat
  regular basis. None have ever been found to have any merit by anyone – except
  Plaintiffs’ counsel, who has knowingly and willfully lied to this court about them. It
  is ironic that, as proof of Randazza’s allegedly unprofessional conduct, Plaintiffs cite
  allegations in a frivolous SLAPP suit and bar complaint filed for the purpose of
  retaliating against Randazza for representing a party Juravin was suing, while that
  litigation was pending.
        Plaintiffs then use this flimsy evidence to make the outrageous claim that
  Randazza is anti-Semitic because he wrote, in Hebrew, “Roca Labs is very hurt.”
  (Response at 19.) What is anti-Semitic about that?
        One of RLG’s attorneys, who happens to be heading up Defendants’ defense
  in the Connecticut Sandy Hook cases, is an observant Jew who has known Randazza
  for over 20 years and has not observed any anti-Semitic conduct from him.
  (Declaration of Jay M. Wolman [“Wolman Decl.”], attached as Exhibit 13, at ¶ 6-7.)
  Randazza also sent his two children to a Jewish pre-school. (Randazza Decl. at ¶ 23.)
  If Randazza, who voluntarily sent his children to a Jewish preschool, and who attends
  synogogue is an anti-Semite, he is the worst one ever.
        Finally, Plaintiffs cite an email from Randazza in a bankruptcy case in which
  Randazza happens to reference the nationality of his adversaries. Randazza tends to
  use colorful language, but the reference to someone’s nationality is a far cry from
  proof of ethnic hatred. If Randazza had been dealing with New York adversaries, he
  may have referred to them as “shit bag New Yorker clients.” An incidental reference
  to the geographic location of an adversary does not hate speech make. If Plaintiffs
  genuinely fear for their safety based on these unsubstantiated allegations and
  Randazza’s conduct that fails to show any bias, then they are jumping at shadows.

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  Their feigned paranoia is not a reason to deprive Defendants of their counsel of
  choice.
         2.5      Randazza’s Other Out-of-Court Statements Do Not Provide a Basis
                  to Deny His Admission Pro Hac Vice
         Plaintiffs complain about other statements Randazza has made in the past, none
  of which are alleged to have actually harmed anyone or to be even remotely related
  to an ethics violation. Randazza made a hyperbolic argument, comparing Bankston’s
  actions to what had been consented to. The hyperbole compared the limits of sexual
  consent to what is actually consented to, and demonstrated that consent to one thing
  did not mean carte blanche to consent to everything remotely related. This hyperbole
  is fairly tame in comparison to Attorney Bankston’s own statements, discussed infra
  at sect. 2.6.
         But, in addition to a letter Randazza sent to Bankston years after they had been
  acquainted, Plaintiffs also refer to perjurious allegations made by a pro se plaintiff
  and a third party who was committing the unlicensed practice of law by acting as
  legal counsel for Mike Postle in Postle v. Brill, Case No. 34-2020-00286265
  (Sacramento Cty. CA Sup. Ct.). Alexandrea Merrell of the HONR Network was
  lying, as Randazza did not call her a sexist slur during a call with Postle in which
  Merrell was impermissibly acting as legal counsel despite not having a law license.
  (See Declaration of Cassidy S. Curran in Postle v. Brill [“Curran Brill Decl.”],
  attached as Exhibit 14.) In that case, a disgruntled litigant was facing a large
  attorneys’ fees award because of Randazza’s effective advocacy. In order to try and
  discredit his fee application, Merrell and Postle lied to the court about Randazza’s
  statements. They, however, did not consider the fact that Randazza works in an open
  office, and his assistant always listens to his end of conversations, and takes
  contemporaneous notes. It is also worth noting that Merrell works for one of the
  Plaintiffs in this case. She committed the unlicensed practice of law, to interfere in a

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  case that Randazza was working on, and then commited perjury – this is Bankston’s
  source.
           Randazza does confess to calling Merrell a “fucking liar.” It is interesting that
  Bankston does not address what the lie is. In the Postle case, Ms. Merrell claimed
  that Bankston, himself, was about to file an appearance in that case. See Randazza
  Decl. at ¶ 28. Randazza called Bankston to confirm this. Randazza Decl. at ¶ 29.
  Bankston told Randazza that any such statement was a lie. Randazza Decl. at ¶ 29.
  See also Curran Brill Decl. at ¶ 13. Randazza thanked him, and then got on a call
  with Mr. Postle and Ms. Merrell. Randazza Decl. at ¶ 30. When she reiterated the
  lie, yes, Randazza did use an expletive and called her a liar. Randazza Decl. at ¶ 31-
  32. It is telling that Bankston does not inform the court of his own part in that non-
  event.
           Just as with Oron and Roca Labs, the court in the Brill case did not credit these
  allegations and took no action against Randazza in response to them.9
           In an attempt to bolster this claim of sexist behavior, Plaintiffs also identify an
  unsubstantiated claim by a Buzzfeed reporter that Randazza, while speaking to a
  client, called a third-party an expletive. Aside from there being no admissible
  evidence that Randazza made this statement, the Court would be entering dangerous
  territory by making determinations as to attorney fitness based on the content of
  communications with clients. Finally, Plaintiffs note that Randazza, while in law
  school, ran a student political campaign with a poster discussing hitting a “penis with
  a sledgehammer.” (Response at 27.) Plaintiffs are truly desperate if they are
  complaining about Randazza’s political speech from decades ago before he became
  an attorney. And, referring to someone as a “cow” when recounting criticism during


  9
    Coincidentally, Postle also tried to introduce Randazza’s disciplinary history and the Oron
  litigation to oppose the defendant’s motion for attorneys’ fees against him. The court did not credit
  these arguments and did what this court should do, ignore them.

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  that election, which Randazza won, cannot possibly constitute good cause to deny
  admission pro hac vice.
         2.6     By Plaintiffs’ Own Logic, Their Counsel Should Be Disciplined
         Plaintiffs argue that Randazza’s alleged off-color statements are disqualifying,
  but this is bizarre given that Attorney Bankston has made statements just as
  “offensive,” if not more so, than anything cited in Plaintiffs’ Response. Bankston
  writes on Twitter using the handle @RespectableLaw. (Wolman Decl. at ¶ 11.) Using
  this account, he has made numerous offensive, violent, and sexual statements using
  foul language, while holding himself out as an attorney. Below is a non-exhaustive
  list of such statements:10
         •       In response to a third party stating they had respect for the Secret
  Service, Bankston wrote: “I have zero respect for the Secret Service. Fuck every
  single one of those guys. If you think there are good Secret Service agents, sorry, you
  are wrong.” (Declaration of Cassidy S. Curran [“Curran Decl.”], attached as Exhibit
  15, at ¶ 4 and Exhibit A.)
         •       In response to a third party asking why someone would make obscene
  gestures to an elderly couple simply because the couple attended a speech given by
  former President Donald J. Trump, Bankston wrote: “Because fuck them, that’s why.”
  (Curran Decl. at ¶ 5 and Exhibit B.)
         •       In November 2017, Bankston said to a third party “Hello Mr. Alaska, I
  am with the Federalist and I wanted to know if we could use your tweet for an
  upcoming story on brain parasites” and then, after the third party responded “no u



  10
    Randazza would not normally bring these kinds of statements to a court’s attention because it is
  his position that such statements are irrelevant to one’s fitness to be an attorney or their ability to
  comply with ethics rules. However, by claiming Randazza’s out-of-court statements are related to
  whether he should be admitted pro hac vice, Bankston has opened the door to scrutiny of his own
  statements.

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  may not,” Bankston wrote “Gonna do it anyway. Try and stop me cuck.”11 Later, he
  reposted this exchange and wrote “Fuck me, that was two years ago. Feels like
  yesterday we had that guy to kick around.” (Curran Decl. at ¶ 6 and Exhibit C.)
         •      Bankston wrote “Stop being such a jew about it.” (Curran Decl. at ¶ 7
  and Exhibit D.) And yet Mr. Bankston has had the audacity to accuse Randazza of
  being anti-Semitic. “Jew” should never be used as an epithet, and the fact that Mr.
  Bankston uses that term as an epithet should be of great concern to his clients, if they
  are being truthful about being concerned about anti-semitism.
         •      Without any provocation, Bankston wrote several tweets to former
  United States Representative Steve King urging King to impregnate Bankston’s wife
  to “preserve the white race.” (Curran Decl. at ¶ 8 and Exhibit E.)
         •      Bankston wrote “I could tell you that Kanye [West] made a hologram of
  Bob Kardashian and he made it tell Kim that his spirit is always around whenever
  her pussy farts and that he is so proud she married the greatest genius in the world
  but you wouldn’t believe any of that.” (Curran Decl. at ¶ 9 and Exhibit F.)
         •      Making light of child rape, Bankston wrote “Because I am kind to
  everybody, and that’s true whether you brush your hair differently than me, or if you
  like pineapple on pizza, or if you rape children.” (Curran Decl. at ¶ 10 and Exhibit
  G.) Bankston jokes about raping children, yet feigns offense at Randazza using
  occasionally colorful language?
         •      In joking about rape, Bankston wrote “There won’t be a massive
  monetary settlement for rape after we drink together if that’s what you’re getting at.”
  (Curran Decl. at ¶ 11 and Exhibit H.) Same.


  11
    “Cuck” is a truncated form of “cuckold,” a word used to describe a man whose wife is having
  sexual affairs with one or more other men. In modern vernacular, “cuck” has become a general term
  used to insult men for being weak or ineffectual, and thus may constitute hate speech against a
  certain class of men.

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        •      In joking about anal sex, Bankston wrote “Well, let’s assume for a
  moment that Brett [Kavanaugh] had some bromantic experimentation in those days.
  I really don’t think they’re going to be writing yearbook notes to each other about the
  secret anal sex they had. After all, it was Brett [Kavanaugh] who ‘got boofed.’”
  (Curran Decl. at ¶ 12 and Exhibit I.) He followed up this tweet by stating “So unless
  these guys plugging heroin up their butts, the phrase ‘have you boffed yet?’ means
  anal sex.” (Curran Decl. at ¶ 13 and Exhibit J.) Meanwhile, Bankston tries to feign
  shock at Randazza using similar language in speaking to Bankston.
        •      In threatening frivolous litigation, Bankston wrote “Hey man I gave
  $7000 to your GoFundMe and you showed up to court in a cheap suit and sneakers.
  This is torturous interference and likely also conspiracy. I will be filing suit against
  you as soon as I can figure out how to fake a signature on an affidavit.” (Curran Decl.
  at ¶ 14 and Exhibit K.)
        •      In making light of minors engaging in alcohol abuse and sex and
  mentioning a comedian whose sexual misconduct had recently been exposed,
  Bankston wrote “Really think it’s myopic of Louis CK to think youngsters can’t
  subvert dominant paradigms while also doing jello shots and finger banging.” (Curran
  Decl. at ¶ 15 and Exhibit L.)
        •      Days ago, in joking about a seriously ill minor physically assaulting a
  celebrity, Bankston wrote to Kevin Sorbo “Kevin my six year old son is dying from
  a type of tuberculosis cancer (or possibly COVID-19, not sure) and his last wish is to
  do a series of Brazilian jujitsu strikes on your nutsack, who do I need to call to make
  this happen?” (Curran Decl. at ¶ 16 and Exhibit M.)
        While Plaintiffs do not identify any objectionable statements Randazza has
  made about them, Bankston has made similarly offensive and insulting tweets
  specifically regarding Defendants in this matter, including but not limited to the
  following:

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         •       “I’m just going to take a pill from InfoWars that makes me calm.”
  (Curran Decl. at ¶ 17 and Exhibit N.)
         •       “I take InfoWars pills which make me calm.” (Curran Decl. at ¶ 18 and
  Exhibit O.)
         •       “Here’s the thing about the stuff you hear on InfoWars: it’s not real.
  That’s not reality. That’s some weird fantasy. It’s made up.” (Curran Decl. at ¶ 19
  and Exhibit P.)
         •       “If you’re asking for better outlets than InfoWars, the answer is
  LITERALLY ANY OTHER OUTLET. I’d line my chicken coop with the Daily
  Caller but it’s basically Edward Murrow compared to Infowars, you freak. Also FYI
  Molyneaux and Pettibone are objectively, proudly, racist.” (Curran Decl. at ¶ 20 and
  Exhibit Q.)
         •       In addressing Chris Cilizza of CNN, Bankston wrote “If you want to
  know why Alex Jones was able to thrive, look in the mirror you goofy parasite.”
  (Curran Decl. at ¶ 21 and Exhibit R.)
         •       In addressing multiple politicians, Bankston wrote “Posting these fake
  quotes is just as bad as Alex Jones.” (Curran Decl. at ¶ 22 and Exhibit S.)
         Randazza making a joke, using profanity in a conversation with a client, and
  referring to someone in a dispute from 23 years ago as a “cow” is positively tame in
  comparison to Bankston’s racist, sexist, and anti-Semitic statements. Plaintiffs and
  Bankston do not actually care about Randazza’s tenor or whether he can be trusted to
  follow the rules governing Texas attorneys.12 Bankston is crying foul over isolated

  12
     Plaintiffs claim this litigation is “especially sensitive to further misconduct,” citing numerous
  alleged abuses of discovery or other misconduct related to litigation here or in the Connecticut
  litigation. (Response at 31-33.) But, Plaintiffs fail to explain how this alleged misconduct,
  committed by other attorneys, could possibly be predictive of Randazza’s conduct. Considering the
  storied history of such alleged misconduct by other attorneys, one would think Plaintiffs would be
  excited by the prospect of an experienced First Amendment attorney who has not engaged in such
  conduct managing the case.

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  conduct over a span of decades that is less objectionable than what he does every day.
  The Court should not be fooled by this performative, bad-faith taking of offense and
  should recognize that Plaintiffs and their counsel are engaged in a cynical attempt to
  deprive Defendants of their counsel of choice.
         2.7     Admission in Other Cases and Courts
         Plaintiffs argue this Court should not admit Randazza pro hac vice because a
  Connecticut court denied his applications to be admitted there. This ignores the
  procedural history of Randazza’s disciplinary proceedings, however. Randazza was
  disciplined in October 2018, and sought admission in Connecticut in January 2019
  and, again, in July 2020. The Connecticut court’s initial decision to deny Randazza
  admission pro hac vice was understandable considering the Nevada Supreme Court’s
  order imposing discipline was still fresh and it was an open question as to whether
  other jurisdictions might impose harsher discipline. Randazza was still in the process
  of defending reciprocal discipline when he applied for pro hac vice admission again
  in 2020. Things have changed now.13                    Randazza complied with disciplinary
  conditions for nearly 3 years without incident, and there has been no other conduct
  rising to any concern since 2012. This Court can be confident that there will be no
  further actions or proceedings related to this discipline. There is no reason to think he
  will engage in unethical conduct. In fact, Attorney Bankston himself has committed
  positive observations about his character and conduct. (Exhibits 2 & 3.)
         Randazza has also been admitted pro hac vice in other courts in this state and
  in other states since the initiation of Randazza’s discipline. The Supreme Court of



  13
    For these reasons, comity with the Connecticut court does not weigh in favor of denying Randazza
  admission here. The factual situation is different now and there are entirely different courts. In fact,
  if anything, interested of comity would counsel in favor of admitting Randazza here; his firm is
  representing Defendants in the Connecticut litigation and is already familiar with discovery issues
  in this case and the factual underpinnings of the cases.

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  Texas found that Randazza is worthy of admission pro hac vice in this very case.14
  If the Supreme Court of Texas found that Randazza was ethical enough to practice in
  these cases, before the highest court in the State, this Court should take the Supreme
  Court of Texas’s lead in admitting him. Further, the U.S. District Court for the
  Western District of Texas and the 5th Circuit admitted Randazza to practice as well.
         Mr. Bankston, in his desperate attempt to smear opposing counsel, claims that
  Mr. Randazza’s pro hac vice admissions in the Western District of Texas should not
  be considered. He very carefully avoids noting that Mr. Randazza was not just
  admitted pro hac vice, and not only was there no incident in any of those cases, but
  Mr. Randazza was admitted as a full member of the bar of the Western District of
  Texas, after the District’s character and fitness committee convened an inquiry and
  investigated Randazza’s character. (Admission certificate for the United States
  District Court for the Western District of Texas, attached as Exhibit 5.) The Fifth
  Circuit Court of Appeals also recently admitted him (albeit without an investigation
  that Randazza is aware of), which admission came after a full disclosure of all
  relevant facts. (Admission certificate for the Fifth Circuit Court of Appeals, attached
  as Exhibit 6.)
         And, while Plaintiffs wish to ignore other Texas matters where Randazza was
  admitted pro hac vice without incident, they should review the transcript of
  Randazza’s pro hac vice hearing in the Rhode Island matter of St. Angelo v. Kearney,

  14
     Plaintiffs acknowledge this but claim it is unimportant because they were “blindsided” by
  Randazza’s request for admission pro hac vice and did not have adequate time to research his
  background. (Response at 6-7.) This is nonsense. Plaintiffs’ counsel knew that Randazza is involved
  in Sandy Hook litigation since July 2018. Plaintiffs had plenty of time and opportunity to research
  Randazza and object to his admission in those matters but chose not to do so. In fact, Bankston told
  Randazza that he has “always found [Randazza’s] actions above reproach.” (Exhibit 2.) Changing
  their tune now is rank opportunism. Even if this claim were true, essentially all of the alleged
  misconduct cited in Plaintiffs’ Response was publicly available, Plaintiffs’ request for an extension
  of time to respond and their response alluded to this conduct, and the Supreme Court of Texas easily
  could have fully considered it. A court does not abdicate its duty to judge an attorney’s fitness for
  admission simply because a pro hac vice motion is unopposed.

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  where the court considered Randazza’s disciplinary history and found that, upon
  closer inspection, it did not merit concern for Randazza’s ability to practice in that
  court. (Transcript of hearing on pro hac vice motion in St. Angelo v. Kearney,
  attached as Exhibit 7, at 6:4-22.)
  3.0   CONCLUSION
        For the foregoing reasons, the Court should admit Attorney Marc J. Randazza
  pro hac vice in this matter. The feigned indignation of Plaintiffs and their counsel to
  Randazza’s alleged conduct is not genuine. If the Court requires further examples of
  this, it should know that in February 2021, years after knowing Randazza was
  involved in the Sandy Hook litigation, Bankston called Randazza and informed him
  that he had no concerns about Randazza being admitted pro hac vice in the Supreme
  Court of Texas matters, but that he could not consent to Randazza’s admission
  because Plaintiffs’ Connecticut attorneys would not allow him to, due to Bankston
  having previously said positive things about Randazza’s character. (Randazza Decl.
  at ¶ 7-19.) The opposition amounts to “the Plaintiffs do not wish to face effective
  and competent counsel who is most familiar with the Defendant and the case.” This
  is an unethical use of the pro hac vice process, and it should not be given this court’s
  imprimatur.




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        There is no reason for the Court to entertain this charade. It should admit
  Randazza pro hac vice.

  Dated: July 30, 2021
                                        Respectfully Submitted,
                                        By: /s/ Bradley J. Reeves
                                        Bradley J. Reeves
                                        Texas Bar No. 24068266
                                        brad@brtx.law
                                        REEVES LAW, PLLC
                                        702 Rio Grande St., Suite 203
                                        Austin, TX 78701
                                        Telephone: (512) 827-2246
                                        Facsimile: (512) 318-2484




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                      CERTIFICATE OF SERVICE

        I hereby certify that on July 30, 2021 the forgoing document was served upon

  all counsel of record via electronic service.


                                                       /s/ Bradley J. Reeves
                                                       Bradley J. Reeves




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                           EXHIBIT 1
                   Declaration of Marc J. Randazza
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                               D-1-GN-18-001835
    NEIL HESLIN                           §    IN DISTRICT COURT OF
       Plaintiff                          §
                                          §
    vs.                                   §
                                          §    TRAVIS COUNTY, TEXAS
    ALEX E. JONES, INFOW ARS, LLC,        §
    FREE SPEECH SYSTEMS, LLC, and         §
    OWEN SHROYER,                         §
       Defendants                         §    459 th DISTRICT COURT
                                          §


                               D-1-GN-18-001842
    LEONARD POZNER and                    §    IN DISTRICT COURT OF
    VERONIQUE DE LA ROSA                  §
       Plaintiffs                         §
                                          §
    VS.                                   §    TRAVIS COUNTY, TEXAS
                                          §
    ALEX E. JONES, INFOW ARS, LLC,        §
    and FREE SPEECH SYSTEMS, LLC,         §
        Defendants                        §    459 th DISTRICT COURT
                                          §


                               D-1-GN-18-006623
    SCARLETT LEWIS                        §    IN DISTRICT COURT OF
       Plaintiff                          §
                                          §
    vs.                                   §
                                          §    TRAVIS COUNTY, TEXAS
    ALEX E. JONES, INFOW ARS, LLC,        §
    and FREE SPEECH SYSTEMS, LLC,         §
        Defendants                        §
                                          §    459 th DISTRICT COURT
                                          §



           DECLARATION OF MARC J. RANDAZZA
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  I, MARC J. RANDAZZA, hereby declare as follows:

      1.     I am over the age of 18 years and have never been convicted of a crime

  involving fraud or dishonesty.

      2.     The facts set forth in this declaration are within my personal knowledge

  and are true and correct to the best of my knowledge and belief.

      3.     I am the principal ofRandazza Legal Group, PLLC ("RLG").

      4.     Plaintiffs' counsel in this matter, Mark Bankston, has known since July

  2018 that I am serving as counsel for Defendants, and I have represented the

  Defendants in multiple matters, and have provided assistance in both this matter and

  related litigation regarding the Sandy Hook shooting in Connecticut.

      5.     On August 12, 2020, Bankston sent me an email stating that he respected

  my character and considered my actions to be "above reproach." A true and correct

   copy of this email is attached to the reply in support of my motion for admission pro

  hac vice (the "Reply") as Exhibit 2.

      6.     Attached to this August 12 email was a letter Bankston sent to Defendants'

  then-counsel on August 26, 2019, praising my character and stating, inter alia, that I

  was approaching the Sandy Hook cases in a "very tasteful and principled matter,"

   that I was "a reasonable and honorable opponent," and that my "presence in these

   lawsuits as lnfoWars' corporate counsel is sorely missed." A true and correct copy

   of this letter is attached to the Reply as Exhibit 3.


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      7.     I did not reciprocate his compliments, as Mr. Bankston has largely tried

  this matter in the press, and has comported himself in a shockingly unprofessional

  manner in most all communications he has had with opposing counsel in this matter.

  Nevertheless, when I have been copied on these communications, I have done my

  best to try and influence him to be more professional and to discourage my colleagues

  to "take the bait" that he lays down when acting in an unprofessional manner. When

  I sought pro hac vice admission with the Supreme Court of Texas matters related to

  this litigation, I spoke with Mark Bankston on the telephone in February 2021.

      8.     I did not record this call (as doing so without announcing it is unlawful in

  most states where I am licensed, including California, Nevada, Florida, and

  Massachusetts).   In fact, in California, the other party to a recorded call can recover

   civil damages of $5,000 or three times the actual damages, whichever is greater. Cal.

   Penal Code § 637.2. The court may also impose injunctions preventing the use of

   illegally obtained information. Cal. Penal Code § 63 7 .2(b ). Further, I did not take

   contemporaneous notes, as I did not anticipate needing to discuss the matter further.

   However, I can provide a summary of the issues on that call to the best of my memory.

   Some matters did, indeed, stand out and I do recall them. The reports in this

   Declaration are in line with my best recollection.

      9.     In that call, Bankston told me that he apologized for having to oppose my

  pro hac vice motion. In fact, he said that he did not wish to oppose it, but he was


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  compelled to do so by attorneys handling a related case in Connecticut.

      10.    Bankston said that he wanted an extension of time in which to file his

  opposition because he wanted to avoid having to file one in the first place. He

  believed that events in Connecticut could unfold in a manner that would leave him

  able to make an independent judgment about declining to oppose it in Texas. At the

  time we had this call, the related Connecticut litigation had been removed to and was

  pending in federal court and I had a pro hac vice application pending in the U.S.

  District Court for the District of Connecticut.

      11.    During this call, we discussed my District of Connecticut application. I

  presumed, and Bankston told me he agreed, that I would be admitted in that case, and

  Bankston told me (and I agreed) there was a strong likelihood that the case would not

  be remanded to state court.

      12.    In fact, Bankston expressed the opinion that the Connecticut law firm

  litigating against Mr. Jones, Koskoff Koskoff & Bieder (the "Koskoff Firm"), had

  expressed fear that the case would be transferred from the U.S. District Court for the

  District of Connecticut to the U.S. District Court for the Western District of Texas.

      13.    During this call, Bankston said that if the Connecticut matter was

  transferred to the Western District of Texas, and/or if the motion for remand was

   denied and the matter remained in federal court, or even if my pro hac vice application

  were granted in the District of Connecticut, he would not oppose my pro hac vice


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  motion in the Supreme Court of Texas per instructions he received from the attorneys

  at the KoskoffFirm representing Plaintiffs in the Connecticut litigation.

      14.    Bankston expressed that the attorneys at the Koskoff Firm "did not want

  to face" me in court. He, however, expressed confidence, in a polite manner, that he

  had no such fears.

      15.    During this call, Bankston said he wanted to be very sure to communicate

  to me that it was not his usual practice to oppose a pro hac vice motion, and it

  bothered him to do so, but that he was compelled to do so here at the direction of the

  attorneys at the KoskoffFirm.

      16.    In response, I expressed concern that Bankston was allowing out-of-state

  attorneys in another case to dictate his movements in this case, but that I empathized

  with his problem.

      17.    He explained that there was an agreement of cooperation between

  Bankston and the KoskoffFirm and he could not jeopardize that relationship by not

  resisting my pro hac vice application.

      18.    During this call, Bankston told me he had already been scolded by the

  Connecticut attorneys for sending me the August 12, 2020 email and attached

  documents attesting to my character. In fact, he said they were "fucking pissed."

      19.    During this call, Bankston also expressed that he did not have much respect

   for the Connecticut attorneys, but that he had been forced into an unwilling alliance


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  with them.

     20.    I find it ridiculous and offensive that I have to defend myself against

  allegations of anti-Semitism based on the uncritical repetition of allegations made by

  Don Juravin, a con man with a personal vendetta against me. But, I will do so for the

  sake of completeness.

     21.       The supposed "anti-Semitic" comment was "Roca Labs is very hurt"

  written in Hebrew. I cannot think of a single word in that statement that is remotely

  anti-Semitic. In fact, the only thing that is "Semitic" in nature about it is the use of

  Hebrew. I am unaware of how using the Hebrew language makes one an anti-Semite.

  In fact, it would be a rare species of Anti-Semite who would take the time to learn

  some rudimentary Hebrew, without any compulsion to do so.

     22.       I would say that my Hebrew is quite rudimentary. I can recite some Jewish

  prayers and exchange a few pleasantries in the language, but I would not say that I

  "speak" Hebrew. Accordingly, if the translation of what I wrote in Hebrew is not

  properly translated, that was inadvertent. I would suggest that if the Court is at all

  interested, that it have someone with greater knowledge review this phrase, in

  Hebrew, for confirmation that there is no Anti-Semitic implication.         "nrr:UJYl



     23.       I sent my two children to a Jewish pre-school, which is where I learned

  how to recite Hebrew prayers. At no point did I feel there was any issue with the

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  school's religious, ethnic, or cultural grounding or the backgrounds of its faculty or

  student body. In fact, I have attended Temple far more in the past 10 years than I have

  attended Catholic services. I have been to Catholic services exactly once in that time

  frame that I can recall, aside from a funeral service and weddings. I have absolutely

  no idea how many times I have attended Temple.

     24.     I suppose that one can still be an anti-Semite and voluntarily have one's

  children educated in the Jewish tradition, maintain dozens of friendships with Jews

  of the secular, orthodox, reform, and conservative persuasions, have one's own

  custom-made Italian flag kippah, and learn rudimentary Hebrew. But, I would

  question how committed one could be to the cause of anti-Semitism with all of that

  gomg on.

     25.     I am aware of Mr. Bankston's twitter account and the vulgarity he uses on

  it on a regular basis. I do not criticize him for it, but rather I am compelled to address

  it as Mr. Bankston's arguments about my own language are not in good faith. On the

  basis of his vulgarity and the vulgarity that he uses regularly when on the phone, I

  have never considered Mr. Bankston to be someone who needed to be spoken to

  delicately. Rather, his protests about vulgarity are the lawyer's equivalent of a soccer

  or basketball player throwing himself to the ground at the slightest contact, so as to

  hope to draw a penalty from an unwitting and unobservant referee.

     26.     I am under no impression that the Court is either unwitting or unobservant.


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       27.   In a separate matter, Postle v. Brill, Case No. 34-2020-00286265

  (Sacramento Cty. CA Sup. Ct.), I spoke on the phone with Mr. Postle and Alexandrea

  Merrell of the HONR Network on March 17, 2021.

       28.   Ms. Merrell, a third party who was acting as legal counsel for Postle

  without being licensed to do so, claimed that Mark Bankston would be filing an

  appearance in the case on behalf of Mr. Postle.

       29.   I called Mr. Bankston to confirm that this was true. Mr. Bankston then

  informed me that he had never heard the name Mike Postle and that he had never

  heard of the case.

       30.   I thanked Mr. Bankston for this information and proceeded to again speak

  with Ms. Merrell and Mr. Postle.

       31.   Ms. Merrell then reiterated the lie of Mr. Bankston planning to file an

  appearance.

       32.   At that point in the conversation, I called Ms. Merrell a "fucking liar" and

  informed them that I had just spoken to Mr. Bankston.

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22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 36
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     My name is Marc John Randazza, my date of birth is November 26, 1969, and my

  business address is 30 Western Avenue, Gloucester, Massachusetts 01930, United

  States. I declare under penalty of perjury that the foregoing is true and correct.



  Executed in Essex County, Massachusetts, on this7     Jday of July, 2021.




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22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 37
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                          EXHIBIT 2
           August 12, 2020 Email from Mark Bankston
       22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 38
                                             of 210
7/27/2021                                                 Randazza Legal Group Mail - Fwd: Question about Media Statements


 RANDAZZA                                                                                                                   Alex Shepard <ajs@randazza.com>
 LEGAL GROUP
 Fwd: Question about Media Statements
 Marc Randazza <mjr@randazza.com>                                                                                                      Tue, Jul 27, 2021 at 9:56 AM
 To: Alex Shepard <ajs@randazza.com>



   ---------- Forwarded message ---------
   From: Mark Bankston <mark@fbtrial.com>
   Date: Wed, Aug 12, 2020 at 11:30 PM
   Subject: RE: Question about Media Statements
   To: Randazza Marc John <mjr@randazza.com>



   Looking at the motion, I can definitely say those sentences were not near as clear as they should have been. My intent was to communicate two ideas:



   1. There had been numerous discussions with Jones and both of his attorneys since the inception of the case, which is fine.



   2. But many of those discussions went over the line [due to comments by Jones, and later, Barnes].



   What I didn’t make clear, and should have made clear, is that the discussions in which you were involved did not go over the line due to anything you said,
   but rather things Jones said, which obviously you cannot control in a live-streamed broadcast. You are correct in your email below. I have always found
   your actions above reproach.



   Just in case anyone in the future should try to use this pleading against you, I have attached a declaration from me stating clearly that the statements in the
   motion do not refer to you and that your actions in this case were always proper.



   I have also attached a letter I sent to InfoWars’ new counsel a few months after the filing of that motion, in which I describe your tenure in the case as
   follows:



            When Mr. Randazza came to Texas for the hearings last year, the two of us had a pleasant discussion. I thanked him for the way he was
            approaching the cases, which I felt had been very tasteful and principled. I also told him I felt agreeing to forego fees against the Sandy Hook
            parents was not only a sound strategy but a commendable gesture as well. He said he wouldn’t have it any other way. We shook hands, and for
            the next six months, not a single unkind word passed between us. Mr. Randazza was a reasonable and honorable opponent. His presence in
            these lawsuits as InfoWars’ corporate counsel is sorely missed.



   My apologies for the confusion. It would have been interesting to see how these cases would have developed with you on the other side instead of the
   absolute mess they became after your departure.



   Mark Bankston

   Kaster Lynch Farrar & Ball, LLP




   From: Randazza Marc John <mjr@randazza.com>
   Sent: Wednesday, August 12, 2020 1:45 PM
   To: Mark Bankston <mark@fbtrial.com>
   Subject: Question about Media Statements



   Mark,



   I recently read this paragraph in a motion you filed. Sorry for not addressing it contemporaneously with its filing, but I have not been involved in the Texas
   cases, except observing in court.



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        22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 39
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7/27/2021                                                   Randazza Legal Group Mail - Fwd: Question about Media Statements
   I do recall that when we met, you shook my hand and said that you and your clients appreciated the way I had treated them in the press.



   But then I read this, and I ask if there’s something we haven’t discussed.



   If you believe that I went “over the bounds of allowable extrajudicial statements,” I would like to know what you are referring to. If I owe someone an
   apology, I am big enough to give it.



   Can you refer me to any statement I made that you believe is “over the bounds”?



   -Marc




         Mr. Jones' conduct.. Plaintiffs                      counsel have periodically given statements to news outlets

         regarding the progress of the lawsuits, and they've never had any objections to InfoWars attorneys

         discussing the merits or giving their opinion on the case. Indeed, Plaintiffs counsel has been

         extremely tolerant of the constant discussion of the lawsuits on InfoWars, whether from Mr. Jones,

         his former counsel Mr. Randazza, or current counsel Mr. Barnes. Many of these discussions

         stepped well over the bounds of allowable extrajudicial statements, but Plaintiffs counsel were


         34   Id
         35   Id

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         not rmsympathetic to the fact Mr. Jones has been the subject of massive negative media coverage.

         Out of fairness, Plaintiffs counsel felt Jones was owed a little latitude.

   ______________________________________
   Marc John Randazza, JD, MAMC, LLM* | Randazza Legal Group
   2764 Lake Sahara Drive, Suite 109| Las Vegas, NV 89117
   Tel: 702-420-2001 | Email: mjr@randazza.com


https://mail.google.com/mail/u/0?ik=7f08d530b4&view=pt&search=all&permmsgid=msg-f%3A1706457842943765409&simpl=msg-f%3A1706457842943765409                    2/3
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                                              of 210
7/27/2021                                                               Randazza Legal Group Mail - Fwd: Question about Media Statements
   Firm Offices - Las   Vegas | Miami | New England
   ______________________________________


   * Licensed to practice law in Arizona, California, Florida, Massachusetts, and Nevada.




   --

   ______________________________________

   Marc John Randazza, JD, MAMC, LLM* | Randazza Legal Group
   2764 Lake Sahara Drive, Suite 109, Las Vegas, NV 89117
   30 Western Avenue, Gloucester, MA 01930
   2 S Biscayne Boulevard, Suite 2680, Miami, FL 33131
   Tel: 702-420-2001 | Email: mjr@randazza.com
   Firm Offices - Las Vegas | Miami | New England
   ______________________________________

   * Licensed to practice law in Arizona, California, Florida, Massachusetts, and Nevada.



    2 attachments
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         1139K




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22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 41
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                             EXHIBIT 3
        Letter from Mark Bankston to Michael Burnett
                        August 26, 2019
   22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 42
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 KASTER LYNCH                                                                             MARKO    BANKSTON        ATTORNEY
FARRAR&J3ALL                        LLP                                                                            mark@fbtrial.com


TEXAS I FLORIDA



                                                         August 26, 2019



         VIA EMAIL: snyitray@BurnettTurner.com
         VIA EMAIL: mburnett@BurnettTurner.com
         Scott Nyitray
         Michael Burnett
         BURNETTTURNER
         6034 W. Courtyard Drive, Suite 140
         Austin, Texas 78730

               Re: Heslin v. Jones et al., No. 03-18-00650-CV

         Dear Counsel:

              I write to follow up on your proposed brief. Since I know you are new to these lawsuits as
     local counsel, I need to bring you up to speed on the lengthy history of your client's representations
     not to seek fees against parents of Sandy Hook victims. On August 2, 2018, Info Wars published
     an article with the headline "Media Caught in Huge Sandy Hook Trial Lie: Falsely claims Jones
     making Sandy Hook parents pay his legal fees, when the opposite is true." 1 The article states it is
     a lie "that Alex Jones was forcing the Sandy Hook parents to pay his legal fees." The article quotes
     from an episode of Mr. Jones' show in which he described his concession as "something no one
     ever does, super high road." The article quotes Jones as saying, "We waived the attorney's fees
     and the media turned that into I'm seeking expenses from tltefamilies - that is fraud."

             In another Info Wars episode last year, Mr. Jones disclaimed that he was seeking attorney's
     fees from Sandy Hook parents, saying "You know I didn't sue the families. And you know I
     waived attorney's fees that no one has ever done." 2

            Also last year, former Info Wars corporate counsel Marc Randazza appeared on yet another
     episode of Mr. Jones' show to discuss the lawsuits. 3 During one exchange, they said:

                         JONES: Let's be clear, no one waives that. We did --

                         RANDAZZA: I have never seen before in the history of an anti-
                         slapp case where a defendant invoked the anti-slapp law, but then
                         specifically waived their right to fees. Now you've done it here in


     1 https://www.infowars.com/exposed-media-caught-in-huge-sandy-hook-trial-lie/
     2 https://www.mediamatters.org/alex-jones/alex-jones-threatens-sandy-hook-parents-cease-and-desist-letters-if-they-
     keep-talking
     3 https://www.youtube.com/watch?v=bsQiHnEHK          II

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                     Texas. You did openly yesterday and also in the Connecticut case
                     that I'm handling for you. 4

             In response, Mr. Jones said, "And you'd think that be news! No, instead, I'm suing the
     Sandy Hook parents." 5 Discussing the decision not to seek fees against any of the parents, Mr.
     Randazza said, "And I think that was a good idea. Because nobody wants to - These people lost
     their kids."6

             One of the statements to which Mr. Randazza refers is found on page one of your client's
     motion to dismiss in Lafferty v. Jones, which states "Defendants, however, waive any fees over
     and above the sum of $1. They have no desire to collect money from the parents of Sandy Hook
     victims."7 Consistent with that representation, former local counsel Mark Enoch noted a few
     months later during the Pozner motion to dismiss hearing that no fees above $1 were being sought.

              When Mr. Randazza came to Texas for the hearings last year, the two of us had a pleasant
     discussion. I thanked him for the way he was approaching the cases, which I felt had been very
     tasteful and principled. I also told him I felt agreeing to forego fees against the Sandy Hook parents
     was not only a sound strategy but a commendable gesture as well. He said he wouldn't have it any
     other way. We shook hands, and for the next six months, not a single unkind word passed between
     us. Mr. Randazza was a reasonable and honorable opponent. His presence in these lawsuits as
     Info Wars' corporate counsel is sorely missed.

         During the Heslin hearing a few weeks later, in which the Court also considered a motion
 for discovery and a motion for sanctions, it became quite clear the Court would not be considering
 the motion to dismiss and would instead be ordering discovery. It seems local counsel Mr. Enoch
 never got around to putting Info Wars' concession not to seek TCP A fees on the record as he did
 in Pozner because he found himself too busy answering questions from Judge Jenkins about what
 the scope of that discovery would be. That doesn't mean the concession not to seek fees from
 Sandy Hook parents didn't exist, as shown above.

         Indeed, your client's new corporate counsel Robert Barnes touted your client's concession
 not to seek fees from Sandy Hook parents when he began making a series of appearances on
 InfoWars and other media outlets upon taking over the defense this spring, well after the Heslin
 hearing. A few months later, Mr. Barnes repeated the concession during the motion to dismiss
 hearing in the Lewis case this summer.

         As I indicated on Friday, your stated position makes no sense. Why would your clients
 have waived anti-slapp fees for every single Sandy Hook parent in Connecticut and Texas with
 the sole exception of Mr. Heslin? Taking this position would be especially strange considering the
 fees incurred in Heslin are far lower than the Lafferty matter or the Lewis matter, both of which
 featured discovery. This position -- which I am sure did not originate with either of you gentlemen
 at Burnett Turner -- appears to be an attempt by your client's new corporate counsel to take

 4 Id. at 3:35.
 5 Id. at 4:00.
 6 Id. at 4:50.

 7 Lafferty v. Jones, No. 3: 18-cv-0 1156-JCH, Doc. 22.



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  advantage of Mr. Enoch's omission while disclaiming the reliability of your client's public
  representations and his counsel's assurances both in and out of court.

          Your client gained benefit from his gracious concession not to seek fees against Sandy
  Hook parents by promoting it in his own programing while also securing rare positive coverage in
  the typically hostile media, not to mention gaining goodwill with the trial courts in Texas and
  Connecticut. I suppose in the absence of a signed Rule 11 agreement specifically for the Heslin
  matter, you could attempt to repudiate what was the obvious understanding of the parties and the
  repeated public representations by your client and his attorneys. But we both know that would be
  weird and dare I say slimy, so I'm hoping you don't sign off on that path.

          In any case, Mr. Heslin has made it clear to me he would oppose the proposed brief given
  your client's many public representations and the assurance of counsel both in and out of court
  regarding the waiver of TCP A fees against the Sandy Hook parents as a whole.

                                              Sincerely,

                                              Isl Mark D. Bankston

                                              Mark D. Bankston

 MDB:cs




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                             EXHIBIT 4
                      Declaration of Mark Bankston
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                        DECLARATION OF MARK BANKSTON
  STATE OF TEXAS             §
                             §
  HARRIS COUNTY              §

     I, Mark Bankston, declare under penalty of perjury that the following declaration is true

  and correct and based upon my personal knowledge:

     1.    My name is Mark Bankston. I am over the age of 18 and competent to make this
           declaration. I am an attorney at the law firm Kaster Lynch Farrar & Ball, LLP in
           Houston, Texas.

     2.    In 2019, I filed a motion in Lewis v. Jones seeking the revoke the pro hac vice
           status of attorney Robert Barnes.

     3.    The motion discusses improper extrajudicial statements by Mr. Barnes and his
           client Alex Jones.

     4.    The motion mentions that Mr. Jones discussed the details of the case in episodes
           of his show featuring both Mr. Barnes as well as his former attorney Marc
           Randazza.

     5.    In no way did I mean to imply that Mr. Randazza ever made improper
           extrajudicial statements. Furthermore, my experience with Mr. Randazza in that
           case was that he always acted properly and above reproach in all respects.


     Executed on August 12, 2020 in Harris County, Texas.




                                            ____________________________________
                                            MARK D. BANKSTON




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                           EXHIBIT 5
                        Western District of Texas
                         Admittance Certificate
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                           EXHIBIT 6
                    Fifth Circuit Court of Appeals
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                         EXHIBIT 7
          Transcript of Hearing on Motion for Admission
               pro hac vice in St. Angelo v. Kearney
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 52
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               UHFLSURFDO GLVFLSOLQH UHODWLQJ WR RQH VLWXDWLRQ       R , UHDG
               HYHU WKLQJ WKDW ZDV SUHVHQWHG LQ 0U     DQGD D V DSSOLFDWLRQ IURP
               DOO RI WKH FRXUWV     QG DJDLQ , ZDV DFWXDOO KDSS WR VHH WKDW
               WKH LVVXH WKDW VSDUNHG WKH GLVFLSOLQDU SURFHHGLQJV LQ 1HYDGD
               ZKLFK WKHQ WUDYHOHG DURXQG WKH FRXQWU ZDV QRW UHODWHG WR DQ
               LVVXH RI FDQGRU WR WKH FRXUW RU DWWRUQH PLVFRQGXFW DV LW
               UHODWHV WR DFWLYLWLHV EHIRUH DQ FRXUW DQG LQVWHDG DSSHDU DOO
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               FDQGRU WR WKH FRXUW RU FRQGXFW WKURXJK WKH RXUW RU HYHQ          RX
               NQRZ PLVWUHDWPHQW RI D FOLHQW DOWKRXJK , VXSSRVH RX FRXOG
               DUJXH WKDW WKH FRQIOLFW RI LQWHUHVW LVVXHV ZDV D PLVWDNH QRW
               H DFWO PLVWUHDWPHQW RI D FOLHQW      ,W ZDV D FRQIOLFW RI LQWHUHVW
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               WKH DSSOLFDWLRQ , KDYH FRQFOXGHG WKDW WKH GLVFLSOLQH DJDLQVW
               0U   DQGD D GRHV QRW ULVH WR WKH OHYHO ZKHUH , ZRXOG EH
               XQFRPIRUWDEOH DGPLWWLQJ KLP WR SUDFWLFH LQ WKLV FDVH        JDLQ
               FRQGXFW GRHVQ W UHODWH WR FDQGRU WR WKH WULEXQDO LW GRHVQ W
               UHODWH WR FRQGXFW EHIRUH WKH RXUW DQG GRHVQ W UHODWH WR DQ
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               FHUWLILFDWLRQ IRUWKZLWK
                     7    28 7       RX FDQ ILOH WKDW FHUWLILFDWLRQ DQG RX FDQ
               DOVR ILOH WKH RUGHU 0U 0F WHHU
                     0   0 7           HV    RXU RQRU
                     0       1'        7KDQN RX      RXU RQRU
                     7    28 7       RX UH ZHOFRPH      OO ULJKW     R , KDYH D OLYH
               KHDULQJ LQ WKH FRXUWURRP WKDW , QHHG WR DWWHQG WR EXW , ZRXOG
               OLNH WR WDNH        PLQXWHV ZLWK FRXQVHO RII WKH UHFRUG WR WDON
               DERXW ZKHUH ZH UH JRLQJ LQ WKLV FDVH         OO ULJKW     R , P JRLQJ
               WR H FXVH RXU FRXUW UHSRUWHU DQG RXU FOHUN          , P JRLQJ WR JR RII
               RI WKH VWUHDPLQJ UHFRUG DQG ZH OO MXVW FKDW IRU D IHZ PLQXWHV
               DERXW ZKDW ZH UH GRLQJ KHUH
                                            -2    1(
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 55
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                          EXHIBIT 8
                       Florida Report of Referee
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                       IN THE SUPREME COURT OF FLORIDA
                                 (Before a Referee)


  THE FLORIDA BAR,                          Supreme Court Case
                                            No. SC19-188
        Complainant,
                                            The Florida Bar File
  V.                                        No. 2020-00,216(2B) NFC

  MARC JOHN RANDAZZA,

        Respondent.

  --------------~                            I

                               REPORT OF REFEREE

  I. SUMMARY OF PROCEEDINGS

         Pursuant to the undersigned being duly appointed as referee to conduct

  disciplinary proceedings herein according to Rule 3-7 .6, Rules of Discipline, the

   following proceedings occurred:

         This is a reciprocal discipline case. The Respondent filed The Notice of

  Discipline by a Foreign Jurisdiction (Nevada) in the Florida Supreme Court and

  had as attachments the Nevada Order Approving a Conditional Guilty Plea and the

   underlying Conditional Guilty Plea. Respondent's Exhibit 3; Tr. Vol. II, page 235,

   lines 8-10. On January 6, 2019, The Florida Bar filed its Formal Complaint against

   Respondent. On February 19, 2019, The Florida Bar noticed respondent that a

   case Management Conference would be conducted by the referee on March 8,

   2019. On May 3, 2019, the referee commenced the Final Hearing in this matter.
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  Mr. Fisher, counsel for The Florida Bar, Mr. Weiss, counsel for the Respondent

   and the Respondent, Mr. Randazza, were present. Needing additional time to

   conclude the Final Hearing, the parties rescheduled the second day. Due to events

   beyond everyone's control, the Final Hearing was rescheduled again. The second

   day of the Final Hearing convened on January 8, 2020. All items properly filed

   including pleadings and exhibits in evidence and the report of referee constitute the

   record in this case and are forwarded to the Supreme Court of Florida.

   II. FINDINGS OF FACT

         Jurisdictional Statement. Respondent is, and at all times mentioned during

   this investigation was a member of The Florida Bar subject to the jurisdiction and

   Disciplinary Rules of the Supreme Court ofFlorida.

         Narrative Summarv Of Case.

         Because this is a reciprocal discipline action, it is based on the Findings of

   Fact, Conclusions of Law and Recommendation of the Southern Nevada

   Disciplinary Board of the State Bar of Nevada dated July 10, 2018 and Order

   Approving Conditional Guilty Plea Agreement of the Supreme Court of the State

   ofNevada, dated October 10, 2018. The Supreme Court of the State of Nevada

   imposed a 12 month suspension, stayed for 18 months of probation subject to

   conditions. Those findings of fact and Order are attached to The Florida Bar's

   Formal Complaint.



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         In or about June 2009, the Respondent drafted and signed a Legal Services

  Agreement with Excelsior Media Corp. (Excelsior) which provided that the

  Respondent would become "in-house" general counsel. The Agreement did not

  prohibit the Respondent from maintaining ad private practice or providing legal

  services to other clients so long as there was no conflict of interest with Excelsior.

  Excelsior had a subsidiary or affiliate company, Liberty Media Holdings, LLC

   (Liberty), which engaged in the production and distribution of pornography. The

  Respondent provided legal services to both entities, but did not have a separate
         '
  agreement with Liberty.

         In February 2011, Excelsior relocated its corporate offices to Las Vegas,

  Nevada. The Respondent followed in June 2011 and was admitted to the Nevada

  Bar in January 2012. Until his admission, the Respondent did not engage in the

  practice oflaw in the State of Nevada, except as a member of the bar of the U.S.

  District Court for the District of Nevada.

         On or about June 20, 2012, the Respondent filed a lawsuit against FF

  Magnat Limited d/b/a Oran.com (Oron) for alleged violations of Liberty's

   intellectual property. On or about June 21, 2012, the Respondent obtained and

   injunction against Oron freezing certain accounts and funds of Oron. On July 1,

   2012, the Respondent and attorneys for Oron signed a Settlement Letter with

   regard to the Oron litigation and a similar case between the two parties in Hong



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  Kong. The parties agreed that Oron would pay Liberty $550,000 payable to the

  Respondent's trust account. A dispute arose after the Settlement Letter was

  signed. Liberty filed a Motion to Enforce the settlement letter which the United

  States District Court granted on August 7, 2012. Liberty obtained a Judgment

  against Oron for $550,000. As part of the Post-Judgment settlement negotiations,

  Oron informed the Respondent that it wanted to enter into an agreement to

  retainthe Respondent for bona fide legal services. Specifically, Oron wanted the

  Respondent to advise it how to avoid this type of litigation in the future and how to

  restructure the company so as to not be subject to jurisdiction in the United States.

  Tr. II, page 215, lines 2-25, 216, lines 1-14. Subject to the agreement of Liberty

  and its execution of a Post-Judgment agreement, the Respondent negotiated a

  separate agreement with Oron whereby he would receive $75,000 of Oran's frozen

  funds. On August 6, 2012, while still in litigation representing Excelsior against

  Oran, the Respondent executed a $75,000 non-refundable, "earned upon receipt

  retainer" to represent FF Magnat, the parent company of Oron. Tr. II, page 254,

  lines 17-28 and page 258, lines 8-14, The retainer agreement clearly stated that it

  could not take effect unless and until Liberty's dispute with Oran was fully

  resolved. See Transcript, Vol. Il, at 215:20-216:1 & 239:25-240:7. The

  Respondent presented and subsequently discussed the Post-Judgment Agreement,

  which included payment of the $550,000 and the $75,000 retainer for future



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  services with Oron, with the CEO of Liberty, Mr. Gibson. The agreement was

  never consummated because Mr. Gibson disapproved it. Tr. II, page 214-216, line

   14; 217, lines 3-7. The Respondent did not receive the retainer fee of $75,000.

         On August 21, 2012, the Court ordered Pay Pal, Inc. to transfer $550,000 of

  Oron funds to the Randazza Legal Group trust account. A full and proper

  accounting occurred with Liberty receiving its share.

         Concurrent with the United States litigation between Liberty and Oron, the

  Respondent and Mr. Gibson also discussed pursuing litigation against Oron and/or

  its affiliates in Hong Kong. The Respondent estimated those costs, excluding

  attorney's fees, to be approximately $50,000. Mr. Gibson said Liberty to advance

  $25,000 if the Respondent would personally advance $25,000. The Respondent

  agreed and requested and Liberty executed a promissory note to him for $25,000.

  The Respondent did not advise Liberty, in writing, to seek the advice of

  independent counsel regarding the promissory note. The Respondent and

  Excelsior parted ways on or about August 29, 2012. They dispute whether he

  resigned or was terminated.

         Following his departure from Excelsior, the Respondent engaged in

   litigation against Excelsior, Liberty and Jason Gibson, individually over among

   other things money he alleged was owed to him by his former employers. The

   parties submitted the matter to arbitration. After a five day trial, the Arbitrator



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  issued an Interim Arbitration award (IAA) in favor of the employers and against

  the Respondent. The Florida Bar's Exhibit 1. The Referee does not give any

  weight to the IAA for several reasons. First, the IAA was vacated in its entirety,

  after a court refused to confirm it, by voluntary agreement and by order of a court

  of competent jurisdiction. Respondent's Exhibit 12; Tr. Vol. II, page 196, lines 18-

  23. Second, the burden of proof for the IAA is a preponderance of the evidence,

  not the clear and convincing standard as required by these proceedings. Third, the

  Arbitrator's findings thatthe Respondent engaged in unethical conduct based on

  testimony and evidence that occurred over a five day trial and that has not been

  presented or observed by this Referee are of little weight. The IAA was not a basis

  for any discipline by the State Bar of Nevada. While the Referee may be

  sympathetic to the amount of time, energy and money that the Respondent's

  employers spent to litigate the IAA issues, sympathy should play no part in the

  Referee's recommendation.

        The Florida Bar argued and presented evidence of other alleged conflicts of

  interest engaged in by the Respondent when he represented other clients whose

  interests were allegedly adverse to Excelsior or Liberty. There is no clear and

  convincing evidence to suggest that anything the Respondent may have done on

  behalf of his other clients was actually adverse to Excelsior or Liberty. The

  Respondent testified it was not. Tr. II, page 203, line 1-204, line 24 and 246, line



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  4-248, line 7. The Respondent was authorized under his employment agreement to

  do so. Tr. Vol. II, page 198: 23-25. The Florida Bar's witness, Mr. Dunlap,

  offered no examples of a single matter where such representation was adverse. Tr.

  Vol. II, page 281, line 23-284, line 23. The only instance in which there was a

  conceivable conflict was with respect to the representation ofXVideos, but as soon

  as a potential conflict arose, Respondent acted to withdraw and the conflict never

  ripened. Tr. Vol. II, page 248, linesl-7. Mr. Dunlap's testimony regarding 10

  Group fails to show that the Respondent represented 10 Group in that transaction.

  There was no conflict of interest where he briefly represented 10 Group regarding

  an unrelated litigation matter. The Nevada bar investigated these conflicts and no

  such conflicts were found. Tr. Vol. II, page 265, lines 3-11.

        Since the imposition of the Nevada Order, every other state in which

  Respondent is admitted has issued reciprocal discipline tracking the Nevada Order.

  Specifically:

         1.    Arizona: The Presiding Disciplinary Judge issued a Final Judgment
  and Order of Reprimand and Probation placing Mr. Randazza on 18 months of
  probation, concurrent with the Nevada discipline. Respondent's Exhibit 4; Tr. Vol.
  II, page 189, line 11-13.

         2.    California: The Supreme Court of California issued a one-year
  suspension, stayed for one year, to be terminated upon satisfying the terms of the
  stay, which includes quarterly reporting and passing the MPRE. Respondent's
  Exhibit 9; Tr.Vol. II, page 188, lines 15-24

       3.     Massachusetts: The Supreme Judicial Court issued an Order of Term
  Suspension/Stayed, suspending Mr. Randazza for 12 months, stayed for 18

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  months, retroactive to the date of the Nevada discipline, with the suspension to be
  lifted upon compliance with the Nevada Order. Respondent's Exhibit 1O;Tr. Vol.
  II, page 189, lines5-10.

           None of these jurisdictions found any factors in aggravation warranting any

  discipline in excess of that imposed by Nevada. Tr.Vol. II, page 224, line22-225,,

  line 11. To date, Respondent's right to practice law has not been suspended.

           Additionally, proceeding in the Federal Appellate Courts (10 th , 11th and

  Federal Circuit) all deferred to the Nevada Order. Respondent's Exhibit 4. The

                                                                                        nd
  Supreme Court of the United States and the U.S. Courts of Appeals for the 1'\ 2            ,


   1   1     th      th
  4 \ 6 \ 7 and 9 Circuits to date, have not taken any action despite timely notice.

  Tr. Vol. II, page 241, lines 2-9.

           Despite being put on notice of the Nevada Order, the U.S. District Courts for

  the Northern & Middle Districts of Florida, the Northern District of Texas, the

  Northern, Central, Eastern, & Southern Districts of California, the Eastern District

  of Wisconsin, the Eastern District of Michigan, the Northern District of Ohio, and

  the District of Montana (admitted pro hac vice) have taken no action toward

  reciprocal discipline. Tr. Vol. II, page 241, lines 2-9. The matter was referred to an

  investigatory subcommittee of the Ad Hoc Committee on Attorney Admissions,

  Peer Review and Attorney Grievance of the U.S. District Court for the Southern

  District of Florida following Respondent's response to a show cause order. Since

  the Final Hearing, on May 8, 2020, the U.S. District Court for the Southern District



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  of Florida adopted the disciplinary measures imposed by Nevada. See In re: Marc

  John Randazza, Case No. 18 MC 25230 (S.D. Fla. Feb. 6, 2019). This document

  is of record pursuant to the granting of the Respondent's Motion to Supplement the

  Record. The U.S. District Court for the District of Massachusetts, upon the consent

  of Respondent, imposed reciprocal discipline in the nature of a 12-month
                      .
  suspension, stayed for 18 months, retroactive to October 10, 2018, conditioned

  upon compliance with the Nevada Order. See Respondent's Exhibit 4, In re: Marc.

  J Randazza, Misc. Bus. Diet. No. 18-mc-81490-FDS (D. Mass. sept. 26, 2019).

         Only the U.S. District Court for the District of Nevada, which did not act on

  the prompt notice of the Nevada Order until September 2019, issued an order

  placing the Respondent on active suspension until the expiration of the Nevada

  state probation, subject to reinstatement upon discharging all conditions. See In re:

  Marc J. Randazza, Case No. 2: 19-cv-01765-MMD (D. Nev. Oct. 22, 2019). The

  reason given was that the court had "neither the obligation, resources, nor

   inclination to monitor Mr. Randazza's compliance with the probationary conditions

   the [Nevada Supreme Court] imposed on him." Id. at 1; Tr. Vol. II, page 241, lines

   10-14.

         Finally, the Referee does not find persuasive the numerous character letters

   submitted by the Respondent nor the testimony of his character witnesses, who

   were unfamiliar with the facts smTounding his discipline. Like the IAA award, the



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  Referee does not give any weight to these letters whether sent directly to the

  Referee's chambers or filed as an exhibit.

  III.   RECOMMENDATIONS AS TO GUILT.

         I recommend that Respondent be found guilty of violating the following

  Rules Regulating The Florida Bar: 4-1.8(a) and Rule 4-5.6(b).

         STANDARDS FOR IMPOSING LA WYER SANCTIONS

         I considered the following Standards prior to recommending discipline: 3.0,

  4.3, 9.1, 9.2 and 9.3.


  IV.    RECOMMENDATION AS TO DISCIPLINARY MEASURES TO
         BEAPPLIED

         I recommend that Respondent be found guilty of misconduct justifying

   disciplinary measures, and that he be disciplined by:

          A.    One year of probation with a public reprimand and that the

   Respondent successfully complete the thirty hours of Florida continuing legal

   education ethics hours, and

          B.   Payment of The Florida Bar's costs in these proceedings.

   V.    PERSONAL HISTORY, PAST DISCIPLINARY RECORD

         Prior to recommending discipline pursuant to Rule 3-7.6(m)(l )(D), I

   considered the following:

         Age: 50 Years of Age.



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        Date of Bar Admission: March 3, 2003

        Prior Discipline:     None

  Aggravating Factors: Standard 9.2

                (d)     multiple offenses; and
                (i)     substantial experience in the practice of law.

  Mitigating Factors:

                (a)     absence of a prior disciplinary record.


  VI.   STATEMENT OF COSTS AND MANNER IN WHICH COSTS SHOULD
        BE TAXED

        I find the following costs were reasonably incurred by The Florida Bar:

        Investigative Costs                                              $105.25
        Administrative Costs                                             $1250.00
        Court Reporter's Fees                                            $1532.00

        Total                                                            $2887.25

        It is recommended that such costs be charged to Respondent and that interest

  at the statutory rate shall accrue and be deemed delinquent 30 days after the

  judgment in this case becomes final unless paid in full or otherwise deferred by the

  Board of Governors of The Florida Bar.

        Dated this 7th day of July 2020.



                                            1s1@0uJ,,,.{izhic4
                                            Dawn Caloca-Johnson, ~ee
                                                                    i:{j)~'fu,..,.J
                                            301 South Monroe Street
                                            Tallahassee, FL 32301-1861

                                              11
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  Originals To:

  Clerk of the Supreme Court of Florida; Supreme Court Building; 500 South Duval
  Street, Tallahassee, Florida, 32399-1927

  Conformed Copies to:

  James Keith Fisher, Bar Counsel, at jfisher@floridabar.org. and

  John A. Weiss, Counsel for Respondent, at jweiss@rumberger.com




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                   Supreme Court of Florida
                        THURSDAY, SEPTEMBER 3, 2020

                                                             CASE NO.: SC19-188
                                                             Lower Tribunal No(s).:
                                                                 2015-00,718(2B)

  THE FLORIDA BAR                        vs.    MARC JOHN RANDAZZA

  Complainant(s)                                Respondent(s)

         The Court approves the uncontested referee's report and reprimands
  respondent.
         Respondent is further placed on probation for one year under the terms and
  conditions set forth in the report. Respondent shall comply with all other terms
  and conditions in the report.
         Judgment is entered for The Florida Bar, 651 East Jefferson Street,
  Tallahassee, Florida 32399-2300, for recovery of costs from Marc John Randazza
  in the amount of $2,887.25, for which sum let execution issue.

  NOT FINAL UNTIL TIME EXPIRES TO FILE REHEARING MOTION AND,
  IF FILED, DETERMINED.

  CANADY, C.J., and POLSTON, LABARGA, LAWSON, MUÑIZ, and
  COURIEL, JJ., concur.

  A True Copy
  Test:



   JohnA. Tomasino
   Clerk, Supreme Court

  ca
  Served:
  LESLIE LAGOMASINO BAUM                            JAMES KEITH FISHER
  HON. DAWN CALOCA-JOHNSON, JUDGE                   JOHN A. WEISS
  PATRICIA ANN TORO SAVITZ
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                          EXHIBIT 9
                      Docket 261 Order Vacating
                                                     22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 70
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                                                                              Case 15-14956-abl     Doc 261    Entered 08/02/18 16:34:49        Page 1 of 3




                                                                        1
                                                                        2
                                                                        3                                       Honorable August B. Landis
                                                                                                               United States Bankruptcy Judge
                                                                        4Entered on Docket
                                                                      August 02, 2018
                                                                  ___________________________________________________________________
                                                                        5
                                                                        6    Jessica R. MacGregor, Esq., Ca Bar No. 168777    Lawrence A. Jacobson, Esq., Ca Bar No. 057393
                                                                             (Pro Hac Vice)                                   (Pro Hac Vice)
                                                                        7    Long & Levit LLP                                 Cohen and Jacobson, LLP
                                                                        8    465 California Street, 5th Floor                 66 Bovet Road, Suite 285
                                                                             San Francisco, CA 94104                          San Mateo, CA 94402
                                                                        9    Telephone: 415-397-2222                          Telephone: 650-261-6280
                                                                             Facsimile: 415-397-6392                          Facsimile: 650-368-6221
                                                                        10   Email: jmacgregor@longlevit.com                  Email: laj@cohenandjacobson.com
SCHWARTZER & MCPHERSON LAW FIRM




                                                                        11   Attorneys for JAMS, Inc. and Stephen Haberfeld
                                                                        12   Jeanette E. McPherson, Esq., NV Bar No. 5423
                            Tel: (702) 228-7590 · Fax: (702) 892-0122




                                                                             Schwartzer & McPherson Law Firm
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                                 Las Vegas, Nevada 89146-5308




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                                                                             Las Vegas, Nevada 89146-5308
                                                                        14
                                                                             Telephone: 702-228-7590
                                                                        15   Facsimile: 702-892-0122
                                                                             E-Mail: bkfilings@s-mlaw.com
                                                                        16
                                                                        17   Local Counsel for JAMS, Inc. and Stephen Haberfeld

                                                                        18                           UNITED STATES BANKRUPTCY COURT

                                                                        19                                    DISTRICT OF NEVADA
                                                                        20   In re:                                         Case No. BK-S-15-14956-ABL
                                                                        21   MARC JOHN RANDAZZA,                            Chapter 11
                                                                        22                                      Debtor. ORDER REGARDING ORDER TO SHOW
                                                                                                                        CAUSE WHY STEPHEN HABERFELD AND
                                                                        23                                              JAMS, INC. SHOULD NOT BE COMPELLED
                                                                                                                        TO COMPLY WITH THE ORDER
                                                                        24
                                                                                                                        APPROVING SETTLEMENT AGREEMENT
                                                                        25                                              AND/OR HELD IN CONTEMPT AND
                                                                                                                        SANCTIONED FOR WILLFUL VIOLATIONS
                                                                        26                                              OF THE AUTOMATIC STAY
                                                                        27                                                  Hearing Date: July 31, 2018
                                                                                                                            Hearing Time: 1:30 p.m.
                                                                        28


                                                                             Order re OSC
                                                                                                                              1
                                                     22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 71
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                                                                              Case 15-14956-abl             Doc 261     Entered 08/02/18 16:34:49      Page 2 of 3




                                                                        1                   The Order To Show Cause Why Stephen Haberfeld And Jams, Inc. Should Not Be
                                                                        2    Compelled To Comply With The Order Approving Settlement Agreement And/Or Held In
                                                                        3    Contempt And Sanctioned For Willful Violations Of The Automatic Stay (“OSC”) having come
                                                                        4    before this Court on July 31, 2018; Marc John Randazza (the “Debtor”) appearing by and through
                                                                        5    his counsel, Matthew Zirzow, Esq. of Larson Zirzow & Kaplan, LLC, JAMS, Inc. (“JAMS”) and
                                                                        6    Hon. Stephen E. Haberfeld (Ret.) (“Judge Haberfeld”) (JAMS and Haberfeld collectively referred
                                                                        7    to herein as the “JAMS Parties”) appearing by and through their counsel Jessica MacGregor, Esq.
                                                                        8    of Long & Levit, Lawrence Jacobson, Esq. of Cohen and Jacobson, LLP, and Jeanette E.
                                                                        9    McPherson, Esq. of Schwartzer & McPherson Law Firm; the Court having reviewed the pleadings
                                                                        10   on file and having heard the argument and proposals of the Debtor and the JAMS Parties; and in
SCHWARTZER & MCPHERSON LAW FIRM




                                                                        11   full resolution of the OSC and for good cause shown, it is hereby
                                                                        12                  ORDERED that to effectuate the Court’s order approving the settlement between the
                            Tel: (702) 228-7590 · Fax: (702) 892-0122
                              2850 South Jones Boulevard, Suite 1
                                 Las Vegas, Nevada 89146-5308




                                                                        13   Debtor and the Excelsior Parties, the Court further orders that the Interim Arbitration Award
                                                                        14   issued in the Arbitration is hereby deemed vacated and dismissed; and
                                                                        15                  ORDERED that the automatic stay be and is hereby modified to authorize and allow
                                                                        16   JAMS and Stephen Haberfeld to terminate the arbitration proceeding and close its file with no
                                                                        17   other action to be taken; and
                                                                        18                  ORDERED that the parties to the OSC, the Debtor and the JAMS Parties, shall bear their
                                                                        19   own attorneys’ fees and costs; and
                                                                        20                  ORDERED that nothing in this order shall be deemed a finding of contempt; and
                                                                        21                  ORDERED that the court reserves jurisdiction over the interpretation and enforcement of
                                                                        22   this order; and
                                                                        23   ///
                                                                        24   ///
                                                                        25   ///
                                                                        26   ///
                                                                        27   ///
                                                                        28   ///


                                                                             Order re OSC
                                                                                                                                    2
                                                     22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 72
                                                                                           of 210
                                                                              Case 15-14956-abl             Doc 261      Entered 08/02/18 16:34:49       Page 3 of 3




                                                                        1                   ORDERED that upon entry of this Order, the hearing scheduled for September 4, 2018 at
                                                                        2    9:30 a.m. regarding the OSC shall be vacated.
                                                                        3    Submitted by:
                                                                        4    /s/ Jessica R. MacGregor
                                                                             Jessica R. MacGregor, Esq.
                                                                        5    Long & Levit LLP
                                                                        6             -and-
                                                                             Lawrence A. Jacobson, Esq.
                                                                        7    Cohen and Jacobson, LLP
                                                                        8    Attorneys for JAMS, Inc. and Stephen Haberfeld
                                                                        9           -and-
                                                                             Jeanette E. McPherson, Esq.
                                                                        10   Schwartzer & McPherson Law Firm
SCHWARTZER & MCPHERSON LAW FIRM




                                                                        11   Local Counsel for JAMS, Inc. and Stephen Haberfeld
                                                                        12   Approved/Disapproved:
                            Tel: (702) 228-7590 · Fax: (702) 892-0122
                              2850 South Jones Boulevard, Suite 1
                                 Las Vegas, Nevada 89146-5308




                                                                        13   /s/ Matthew Zirzow
                                                                             Matthew Zirzow, Esq.
                                                                        14   Larson Zirzow & Kaplan, LLC
                                                                        15   Attorneys for Debtor

                                                                        16                                            LR 9021 CERTIFICATION

                                                                        17   In accordance with LR 9021, counsel submitting this document certifies that the order accurately
                                                                             reflects the court’s ruling and that (check one):
                                                                        18
                                                                                                   The court waived the requirement of approval under LR 9021(b)(1).
                                                                        19
                                                                        20                         No party appeared at the hearing or filed an objection to the motion.

                                                                        21                          I have delivered a copy of this proposed order to all counsel who appeared
                                                                                            at the hearing, and any unrepresented parties who appeared at the hearing, and each
                                                                        22                  has approved or disapproved the order, or failed to respond, as indicated above.
                                                                        23
                                                                                            □ I certify that this is a case under Chapter 7 or 13, that I have served a copy
                                                                                            of this order with the motion pursuant to LR 9014(g), and that no party has
                                                                        24
                                                                                            objection to the form or content of the order.
                                                                        25
                                                                             /s/ Jeanette E. McPherson
                                                                        26   Jeanette E. McPherson, Esq.
                                                                        27   Schwartzer & McPherson Law Firm

                                                                        28                                                         ###


                                                                             Order re OSC
                                                                                                                                     3
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                          EXHIBIT 10
           Opposition to Motion to Confirm Arbitration
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                                                                              CLERK OF THE COURT
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 9
   Attorneys for Defendant
1o Marc J Randazza

11                                             DISTRICT COURT

12                                      CLARK COUNTY, NEVADA
13
14 EXCELSIOR MEDIA CORP., a Nevada Corp.;                        Case No. A-15-719901-C
   LIBERTY MEDIA HOLDINGS, LLC, a
15 California limited liability company; and                     Dept. No. XXIV
   JASON GIBSON, individually,
16                                                               DEFENDANT'S OPPOSITION TO
                    Plaintiffs,                                  PLAINTIFFS' MOTION TO CONFIRM
17
                                                                 ARBITRATION AWARD AND
18 vs.                                                           COUNTER-MOTION TO VACATE
                                                                 AND/OR MODIFY
19 MARC J. RANDAZZA, individually,

20                  Defendant.
21

22          Defendant Marc J. Randazw ("Defendant" or "Randazza") opposes Plaintiffs' Motion to

23 Confirm Arbitration Award. As a threshold matter, the Interim Arbitration Award cannot be
24
     confirmed because it is a non-final award. Further, Plaintiffs have violated the arbitration clause
25
     of the employment agreement between Randazza and his ex-employer Excelsior Media Corp.
26
     ("Excelsior") by bringing this confirmation action in Nevada. The employment agreement
27

                                                          - 1-
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         requires the parties to bring any action to confirm, modify, or vacate an arbitration award
     1

  2 concerning Randazza's employment in San Diego, California. Specifically, the agreement states

_ 3 that"any _eontrnversy:,dispute or claim arising outof_this Agr_eementor relating toRandazza's

  4 employment with Excelsior" must proceed through alternative dispute resolution, culminating in
     5
         arbitration if necessary. Fllf1:her,the agreement states, "U]udgment on any Award made by the
  6
         arbitrator may be entered in any court having jurisdiction." Contract of Employment for
     7
         Corporate General Counsel By and Between Excelsior Media Corp. and Marc J. Randazza at§ 8,
     8
         attached as Exhibit A. 1 The agreement then clarifies that "[a]ny action to enforce an arbitrator's
     9
 10 award will be venued [sic] in San Diego County, California, unless otherwise agreed to by the

 11 parties." Id. at§ 9(f). Randazza is in the process of initiating an action to vacate and/or modify

 12 Plaintiffs' arbitration award in San Diego, California, the correct forum.
 13
                However, should the Court find that it is authorized to consider Plaintiffs' request, this
 14
         Opposition should also be deemed a counter-motion to vacate pursuant to common law and NRS
 15
         38.241 or, in the alternative, to modify or correct the award pursuant to NRS 38.242. The award
 16
         cannot be confirmed because it manifestly disregards the law by applying Nevada law instead of
 17
 18 California law as required by Randazza' s employment agreement, which states, "[t]his

 19 Agreement shall be governed by and construed in accordance with the laws of the State of

 2   °   California, without regard to conflict oflaws." Exhibit A at § 9(f). The Arbitrator's failure to
 21
         apply California law demonstrated his evident bias against Randazza. The Arbitrator likewise
 22

 23
         1
 24   Please see the declarations ofRandazza and Ken White-who was Randazza's attorney in the
    underlying arbitration.- for authentication of the exhibits to this brief. The declarations are
 25 attached as Exhibit Band Exhibit C, respectively. The exhibits that were entered in the
    arbitration contain arbitration exhibit numbers in the bottom right-hand portions of the
 26 documents.
 27

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     failed in his duties to evaluate the record, and he exceeded his power. Defendant respectfully
 1

2 requests that this Court deny Plaintiffs' motion to confirm the arbitration award in toto and,
                                                                                                 to

3 the extent applicable, vacate and/or modify the award

4           Randazza' s opposition to the motion to confirm the arbitration award and counter-motion
 5
     to vacate and/or modify are based on EDCR 2.20, the following points and authorities, the
6
     attached exhibits, and any oral argument entertained by the Court.
 7                       ~~
            DATED this_ I      day of August, 2015.
 8

 9                                                                HUTCHISON & STEFFEN, LLC

10

11
                                                                   ~~~
12                                                                   ark A. Hutchison (4639)
                                                                       hael K. Wall (2098)
13                                                                 Timothy R. Koval (12014)

14                                                                Attorneys for Defendant
                                                                  Marc J. Randazza
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22 9 u.s.c. 11

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 1
                                        POINTS AND AUTHORITIES
2

3        I.      Introduction

4             As noted by Plaintiffs in their motion to confirm the arbitration award, Arbitrator

5 Haberfeld issued his self-titled Interim Arbitration Award. Exhibit D. By its own terms, it is not
6
     final; it contemplates a forthcoming accounting of a trust account managed by a non-party law
 7
     firm, amounts to be determined for alleged spoliation, as well as the briefing and award of
 8
     attorneys' fees to Plaintiffs. Once the award is :finalized, the employment agreement between
 9
     Randazza and Excelsior requires: "Any action to enforce an arbitrator's award will be venued
10
11 [sic] in San Diego County, California, unless otherwise agreed to by the parties." Exhibit A at§

12 9(:f). In other words, Plaintiffs are precluded from filing a motion to confirm the award in Clark

13 County, Nevada, as they have done.
14
              If, nevertheless, the Court were to entertain Plaintiffs' motion on the merits, the Interim
15
     Arbitration Award incorrectly fails to apply California law in several instances as required by the
16
     employment agreement. Id. (stating, "[t]his Agreement shall be governed by and construed in
17
     accordance with the laws of the State of California, without regard to conflict oflaws.") Further,
18
19 it incorrectly requires Defendant to pay all three Plaintiffs, jointly, $275,000, plus interest, for an

20 alleged breach of fiduciary duty. Id. at 23. It requires Defendant to remit to all three Plaintiffs,

21 jointly, $60,000 that was paid to a non-party law firm. Id. It requires Defendant to pay

22
     $3,215.98 for expert costs, plus an unspecified amount for spoliation and conversion,
23
     notwithstanding lack of evidence of the value of the allegedly spoliated data 2 and the absence of
24
25
     2
26    Despite a five day hearing, preceded by extensive discovery practice, during which time
     Plaintiffs had the opportunity to have the alleged laptop that is the subject of the spoliation issue
27

                                                            -8-
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     a tort cause of action in California for spoliation, Cedars-Sinai Med Ctr. v. Superior Ct., 18
 1
       th
                                                                                          but the
2 Cal.4 1, 17, 954 P.2d 511 (1998). To their credit, Plaintiffs did not plead spoliation,

3 Arbitrator nonetheless appears prepared to create such a claim. Id at 23-24. The Interim

 4 Arbitration Award also requires an accounting of the non-party law firm's trust account, despite
 5                                                                 3
                                                                       Id at 25.
     a complete lack of jurisdiction over that non-party.
 6
              And the Interim Arbitration Award requires Defendant to disgorge to Excelsior, his
 7
     employer, the salary he earned in the amount of $197,000.00, for allegedly breaching a fiduciary
 8
     duty and for spending excessive time on other matters. Id at 24. There was no showing that
 9
1o Defendant did not perform the work and earn his salary, and the award is in violation of

11 California Labor Code, Section 221, which states that "[i]t shall be unlawful for any employer to

12 collect or receive from an employee any part of wages theretofore paid by said employer to said

13                 4
     employee."        This is in addition to the improper denial of Defendant's claims. Consequently,
14
     Plaintiffs' action to confirm the Interim Arbitration Award in Clark County, Nevada, cannot be
15
     confirmed and the ultimate final award, assuming it retains these improper awards, would be
16
     subject to vacatur.
17

18 / / /

19

20

21

22 produced for inspection, the Arbitrator is requesting that Plaintiffs' expert newly determine what
   data may have been deleted. Exhibit A at 24.
23
     3
24       Similarly, Plaintiffs could have sought to inspect the trust account pre-hearing.

25  The interim award also requires Defendant to return a laptop. Defendant has already done so,
     4


   rendering the issue moot. It also dismisses Plaintiff Jason Gibson as a pa..'iy, which Defendant
26 does not oppose. But this dismissal as a party would seem to preclude the issuance of a
   monetary award to him.
27

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        II.      Factual Background
 1

2
              Marc J. Randazza is a noted and respected First Amendment and Intellectual Property
3
     attorney with   anationwide focus.       Excelsior, a Nevada corporation whose President and own.er is
4
     Jason Gibson, is a producer and internet distributor of pornographic films under the brand name
 5
     "Corbin Fisher." Excelsior :frequently found itselfrequiring the services of an attorney with
6

 7 experience in those areas of law.

 8            In July of 2009, Excelsior Media Corporation hired Randazza as its in-house general

 9 counsel. Exhibit A. While serving as general counsel, Randazza was also permitted to practice
10
     law on behalf of other clients through his outside law firm, Marc J. Randazza P.A. d/b/a
11
     Randazza Legal Group. Id. at§ 6(c) (stating in part, "[i]nsofar as such activities do not violate
12
     any professional ethical standard or the Confidentiality and inventions Assignment Agreement
13
     ... , Excelsior agrees that Randazza may, without breaching such duties and agreements, provide
14
15 professional services to a limited number of outside clients on an ongoing basis as long as such

16 services are rendered without legal or professional conflict with Excelsior .... ).

17            This outside law practice worked to create a symbiotic relationship for Excelsior. Liberty
18
     Media Holdings, LLC ("Liberty"), is a California limited liability company whose managing
19
     member is the same Jason Gibson. As a general practice, Liberty was assigned all rights in the
20
     Corbin Fisher films produced by Excelsior. As general counsel, Randazza was tasked by
21
                                   to enforce Liberty's copyrights. Liberty, with the approval of
22 Gibson, on behalf of Excelsior,
23 Gibson, enforced the copyrights in these films through Marc J. Randazza PA, which did business

24 as Randazza Legal Group.
25            In any niche area of practice, the same attorneys :frequently encounter each other. Such is
26
     especially true in the world of those representing creators of online pornographic content and
27

                                                           - 10 -
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     those who represent the people who steal those works. One such attorney Randazza encountered
 1
                                                                                       was
2 on multiple occasions was Valentine Gurvits. In one matter, a company called TNAFlix

 3 _accused of infringing Liberty's copyrights. Gurvits and Randazza engaged in a bluff negotiation,

 4 with Gibson's full knowledge, that would result in the retention ofRandazza as an attorney for

 5
     TNAFlix following settlement, in order to effectuate a conflict of interest that would preclude
 6
     Randazza from representing others against TNAFlix. This portion of the negotiation was
 7
     intended to increase the overall settlement fund for Excelsior and Liberty. Although incorrectly
 8
     referred to as a "bribe," no actual bribery ever occurred. Following settlement, Randazza kept up
 9
1o the pretense of pursuing the conflict of interest in order to maintain credibility in future dealings

11 with Gurvits.

12          Randazza' s strategy of post-settlement pretense with Gurvits proved prescient. In July of
13
     2012, Randazza, for Liberty, came to settlement terms in an infringement action against FF
14
     Magnat Limited d/b/a Gron.com ("Oron"). Oron subsequently repudiated the agreement, but
15
     Randazza successfully obtained an order enforcing it. Liberty Media Holdings, LLC v. FF
16
                        No. 2:12-cv-01057 (D,Nev. Aug. 7, 2012) (order granting Liberty's
17 Magnat Limited, C.A.
18 motion to enforce settlement against Oron), attached as Exhibit E.

19          Subsequent to this order, while Liberty was pursuing an order of attorneys' fees and
2 0 freezing Oron's assets globally, Gurvits appeared for Oron and, not unexpected, Randazza again

21
     found himself negotiating a "bribe" that would create a conflict of interest for future claims
22
     against Oron. On August 13, 2012, Randazza disclosed this putative $75,000 "bribe" to Gibson
23
     as part of a settlement offer. Gibson soured at the mechanism in the agreement, because there
24
                                                                             receive the $75,000.
25 was no express method to ensure that Liberty (rather than Randazza) would

26
27

                                                         - 11 -
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            August of 2012 was a trying time for Excelsior. On August 7, 2012, Gibson reported that
 1
                                                                                        See E-
2 two significant employees would be terminated, one specifically for economic reasons.

3 mail correspondence between Randazza and Gibson dated August 7, 2012, attached as Exhibit F.

4 Benefits, including 401k matching and dependent coverage, were eliminated. Id. Sales were
 5
     declining and the ownership was dipping into personal assets to cover business expenses. Id. 0
6
     or about August 21, 2012, Randazza was required, for the first time, to lend Plaintiffs $25,000 to
 7
     cover a portion oflitigation expenses. Arbitration Transcript at 832:25-833: 15, attached as
 8
     Exhibit G.
 9

10          In addition to corporate financial strain, Randazza became subject to personal disrespect.

11 In April of 2012, without prior notice to Randazza's or consent, a pornographic film was made i

12 Randazza's office, which included a woman urinating on his desk. The video is available for the

13
     Court's review upon request. Filming in employee offices was not to be anticipated prior to that
14
     date; at that time, Randazza had no choice but to attempt to take it in stride. In that same filming
15
     session, male-on-male homosexual pornography was photographed in Randazza's office. The
16
               are available for the Court's review upon request. Gibson explicitly highlighted to
17 photographs
18 Randazza that he was "shooting gay porn on [Randazza' s] office desk & couch." See

19 Communications between Randazza and Gibson dated April 20, 2012 to April 24, 2012, attached
20 as Exhibit H. Then, on August 9, 2012, Gibson performed fellatio on another employee in the

21
     back seat ofRandazza's vehicle, adjusting Randazza's rear view mirror in an attempt to compel
22
     him to watch.
23
             In light of the personal harassment and the financial presscres, Randazza anticipated his
24
2 5 termination was imminent. For the protection of his clients, including Liberty, pursuant to

26 California Rule of Professional Conduct 3-100 and Nevada Rule of Professional Conduct 1.6,

27

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     Randazza caused client (and personal) files stored on Excelsior' s computers to be transferred to
 1

2 his firm's cloud storage system, wiping the computers to protect their confidentiality should
3 Randazza be terminated by Excelsior.

4           On or about August 29, 2012, $550,000 was received from Oron. Gibson wanted all of
5
     the funds transferred to Liberty's account, without regard for proper disbursements. See E-mail
6
     communications among Randazza, Gibson, and Excelsior's outside counsel dated August 29,
7
     2012, attached as Exhibit I. Later that day, Randazza wrote to Gibson that, "[g]iven our now
 8
     openly adversarial relationship, it seems appropriate that I withdraw from representing Liberty in
 9
10 any further matters. There might be a way I can continue to wind down existing matters, but it's

11 going to require a call to discuss it. When are you free?" See E-mail correspondence between

12 Randazza and Gibson dated August 29, 2012, attached as Exhibit J. Notwithstanding

13
     Randazza' s narrow statement that it seemed appropriate for him to withdraw from representing
14
     Liberty only, Gibson seized the opportunity to cast this statement as a resignation from
15
     Excelsior. Id. Gibson disingenuously stated to Randazza, "[w]e construe your email as a
16
     resignation of your employment and accept your resignation effective immediately." Id. Within
17
18 an hour of receiving that e-mail, Randazza disputed that mischaracterization, stating to

19 Excelsior' s outside counsel, "that was not a resignation, as much as Mr. Gibson would like it to

20 be so that he can try and evade payment of my severance," and correctly noting that they were

21
     terminating him. Id.
22
             Following the termination of the employment relationship, Randazza commenced an
23
     arbitration claim against Excelsior relative to monies owed him and for sexual harassment, as
24

25

26
27

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     well as against Liberty and Gibson on an alter-ego theory. Excelsior made a counterclaim.
 1
                                                                          interim arbitration award. 5
2 Unfortunately, the Arbitrator failed at his task, issuing the misguided

3        III.      Standard of Review

4               Plaintiffs have sought confirmation of the arbitration award under both federal and
 5
     Nevada law. Nevada recognizes nonexclusive common law grounds and statutory authority
6
     under which a court may review an arbitration award. Graber v. Comstock Bank, 111 Nev.
 7
     1421, 1426, 905 P.2d 1112, 1115 (1995). The common law grounds are "(1) whether the award
 8
     is arbitrary, capricious, or unsupported by the agreement; and (2) whether the arbitrator
 9
10 manifestly disregarded the law." Clark Cnty. Educ. Ass 'n v. Clark Cnty. Sch. Dist., 122 Nev.

11 337, 341, 131 P.3d 5, 8 (2006). The Nevada Supreme Court has defined the "manifest disregard

12 of the law" standard as error that is "obvious and capable of being readily and insta..ritlyperceived
13
     by the average person qualified to serve as an arbitrator." Graber, 111 Nev. at 1426, 905 P.2d at
14
     1115 (quoting Williams v. Cigna Financial Advisors Inc., 197 F.3d 752, 762 n.2 (5th Cir.
15
     1995) (citation omitted). Under Nevada statutory law, NRS 38.241, the award shall be set aside
16
17 if:

18              (a) The award was procured by corruption, fraud or other undue means;

19              (b) There was:
20                 (1) Evident partiality by an arbitrator appointed as a neutral arbitrator;
21
                   (2) Corruption by an arbitrator; or
22
                   (3) Misconduct by an arbitrator prejudicing the rights of a party to the arbitral
23                     proceeding;
24

25  Separately, the non-party law firm made claims against Liberty in the Clark County District
     5

   Court relating to fees owed in the Oron litigation. That action remains pending. Marc J
26 Randazza, P.A. v. Liberty Media Holdings, LLC, Case No. A-12-673275-C (hereinafter "the
   State Court Action").
27

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            (c) An arbitrator refused to postpone the hearing upon showing of sufficient cause
1           for postponement, refused to consider evidence material to the controversy, or
2           otherwise conducted the hearing contrary to NRS 38.231, so as to prejudice
            substantially the rights of a party to the arbitral proceeding;
3
            (d) An arbitrator exceeded his or her powers ....
4
     As set forth herein, evident partiality, misconduct, and exceeding of powers warrant setting aside
5
6 the award under Nevada law.

7           Similarly, under federal law, an arbitration order is subject to being vacated under 9

 8   u.s.c. 10:
 9
            (1) where the award was procured by corruption, fraud, or undue means;
10
            (2) where there was evident partiality or corruption in the arbitrators, or either of
11              them;

12          (3) where the arbitrators were guilty of misconduct in refusing to postpone the
                hearing, upon sufficient cause shown, or in refusing to hear evidence pertinent
13
                and material to the controversy; or of any other misbehavior by which the rights
14              of any party have been prejudiced; or

15          (4) where the arbitrators exceeded their powers, or so imperfectly executed them
                that a mutual, final, and definite award upon the subject matter submitted was
16              not made.
17
            Because the federal statute closely matches the Nevada statute, federal authorities
18
     construing the federal statute are persuasive for the construction of the state statute. The award
19
     must be final; review is not permissible of interim orders. See, e.g., Northland Truss Sys., Inc. v
20
                             808 F. Supp. 2d 1119, 1123 (S.D. Iowa 2011). Where a reasonable
21 Henning Constr. Co., LLC,
22 person would conclude that the arbitrator was partial to one party to the arbitration, "evident

23 partiality" within the meaning of section 10 will be found. More lite Constr. Corp. v New York
24 City Dist. Council Carpenters Ben. Funds, 748 F.2d 79, 84 (2d Cir. 1984). An arbitrator will be

25
     deemed to have exceeded his powers or imperfectly executed them where the record before him
26
     demonstrates unambiguous and undisputed mistakes of fact and the arbitrator relied on those
27

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     mistakes in making his award. Nat'l Post Office Mailhandlers v United States Postal Serv., 751
1
                  th
2 F.2d 834, 843 (6 Cir. 1985). The arbitrator's partiality, misconduct, and exceeding of his

3 powers, warrants vacatur of the arbitration award under federal law.

4           Further, under both NRS 38.241 and the Federal Arbitration Act, 9 U.S.C. 11, an arbitral
5
     award is subject to modification. NRS 38.242(1) sets the standard for modification if:
6
            ( a) There was an evident mathematical miscalculation or an evident mistake in
7           the description of a person, thing or property referred to in the award;

8           (b) The arbitrator has made an award on a claim not submitted to the arbitrator
            and the award may be corrected without affecting the merits of the decision upon
9
            the claims submitted; or
10
            (c) The award is imperfect in a matter of form not affecting the merits of the decision on
11          the claims submitted.

12 Under the Federal Arbitration Act, an award is also subject to modification:

13
            ·(a) Where there was an evident material miscalculation of figures or an evident material
14               mistake in the description of any person, thing, or property referred to in the award.

15          (b) Where the arbitrators have awarded upon a matter not submitted to them, unless it is
                matter not affecting the merits of the decision upon the matter submitted.
16
            (c) Where the award is imperfect in matter of form not affecting the merits of the
17
                controversy.
18
     9 U.S.C. 11 (2015). Should the Court opt not to vacate the award, it may modify and correct the
19
     award so as to effect the intent thereof and promote justice between the parties.
20

21          In performing its review function, this Court is required to review the necessary transcript

22 and exhibits. Graber v. Comstock Bank, 111 Nev. at 1429, 905 P.2d at 1117. Plaintiffs did not

23 submit such to the Court and, for that reason alone, the motion should be denied.
24 Notwithstanding that failure, the motion should be denied on the merits as the interim arbitration

25
     award is not subject to confirmation.
26
27

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        IV.      Analysis
1

2             Plaintiffs' motion fails both procedurally and substantively. Plaintiffs chose the wrong

3 court and improperly submitted an interim, rather than final, award. Substantively, the Interim

4 Arbitration Award is so manifestly and thoroughly rife with errors, omissions, disregard of
5 applicable California law, and evident bias that it would be a miscarriage of justice to enforce it.

6
     Rather, to the extent applicable, the Court should deny the motion and/or vacate it in its entirety
7
     or remand it for rehearing before a new arbitration panel.
8
        A. Plaintiffs have Violated the Employment Agreement by Bringing the Enforcement
9
           Action in Nevada
10
              At the outset, it bears mention that the arbitration arose under the employment agreement
11
     between Randazza and Excelsior. Exhibit A at§§ 8 & 9. The arbitration was permitted to be
12
     conducted in Las Vegas, Nevada, by Section 8(F) of the employment agreement. However, an
13
     entirely separate section of the employment agreement controls construction thereof and
14
15 enforcement (confirmation) of an arbitration award. Specifically, Section 9(E) states, in relevant

16 part: "Any action to enforce an arbitrator's award will be venued [sic] in San Diego County,

17 California, unless otherwise agreed to by the parties." Defendant has not consented to venue in

18
     Clark County, Nevada, nor has he otherwise waived the requirements of Section 9(E). A freely
19
     negotiated forum selection clause is enforceable where it is just and reasonable. Tandy
20
     Computer Leasing, Div. of Tandy Elecs. v. Terina's Pizza, 105 Nev. 841, 844, 784 P.2d 7, 8
21
     (1989). A party seeking to set aside a fonun selection clause must make a "strong showing" that
22
23 the relief is warranted. Tuxedo Int'! Inc. v. Rosenberg, 127 Nev._,                    251 P.3d 690,699 (2011)

24 (quoting Tandy at 844). Plaintiffs have failed to make any showing, let alone a strong showing.
25 It is undisputed that the employment agreement was fully and freely negotiated, and given the

26
     geographic fluidity of the parties, it remains just and reasonable to enforce the agreement
27

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     requiring venue in San Diego. Without waiver of the argument that it is premature to litigate this
 1

2 matter, Randazza is in the process of filing an action in San Diego to vacate the interim
3 arbitration award. Thus, Plaintiffs' motion to confirm the arbitration award must be denied.

4 However, assuming, arguendo, that this is a proper jurisdiction, confirmation is not warranted
5
     and the interim awards are subject to vacatur.
6
         B. The Interim Arbitration Award Is Not Final, Thus Plaintiffs' Motion to Confirm the
7           Award Should Be Denied

 8          Notwithstanding the improper venue, Plaintiffs state, without support, that the Interim
9
     Arbitration Award qualifies as an arbitral award subject to confirmation under NRS 38.236, NRS
10
     38.239 and Section 9 of the Federal Arbitration Act, 9 U.S.C. 9.6 Pursuant to NRS 38.222(2)(a),
11
     an "arbitrator may issue ... orders for provisional remedies including interim awards, as the
12
     arbitrator finds necessary to protect the effectiveness of the arbitral proceeding and to promote
13
14 the fair and expeditious resolution of the controversy, to the same extent and under the same

15 conditions as if the controversy were the subject of a civil action .... " By definition, a

16 provisional "interim award" is not a final award. Pursuant to NRS 38.330(4), an "award" must

17
     be made within 30 days after the conclusion of arbitration, demonstrating that the term, "award"
18
     as presented in NRS chapter 38 refers to a final arbitration award following the arbitration - as
19
     opposed to a provisional "interim award" pending the final resolution of the arbitration.
20

21

22
   6
     Obviously, both Nevada and Federal law cannot apply to this action. If the federal statute
23 applies, it would preempt the state statute. See Southland Corp. Keating, 465 U.S. 1 (1984). Th

24 federal statute applies only to "maritime transaction or a contract evidencing a transaction
   involving commerce." 9 U.S.C. § 2 (1976). This is obviously not a maritime transaction, so
25 unless it is "a contract evidencing a transaction involving commerce," the federal statute has no
   direct application here. We have cited to federal law as persuasive, not controlling.
26

27

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            NRS 38.239 only permits a party to seek confirmation of a final "award" after the party
 1

2 "receives notice of an award." This language indicates that the Nevada Legislature intended that
 3 an award must be final before a party seeks to confirm it with the district court. Thus, Plaintiffs'

4 motion to confirm the Interim Arbitration Award is premature and should be denied. Similarly,
 5 the Interim Arbitration Award would not be subject to confirmation under the Federal

 6
     Arbitration Act, because it does not dispose of a self-contained issue, such as temporary
 7
     equitable relief. Pac. Reinsurance Mgmt. Corp. v. Ohio Reinsurance Corp., 935 F.2d 1019,
 8
     1022 (9th Cir. 1991). Absent finality, Plaintiffs' motion must be denied.
 9

10      C. The Arbitrator Made Gross Factual and Legal Errors

11          The Arbitrator made numerous findings and determinations that are factually and legally

12 misplaced, so much so that he failed to execute his duties in manifest disregard of the facts and
13
     the law, exceeding his powers.
14
             1. The Arbitrator Made Improper Factual Findings
15
            Throughout the Interim Arbitration Award, the Arbitrator made numerous findings of
16
     fact. Many of these findings are wholly separated from the evidence and demonstrate the
17
18 Arbitrator's failure to perform. Two of them are of particular note: deeming Randazza to have

19 resigned and determining that Randazza was seeking personal remuneration in a settlement

20 negotiation.

21
                    a. Randazza Did Not Resign
22
            The Arbitrator erroneously found that Randazza's August 29, 2012, e-mail constituted a
23
     resignation. Exhibit J. As set forth above, on August 29, 2012, Randazza stated to Gibson that it
24

25 seemed appropriate that Randazza withdraw as Liberty's counsel. Id. Although there is no
26 language about separation of employment with Excelsior, Excelsior treated it as a letter of

27

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     resignation. As documented in Exhibit J, immediately upon learning that Plaintiffs construed the
 1

2 e-mail as a resignation, Randazza disputed that characterization.                   Id.; Exhibit G at 206-207.

3            "A resignation is in the nature of a notice of the termination of a contract of employment

4 and is contractual in its nature. It is ineffectual without the intent of the incumbent to sever the
 5
     relationship of employer and employee." Sherman v. Board of Trustees, 9 Cal. App. 2d 262,
 6
     266, 49 P.2d 350,352, 1935 Cal. App. LEXIS 1299, *6 (Cal. App. 1935). There is no evidence
 7
     that Randazza had the intent to sever the employment relationship.                 Several reasons demonstrate
 8
     it was not a resignation. First, and most telling, if Randazza intended to resign, he would not
 9
10 have disputed t!iat characterization of his e-mail immediately. Instead, it is clear that it was

11 disingenuously interpreted as a resignation, with Excelsior having already retained its

12 employment counsel at Littler. Excelsior intended to tenninate Randazza and seized upon thee-

13                                                                  7
     mail in order to pretextually treat it as a resignation.           Upon learning of their incorrect
14
     interpretation of the e-mail, a rational employer would have required Randazza to work.
15
     Excelsior took no steps to enable Randazza to perform his work on August 30, 2012, the next
16
     day. It treated him as separated, not properly pursuant to a voluntary resignation.                Such
17
18 constitutes an involuntary termination.

19           Second, as set forth above, on August 21, 2012, Randazza loaned Liberty $25,000 of his

2 0 own funds at the behest of his employer, Excelsior. Exhibit G at 832:25-833:15; Exhibit Y.

21
     Plaintiffs attempted to suggest that Randazza intended to quit in the weeks leading up to August
22
     29. A quitting employee would not lightly part with such a sum.
23

24

25
    As general counsel, Randazza would have been involved in the hiring process for outside
     7

26 counsel, were Littler on a standard retainer. Instead, it appears Littler was specifically hired
   relative to the termination of Randazza.
27

                                                           - 20 -
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         Third, the Arbitrator improperly considered that the transfer of client files to his firm's cloud
 1
                                                                                to resign. Instead,
2 storage, and then erasing those on Excelsior' s hardware, evidenced an intent

3 Randazza had prudently hoped for the best, but planned for the worst. The Arbitrator

4 misconstrued the protective measures of wiping personal and Randazza Legal Group privileged
5
     information as an intent to quit; to the contrary, Randazza expected to be fired and was required
6
     to ensure that the law firm's files remained confidential, and he would not have been able to do
7
     so after termination. It is a miscarriage of justice to penalize Randazza for following his ethical
 8
     duties.
 9

10                   b.      There Was No "Bribe"

11       The arbitrator grounded his conclusions that Randazza breached fiduciary duties and

12 committed malpractice on Randazza's alleged negotiation for a $75,000 "bribe." As set forth

13
     above, in prior dealings with an opposing attorney, Valentin Gurvits, Randazza had been
14
     presented with offers that, following the settlement, he would be retained by the opposing side.
15
     This would create a conflict of interest for Randazza should another party seek to engage him to
16
     pursue a similar claim against Gurvits' client. Randazza testified that he participated in these
17
18 conversations as a bluff, to increase available settlement funds. Exhibit G at 242:16-243:2.

19 Randazza testified that he never intended to individually profit. Id. at 173:1-22. No evidence
20 was prese:ited to the contrary. 8 Neither was there any evidence that Randazza ultimately

21

22   8
      Randazza did express a concern that delivering the earmarked $75,000 to Liberty might
     constitute improper fee sharing under Nevada Rule of Professional Conduct 5.4, and he intended
23   to adjust his employment bonus and firm's bill commensurately to avoid impropriety. Exhibit G
24   at 421:1-15. Typically, an attorney's fee is the property of the client. Evans v. Jeff D., 475 U.S.
     717, 731 (1986). Here, however, it was to be characterized as a legal fee to Randazza Legal
25   Group for the representation of Oron, not an attorneys' fee award. However, Randazza
     ultimately agreed that he would figure out a way to ensure the earmark would be remitted to
26   Liberty as part of the global settlement fund. See E-mail from Randazza to Gibson dated August
     16, 2012, attached as Exhibit Z.
27

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                                                        9
     intended to consummate such a negotiation.             Randazza had never previously consummated such
 1

2 a deal, despite it then being part of the negotiations as well. Exhibit G at 397:7-10

 3          Prior practice bears this out. Following a settlement between Liberty and TNAFlix, an

4 infringer represented by Attorney Gurvits, Randazza continued the pretense of negotiating to
 5
     represent TNAFlix. Id. at 377:20-25. Having kept up the pretense, Randazza was all the more
 6
     credible in his negotiations with Attorney Gurvits in the Oron matter. The Arbitrator effectively
 7
     agreed that Randazza never intended to obtain the actual $75,000 for himself against the interests
 8
     of Liberty. He concluded, correctly, that Randazza and Gurvits were lying to each other.
 9
1o Exhibit D at 7, n. 4. Yet, the Arbitrator did not even consider how these tactics benefitted

11 Plaintiffs. Instead, as will be discussed below, he found that the "bribe" caused $275,000 in

12 damages after Oron.com made post-termination claims for breach of the settlement agreement,

13
     none of which claims involved the alleged bribe. The contradictory findings that Randazza both
14
     was and was not negotiating for a $75,000 bribe demonstrates the lack of any factual foundation
15
     for the Arbitrator's interim award.
16
            As Randazza neither resigned nor acted against Plaintiffs' interests, each of the portions
17
18 of the interim award are not only legally wrong, but factually misplaced. Thus, the award cannot

19 be confirmed.

20           2. The Arbitrator Made Improper Legal Determinations
21
            In the Interim Arbitration Award, the Arbitrator applied the incorrect law in several
22
     instances and made numerous improper legal conclusions, violating his duties as arbitrator and
23

24

25   The only expert as to California professional responsibility, Attorney Ellen Peck, testified that
     9


   this was not improper. See Expert rebuttal report of Ellen Peck at 4-10, attached as Exhibit AA;
26 Exhibit G at 1244:9-1245:6. This was also not improper in Nevada. See Expert rebuttal report
   of Joseph Garin at 17, attached as Exhibit BB.
27

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     rendering the arbitration award unenforceable. With few exceptions, the legal conclusions as to
 1

2 both Randazza's claim and Plaintiffs' counterclaims are erroneous and violate public policy in

3 manifest disregard of the law. For general background of the legal issues presented in_the

4 arbitration, Defendant attaches his Opening Post-Hearing Brief, at Exhibit K. The Arbitrator
 5
     improperly ruled against Randazza on his claims against Plaintiffs as well as on their claims
 6
     against him.
 7
                    a. Randazza Should Have Prevailed On His Claims
 8
            Randazza brought eight claims against Plaintiffs: 1) reimbursement of expenses under
 9
10 Cal. Labor Code, sec. 2802; 2) unpaid wages and vacation time under Cal. Labor Code, sec. 201-

11 203; 3) unpaid wages, expenses, and vacation time under NRS 608.050; 4) breach of contract; 5)

12 wrongful termination in violation of public policy; 6) hostile work environment; 7) retaliation;

13
     and 8) declaration of alter ego. In the Interim Arbitration Award, the Arbitrator ruled that
14
     Randazza "shall take nothing by any of his claims." Exhibit D at 23. This ruling cannot be
15
     confirmed.
16
                          i.        Randazza Is Entitled To Reimbursement Under California Law
17

18          As to claim 1, Randazza sought reimbursement of the $25,000 in litigation expenses he

19 advanced in the Oran.com matter pursuant to Cal. Labor Code, Section 2802. See Amended

20 Arbitration Claims of Marc J. Randazza at 16-17, attached as Exhibit L. This Section states,

21
     "[a]n employer shall indemnify his or her employee for all necessary expenditures or losses
22
     incurred by the employee in direct consequence of the discharge of his or her duties, or of his or
23
     her obedience to the directions of the employer .... " Cal. Labor Code § 2802(a) (2015). The
24
                                                                    apply in Nevada, and b) was not
25 Arbitrator denied the claim, stating that the statute a) did not
26 incorporated into the contract. Exhibit D at 11-12. Although the Arbitrator denied this claim, he

27

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     also permitted Randazza to offset the $25,000 against monies awarded. Id. at 22. The Arbitrator
 1

2 provided no justification for permitting this offset, which could only be within his power if
                                                perhaps, claim 3-for unpaid_expenses. 10 Thus, at a
3 Randazza actually prevailed on this_claim----0r,

4 minimum, the award must be modified to find Randazza a prevailing party, who may seek
 5 attorney fees.
6
            In making his erroneous legal conclusion, the Arbitrator ignored the employment
7
     agreement and his duties to interpret that agreement. The Arbitrator found that Cal. Labor Code,
 8
     Section 2802 does not apply extraterritorially, citing Sullivan v. Oracle Corp., 51 Cal 4 th 1191
 9
10 (2011), and Wright v. Adventures Rolling Cross Country, Inc., 2012 U.S. Dist. LEXIS 104378

11 (N.D. Cal. 2012). Exhibit D at 12, n. 9. First, the California Supreme Court in Sullivan

12 expressly noted that it was not addressing the question of whether such law applied

13
     extraterritorially. 51 Cal. 4 th at 1201. The Wright Court noted a presumption against
14
     extraterritoriality, finding the labor code did not apply where there was no choice of law
15
     provision. Here, there was a choice of law provision and it explicitly chose California law, with
16
     one key exception: it is "without regard to conflict of laws." Exhibit A at § 9(E). 11 The
17
18 Arbitrator misread both cases and the employment agreement. Notwithstanding any presumption

19 against extraterritoriality, the parties here agreed California law should apply extraterritorially.

20

21
     None of Randazza's December 16, 2013, affirmative defenses raised the entitlement to an
     10

22 offset, so it cannot be argued that the Arbitrator permitted the offset on that basis. See Marc J.
   Randazza' s Affirmative Defenses to Counterclaims of Excelsior Media Corporation, attached as
23 Exhibit K. In addition, the $25,000 was loaned to Liberty, yet the offset was awarded relative to

24 Excelsior' s counterclaims, further indicating that the Arbitrator deemed them alter egos of each
   other.
25
   11
      This standard language means that California law regarding conflicts oflaws would not be
26 used to apply some other state's law on a theory that the other state had a superior interest in the
   controversy, emphasizing that only California law would apply.
27

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            Compounding his error, the Arbitrator stated that the choice oflaw provision only
 1
                                                                                              th
2 governed contract claims, not statutory claims, citing Narayan v. EGL, Inc., 616 F.3d 895 (9
3 Cir.-2010}-Exhibit D-12 and n.-10 .- The-Arbitrator misread-Narayan. More accurately, the----

4 Ninth Circuit stated, "While the contracts will likely be used as evidence to prove or disprove the
 5
     statutory claims, the claims do not arise out of the contract, involve the interpretation of any
 6
     contract terms, or otherwise require there to be a contract." Narayan v. EGL, Inc., 616 F.3d at
7
     899. What Narayan does not say is that parties are precluded from ensuring that all of the
 8
     benefits of California statutory law could not be incorporated into a contract. See Selcke v. New
 9
IO England Ins. Co., 995 F.2d 688, 690 (7th Cir. 1993) ("The law could require contracting parties

11 to specify every right and duty that they wanted to make legally enforceable, but then contracts

12 would be very long. An economizing measure is for the law to create, whether by statute or

13
     common law, standard, 'off the rack' terms that parties can vary if they want but that govern
14
     otherwise, eliminating the need for parties to negotiate them expressly in every contract."). That
15
     is, though a Section 2802 claim does not rest on contractual provisions, parties are free to
16
     incorporate the law into their agreements. Here, the parties to the employment agreement
17
18 incorporated the entire corpus of California labor law into the contract.

19          It is further notable that Section 2802 falls under Division 3, Chapter 2 of the California
20 Labor Code, which, at Section 2750, begins by setting forth the identity of employer and

21
     employee as being those who are parties to a contract of employment. Thus, by definition,
22
     Section 2802, which must be read into all California contracts of employment, governs the
23
     instant contract where the parties chose California law to apply. The Arbitrator having wholly
24
                                                                                   is expressly
25 misapprehended the law, the Interim Arbitration Award must be vacated. Randazza
26 entitled to reimbursement of the $25,000 and is a prevailing party.

27

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                         ii.        Randazza Is Owed Unpaid Wages Under California Law
 1

2           In Count II of his Amended Arbitration Claim, Randazza sought unpaid wages and

3- bonuseS-under California Labor Code, Sections 201-203. Exhibit Lat 18-21. These Sections

4 require a discharging employer to pay the wages earned and unpaid of a discharged employee
 5
     immediately at the time of discharge. Cal. Labor Code§§ 201-203 (2015). Here, Randazza
 6
     sought a day's pay of $1,014.20, as he was only paid for four days from his final week, and an
 7
     additional $2,281.95, representing an unpaid 5% wage increase from July 1 to August 30, 2012,
 8
     required by the contract. Id.; Exhibit A at §§ 3(A)-(B). Randazza also sought certain non-
 9
1o discretionary bonuses, namely 25% of each of five settlements, in the amount of at least

11 $190,779.35. Exhibit Lat 19-21; Exhibit A at § 3(C). 12 Additionally, Randazza sought the

12 penalty of his daily wage ($1,014) per day per Cal. Labor Code. sec. 2013, for the first thirty

13
     days during which Excelsior failed to pay his final wages per California Labor Code Section 203,
14
     which states that if an employedr fails to pay wages of a discharged employee, "the wages of the
15
     employee shall continue as a penalty from the due date thereof at the same rate until paid or until
16
     an action therefor is commenced; but the wages shall not continue for more than 30 days."
17
18 Finally, treble damages of at least $564,130 were sought per Cal. Labor Code sec. 206(b).

19 Exhibit L at 21.

20

21

22

23

24
     It is further notable that there was no dispute that Randazza was generally entitled to these 25%
     12


25 bonuses for settlements. Yet, in practice, the settlements were on behalf of Liberty, not
   Excelsior, though the contract itself only speaks to settlements paid to Excelsior. This further
26 evidences that Liberty and Excelsior are alter egos of each other.

27

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            Once more, the Arbitrator incorrectly found that California law did not apply. Exhibit D
 1

2 at 11-12. For the same mistaken reasons as with the first claim, the Arbitrator failed to

3 appreciate that California law is made part of the contract. 13

4           Further, the Arbitrator otherwise erroneously found that Randazza was properly
 5
     compensated. Id at 12 ("In the event [sic], Mr. Randazza was properly compensated for all
6
     services as to which he has asserted statutory and contractual claims"). In Footnote 11, the
7
     Arbitrator stated that "claimed compensation raises were discretionary." Id. at n. 12. However,
 8
     the Arbitrator undertook no examination ofExcelsior's failure to abide the procedure by which it
 9
1o could avoid the raise. The explicit terms of the employment agreement make the raise

11 mandatory unless there is an executed memorandum of understanding.                     Exhibit A at§ 3(B). The

12 parties never executed a memorandum of understanding and Plaintiffs failed to present any
13
     evidence to the contrary. Thus, the Arbitrator had no basis to deny Randazza his raise.
14
            In a similar failure, the Arbitrator undertook no examination of what bonuses were owed
15
     for what settlements and whether they were paid. In fact, he did not even deign to decide how
16
     bonuses were to be calculated, as the parties disputed whether they were to be paid on net or
17
18 gross settlements. Exhibit D at 12, n. 11 ("Mr. Randazza's bonuses were to be based on net and

19 gross amounts") (emphasis added); Exhibit G at31:24-34:9. Randazza claimed 25% of

20 settlements and fee awards with Oron, Excubitor USA, and other amounts procured by Plaintiffs

21
     while Randazza was employed. Exhibit Lat 19-20; Exhibit A at§ 3(C). The employment
22
     agreement entitled Randazza to these fees and the Arbitrator had no option but to award them
23
     once it was established that the settlement funds existed. Instead, in dismissive fashion, the
24

25

26   13With respect to these claims, California Labor Code, Section 200(b) governs all work subject
     to an agreement between employers and employers.
27

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      Arbitrator states they were otherwise subject to disgorgement. Exhibit D at 12, n. 11. Yet, even
 1

 2 in his disgorgement order, the Arbitrator paid no attention to any of these particular bonuses or

 3 unpaid salary claims. Id at 24. 14 Moreover, as more fully set forth below, disgorgement of

4 earned wages is improper. And, as Randazza did not resign, he is otherwise owed, under statute,
 5 the full week's salary and statutory penalties.
 6
                          111.       Randazza Is Owed Unpaid Wages Under Nevada Law
 7
             In Count III of his Amended Arbitration Claim, Randazza sought to enforce his rights to
 8
      the unpaid day, his 5% raise, and the nondiscretionary bonuses 15 , pursuant to NRS 608.050, plus
 9
10 statutory penalties. Exhibit Lat 21-23. The Arbitrator gave short shrift to this claim, stating that

11 it "fails as a matter of law, because there is no private right of action for enforcement of that

12 statute. It is therefore not necessary to decide whether the [sic] a claim has been stated under

13
      that statute." Exhibit D at 12. The Arbitrator made a fundamental error oflaw in this finding,
14
      without having provided any basis in law. The Arbitrator undertook no analysis of the private
15
      right of action. No Nevada state court has found a private right of action wanting. Presumably,
16

17

18    14
        In the disgorgement order, the Arbitrator states "Claimant shall pay Respondent Excelsior the
      amount of$197,000.00-as        and for disgorgement of an appropriate amount of Claimant's
19
      employment compensation (including salary and bonuses) paid under his employment
20    agreement." Id. at 24. The disgorgement figure lacks any form of calculation, yet appears
      curiously akin to Randazza's claim for unpaid bonuses, with one number transposed (the "7" in
21    the hundreds column moved to the thousands). Assuming that the Arbitrator's reference in
      Footnote 11 to disgorgement correlates with Section 3 of the award, it appears that the Arbitrator
22    is not requiring Randazza to write a check for $197,000, but rather that his claim for unpaid
      salary and bonuses of approximately that amount is forfeit. This may be the likely interpretation,
23
      as it is the only portion of the monetary award to not include interest.
24
     Excelsior argued at the Arbitration that the bonuses are not wages within the meaning ofNRS
      15

25 608.050, citing to NRS 608.012. However, NRS 608.012 distinguishes commissions from other
   forms of bonuses and deems them as part of the wage. Randazza' s bonus was akin to a
26 commission, selling a release of claims to an infringer for value, and thus is cognizable under the
   statute.
27

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     the Arbitrator relied upon Plaintiffs' citation to McDonagh v. Harrah's Las Vegas, Inc., 2014
 1

2 U.S. Dist. LEXIS 82290, *9, 2014 WL 2742874 (D. Nev. June 17, 2014), in its post-arbitration

3 brief. However, such citation was misplaced; the Ninth Circuit found such a claim cognizable

4 less than one year prior. Rivera v. Peri & Sons Farms, Inc., 735 F.3d 892, 901 (9th Cir. 2013);
 5
     Fetrow-Fix v. Harrah's Entm't, Inc., 2010 U.S. Dist. LEXIS 125625, *5 (D. Nev. Nov.16, 2010)
6
     (finding that the plaintiffs stated a valid claim under NRS 608.050).
7
            The McDonagh judge did not perform a private right of action analysis. Instead, tracing
 8
     through the cited case law, the McDonagh decision ultimately rests on the analysis in Baldonado
 9
10 v. Wynn Las Vegas, LLC, 124 Nev. 951,960, 194 P.3d 96, 102 (2008), relative to NRS 608.160.

11 In Baldonado, the Nevada Supreme Court found no private right of action where "the statutory

12 scheme require[ ed] the Labor Commissioner to enforce the labor statutes and" there was "the

13
     availability of an adequate administrative remedy for those statutes' violations." 124 Nev. at
14
     960. The Baldonado_ court reached this stage of the analysis after first determining that there
15
     was no express private right of action and the legislative history was silent as to the intent to
16
     create a private remedy. Id. at 958-960. Although NRS 608.160 is silent as to enforcement,
17
18 NRS 608.050 is not, and the Baldonado analysis is misplaced. Specifically, NRS 608.050(2)

19 explicitly grants an employee the right to record a lien against the employer's property and
20 foreclose thereon, in accordance with the provisions ofNRS 108.221 to 108.246. Of note, NRS

21
     108.238, incorporated by reference into NRS 608.050(2), specifically permits a civil action to
22
     recover the debt made subject of the lien, i.e. a private right of action. Similarly, NRS 108.239
23
     entitles the claimant to, in a private civil action, enforce and foreclose the lien granted by NRS
24

25 608.050. Thus, unlike other claims in Chapter 608, claims under NRS 608.050 contain an
26 express right of action and it is otherwise unreasonable to find no private right where the

27

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      statutory scheme permits the recording of and foreclosure on a lien for the debt created under
 1

2 that statute. Randazza is entitled, as argued at arbitration, to a day's pay, vested bonuses, the 5%

3 raise, and statutory penalties. Thus, the Interim Arbitration Award should be vacated and

4 remanded to a new arbitrator.
 5
                          IV.                                                                                         _
                                                                                                        _______________
                                     _R~a_n~d=az=z=a'--'I=s"""E=n=t=it=le=d'-T"'""o"'---"U=n=p'""a=id"'--=S~e-'-v=er=a=n=
 6
             In his fourth claim, Randazza made claim for breach of contract relative to the
 7
      aforementioned bonuses as well as for unpaid severance. Exhibit L at 23-24. Pursuant to
 8
      Section 7(B) of the employment agreement, Randazza was entitled to twelve weeks of salary as a
 9
1o severance if terminated during his fourth year of employment. Exhibit A. This severance, in the

11 amount of $60,852, was not paid. There is no dispute he was not paid this amount nor the

12 claimed bonuses.

13
             First, the Arbitrator erroneously found that Randazza resigned, disqualifying him from
14
      the severance payment. As set forth in detail above, the facts demonstrate that Randazza did not
15
      resign nor did he have any intent to resign. Excelsior' s choice to deem the withdrawal of
16
      representing Liberty as a resignation had no basis in fact and to the contrary was a bad faith
17
18 action in an effort to avoid paying Randazza the twelve weeks of severance it owed him. It is

19 nonsensical for the Arbitrator to simultaneously determine that Randazza was so greedy as to

20 divert $75,000 to himself while he was also readily willing to forego over $60,000 in severance.

21
             The Arbitrator also found that Randazza was miscalculating the amount of his claimed
22
      bonus, that it should have been based on Liberty's net recovery, subtracting litigation costs,
23
      rather than gross settlement. In correspondence between Excelsior and Randazza, it was
24
                                                            all risks." See E-mail correspondence
25 determined that Excelsior would "pay all expenses/assume

26 between Jason Gibson and Marc Randazza dated February 9, 2010, to February 15, 2010,

27

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      attached as Exhibit M. Were the bonus from net, Randazza would have been subsidizing
 1

2 expenses by 25% and assuming part of the risk. Only by ignoring the record before him could

3 the Arbitrator have found otherwise.

4            The Arbitrator further exceeded his authority when he also determined that Excelsior did
 5
      n9thave to make~''fil!Yfurther contractµal l)ayrnent" based on llamiazza's allegecl own material
6
      breach and the doctrine of unclean hands. Exhibit D at 13. As to Randazza's own alleged
 7
      breach, none occurred as discussed below. 16 Similarly, the doctrine of unclean hands "applies
 8
      only if the inequitable conduct occurred in a transaction directly related to the matter before the
 9
1o court and affects the equitable relationship between the litigants." Cal. Satellite Sys. v. Nichols,

11 170 Cal. App. 3d 56, 70 (Cal. App. 3d Dist. 1985). Here, unclean hands cannot apply where

12 Randazza was deprived of his severance solely because Excelsior spuriously chose to deem the

13
      separation a resignation, despite Randazza's contemporaneous disclaimer.
14
              Similarly, the Arbitrator undertook no analysis of what alleged misconduct should
15
      deprive him of what particular bonus due. For example, Randazza earned his bonus on the Oron
16
      matter in July 2012 at the time of settlement; yet, the Arbitrator made no finding that Randazza
17
18 committed any breach or malpractice at that time causing injury to Plaintiffs. Instead, the only

19 finding of breach or malpractice occurred a month later, after the court enforced the Oron

20 settlement and the bonus was earned. Thus, the Interim Arbitration Award should be vacated and

21
      remanded to a new arbitrator.
22
      I II
23

24
25

26 16 By the same token, however, Randazza should not be compelled to perform any post-
2 termination requirements based on Plaintiffs' material breach.
 7

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                           v.         Randazza Was Wrongfully Terminated
 1

2            In his fifth claim, Randazza claimed wrongful termination based upon his sexual

3 orientation and retaliation for a harassment complaint and for violating public policy, seeking to

4 force Randazza to ignore his duties as an attorney. Exhibit Lat 25-27. The Arbitrator gave no
5
      m~aningfalanalysis~to thi~s
                                GlaimLhaving errone~l!filY determined Randazza voluntarily resigned.
6
      Exhibit D at 5-6, 8-11.
7
             Randazza initially complained directly to Gibson about sexual harassment following the
 8
      pornography filmed in his office in April 2012. Exhibit G at 618 :2-18; Exhibit H at 6
9
10 (admonishing Randazza not to be "butt hurt" about the incident and refusing to apologize).

11 Following Gibson performing fellatio in Randazza's vehicle, no complaint was made due to the

12 chilling effect following the original complaint. Id These events targeted Randazza on the basis

13
      of his sexual orientation and protected activities. Cal. Gov. Code§ 12940(a) & (h) (2015)
14
      (precluding discrimination on the basis of sexual orientation and precluding retaliation);
15
      Complainant v. Foxx, EEOC Appeal No. 2012-24738-FAA-03                      (July 15, 2015) (finding
16
      discrimination on the basis of sexual orientation to constitute discrimination on the basis of sex
17
18 under Title VII). Excelsior's termination ofRandazza may properly have been deemed wrongful

19 termination on the basis of sexual orientation and complaints of harassment.

20            Subsequently, as noted above, due to the financial hardships of Excelsior, demands were
21
      put upon Randazza to distribute the Oron settlement funds. Exhibit I. As Randazza indicated,
22
      there were predicate acts he was required to undertake prior to distribution. Id. Such was
23
      consistent with his responsibilities under Nev.R.Prof. Conduct 3.4(c). When Excelsior
24
                                                        noted above as well as with the intent to
25 terminated him, it acted with the retaliatory motive
26 punish Randazza for obeying his ethical duties. Because the employment agreement is to be

27

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      interpreted under California law, Randazza properly had a claim for wrongful termination. See
 1
                                                                                  487, 504
2 General Dynamics Corp. v. Superior Court (Rose), 7 Cal 4th 1164, 1191, 876 P.2d

3 -(1994) (-fill in-house attorney discharged-for violating-the-ethics code can make a claim for

4 wrongful discharge). Thus, the matter needs to be vacated and remanded to a new arbitrator.
5                         vi.         Randazza Was Subjected To A Hostile Work Environment
6
             In the sixth claim, Randazza made a direct claim for sexual harassment and the creation
7
      of a hostile work environment. Exhibit L at 28-31. As noted above, such claims are actionable
 8
      under California law and, most recently, Title VII of the federal Civil Rights Act. Excelsior
 9
1o specifically targeted Randazza with gay pornography filmed on his desk and attempting to

11 compel him to watch male-on-male fellatio performed in his vehicle. Although Randazza

12 generally accepted such acts as part of the public-facing business of Excelsior, those incidents
13
      were attacks upon Randazza directly, with the express, and successful, intent of creating a hostile
14
      work environment.
15
              The Arbitrator found count 6 was not proved. Exhibit D at 6. In so ruling, the Arbitrator
16
      contradicted his own finding that he would not resolve the conflicting evidence of whether the
17
18 sexual acts occurred (gay and straight pornography filmed in his office, which included urination

19 on his desk, and fellatio occurring in the back seat of his car while driving) or whether Randazza

20 was bothered by these events. Compare Exhibit D at 5 with Exhibit D at 9. The Arbitrator had

21
      the evidence before him that these acts occurred and that they caused Randazza emotional
22
      distress. However, it appears he could not bring himself to afford any satisfaction to Randazza,
23
      further evidencing his unmistakable bias. Such an award cannot be confirmed.
24

25 I I I

26

27

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                             vii.          Randazza Was Retaliated Against
 1

2               In Claim 7 ofris Amended Arbitration Claim, Randazza asserted that he was wrongfully

 3 retaliated against for his complaints of sexual harassment, as set forth abo¥e. Exhibit Lat 32-34.

4 As noted above, Randazza complained of the harassment to Gibson on April 23, 2012, who
 5
     C   refused to a~ologize and told him not to be "butt hurt." Sllbsequently, Gibson targeted Randazza
6
         with the vehicular fellatio incident, ultimately culminating in Gibson seizing upon the August 29
 7
         email to pretend Randazza resigned, effectively terminating him. Such action is unlawful, as
 8
         noted, under California and federal law. Randazza suffered the loss of salary resulting from his
 9
1o retaliatory termination and suffered emotional distress. The Arbitrator gave no consideration to

11 this claim, making the patently erroneous finding that Randazza resigned. The Interim

12 Arbitration Award must, therefore, be vacated.
13
                             viii.          Plaintiffs are Alter Egos of Each Other
14
                In the eighth count, Randazza sought a declaration that the Plaintiffs are alter egos of
15
         each other. Exhibit Lat 34-38. Should the matter be vacated, Randazza is entitled to put forth
16
         evidence, which opportunity he was denied, to show that Gibson ignored corporate formalities
17
18 and treated Excelsior and Liberty as his own alter egos and as alter egos of each other. A

19 declaration is warranted to find them jointly and severally liable for the damages they caused

20 Randazza.

21
                        b.           The Interim Arbitration Award To Plaintiffs Is Improper
22
                Excelsior brought seven (7) counterclaims against Randazza: 1) breach of fiduciary duty;
23
         2) conversion; 3) intentional interference with contractual relations; 4) tortious breach of duty of
24
                                                                                          of contract.
25 good faith and fair dealing; 5) legal malpractice; 6) unjust enrichment; and 7) breach

26 The Interim Arbitration Award portion explicitly only addresses counterclaims 1, 2, 6 & 7.

27

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           Exhibit D at 23-25. However, the Arbitrator, in his analysis, found that Randazza violated
      1

     2 "fiduciary duty and other duties", implicating counts 4 & 5. Id at 18. The Arbitrator
                                                                                             did not

     3 addiess the thin:l claim. 17

     4               At the outset, in varying portions of the Interim Arbitration A ward, the Arbitrator gave
      5                                                        a.pgin others to "R~spo12dentExcelsior."
__                  relief in some instances to_'~ReSJLOll_de_nt(m"
       _,.WP_netl:lfy
     6
           Compare Id. at 23 ("Respondent(s)") with id at 24 ("Respondent Excelsior"), 25
     7
           ("Respondents," "Respondent," and "Respondents and Counterclaimants Excelsior Media Corp.
      8
           and Liberty Media Holdings, LLC"). The only respondent to have asserted counterclaims was
      9
     10 Excelsior. To the extent monies are awarded to any other respondent, including attorneys'

     11 fees, 18 such exceeded the Arbitrator's authority as claims by them were not put before him.

     12 Excelsior is not entitled, by any reasonable estimate, to any portion of the Interim Arbitration

     13
           Award as the Arbitrator manifestly disregarded the record and the law.
     14
                                   1.        Randazza Did Not Breach Fiduciary Duties
     15
                     The Arbitrator awarded Plaintiff(s) $275,000, plus prejudgment interest at 10%, for the
     16
           alleged breach of fiduciary duty arising from Randazza's negotiation for the additional $75,000
     17
     18 payment. Id. at 23. As discussed above, Randazza had obtained judicial enforcement of the

     19 $550,000 July 2012 settlement with Oran, and he was pursuing attorneys' fees and securing

     20 overseas assets of Oran. As part of an effort to resolve these outstanding issues, Gurvits

     21
           appeared for Oran and began negotiating a separate fee for Randazza to ensure that others might
     22
           not enjoy the fruits ofRandazza's         skill. Customarily, Randazza played along in order to expand
     23

     24    17
                The third counterclaim alleged Randazza caused other lawyers to cease working for Plaintiffs.
     25
           18
                It should be noted that if Liberty or Gibson could assert a claim for attorneys' fees, such would
     26 contradict the Arbitrator's alter-ego analysis, since by that finding only Excelsior would have a
        contract right to such fees.
     27

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      the settlement fund. The Arbitrator agreed that Randazza and Gurvits were bluffing. Exhibit D
 1
2 at 7 n.4 (stating that "except for admissions, anything which Mr. Randazza and his opposing

J- counsel in the Oron-litigation, Val Gurv:itz,----eommunicatedto each other lacked credibility ...

4 .").

 5                                                                            following its termination
_ __         There is no b_asisfor this interim award. Excelsior alleges th____fil.
 6
      of Randazza, Oron brought claims against Liberty and a settlement was reached in that matter.
 7
      The $275,000 figure represents the approximate reduction in the ultimate agreement between
 8
      Oron and Liberty, from the original $550,000 paid. First, as Liberty asserted no counterclaims
 9
1o and was adjudged not to be the alter ego of Excelsior, Excelsior lacked standing to make this

11 claim. Second, there is no causal connection, legal or factual, between the so-called "bribe" and

12 Liberty's decision to return $275,000 to Oron. Second, at no point in the Oron Arbitration

13
      Demand did it make mention of the negotiation over the $75,000 payment. Exhibit N. The
14
      Arbitrator completely neglected a legal causation analysis required for any claim of breach of
15
      fiduciary duty, breach of duty of good faith and fair dealing, breach of contract, or legal
16
      malpractice. See Shopoff & Cavallo LLP v. Hyon, 167 Cal. App. 4th 1489, 1508-09 (Cal. App.
17
18 1st Dist. 2008) (discussing elements of claims); Kane v. Sklar, 122 Cal. App. 2d 480, 482-483,

19 265 P.2d 29, 31 (Cal. App. 1954); Carlton v. Quint, 77 Cal. App. 4th 690, 699 (Cal. App. 2d

20 Dist. 2000). The Arbitrator recognized that "proximate cause" and "fact of damage" is a

21
      separate element of the claims. Exhibit D at 15. Less than one page later, in contravention of th
22
      causation element of any of these claims and in manifest disregard of the law, the Arbitrator
23
      expressly ruled that "violations of fiduciary duties do not require 'fact of harm' to be shown by a
24
                                                    at 15-16. As no reasonable construction of the
25 preponderance of the evidence or otherwise." Id.

26 evidence could tie the $75,000 negotiation to the reduced settlement, there was no harm to

27

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      Excelsior and no proximate causation. This is in addition to the absence of a breach where the
 1
                                                           not intending to consummate the so-
2 Arbitrator acknowledged that, as a bluffer, Randazza was

~     called "bribe." Absent breach, causation, andharm,-no award is justified. The Arbitrator failed

4 to perform his duties and this award must be vacated.
5
             The record is~deyoid of corroboratfon~that Liberty paid OrQn $275,000.J]J.rther
6
      undermining the claim of damages. In fact, Plaintiffs' failure to corroborate is in violation of the
7
      Arbitrator's own order. On August 15, 2013, Randazza requested production of "all
 8
      communications related to the settlement of the Oron Litigation." Following Plaintiffs' refusal
9
1o to produce the communications evidencing the alleged revised settlement between Liberty and

11 Oran.com, Randazza moved to compel. The Arbitrator granted the motion subject to

12 confidentiality considerations on March 31, 2014. Exhibit Oat 3-4. The Arbitrator confirmed
13
      Plaintiffs' obligation to produce them again on August 28, 2014. See, Exhibit Pat 1-
14
      2. Plaintiffs stipulated to an order on November 3, 2014, that they would produce them. Exhibit
15
      Q at 2. The Arbitrator again ordered production on January 16, 2015, of all e-mails from Oran's
16
      counsel. Exhibit R at 1-2. Despite these multiple orders, Plaintiffs never produced any such
17
18 corroborating evidence of a finalized agreement with Oran.com to resettle the case at $275,000,

19 the very measure of damages found by the Arbitrator. Such likely would have shown the true

20 cause for such reduction, if any, and that would certainly implicate whether Randazza' s alleged

21
      errors or omissions contributed to it in any meaningful way. Additionally, no corroborating
22
      evidence of any funds delivered to Oron or any meaningful compliance with the alleged
23
      agreement was introduced.
24

25            Even the Plaintiffs never argued that the $75,000 negotiation was the reason they

26 allegedly forfeited half of the $550,000 original settlement with Oron, tendering back $275,000.

27

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     Instead, they claimed that Randazza provided material assistance to a third party (Datatech
 1
                                                                                      10 of the
2 Enterprises, LLC) bringing a separate claim against Oron, in violation of paragraph

3 original settlement agreement. 19 This is exceptionally ironic. Thrnughoutthe litigation,-

4 Plaintiffs, through their expert Dennis Kennedy, contended that the negotiation of this so-called
 5
                               Qf Prof~ssional CondJ1ct5.6(b). Rule 5.6(b) 12rohibijsan attQrn~
     bribe viclat~d N~Yada E-11le
6
     from negotiating a settlement that restricts his right to practice. Yet, the very settlement
 7
     provision in paragraph 10, to the extent it precluded Randazza individually from facilitating the
 8
     representation of others, would have violated Rule 5.6(b) and would have been unenforceable as
 9
1o against public policy. Oron could not have legitimately claimed that Randazza was precluded

11 from assisting Datatech Enterprises and, thus, no malpractice or other breach could have been

l2 committed by Randazza by virtue of this assistance. Assuming, arguendo, that Liberty paid
13
     Oron the $275,000, 20 such was due to the malpractice of successor counsel in failing to contest
14
     Oron's claim pursuant to the interpretation of an unlawful contract term as applied. Randazza is
15
     not liable for the errors of his successors.
16

17             In addition, although Defendant contends that California law is generally applicable, the

18 Oron litigation occurred in Nevada and thus, to the extent Plaintiffs suffered harm, it was

19 occasioned by the resolution of a Nevada matter. The 10% interest rate awarded grossly
20 exceeds the rates permitted by NRS 99. 040( 1) or NRS 17.130(2). Thus, the Interim Arbitration

21
     Award cannot be confirmed.
22
     II I
23

24

25   19
          Paragraph 10 stated "Liberty will agree to dissuade others from bringing suit against Oron."
26   20
          As argued below, the payment lacks corroboration.
27

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                           11.        Randazza Was Not Unjustly Enriched
 1

2            The Arbitrator orders payment to Respondents based on an unjust enrichment theory.

] ExhibitD at 23r Itis ordered for two instances:-(1) legaLfeesof $55,000 paid to Marc J.

4 Randazza, P.A. d/b/a Randazza Legal Group as a result of the representation of an unrelated
 5
      iudiviclual,FJ!yn~~Hoehn, and (2) monies received by Marc J. Randazza, P.A., in the amountQf ... ···~·~~·-
6                                                                                        21
      $5,000, from James Grady, relative to expenses in the Oron litigation.                  First, as noted by the
7
      Arbitrator, these amounts were not paid to Randazza personally, but rather to his non-party law
 8
      firm. That alone renders the award improper, and subject to vacatur, as exceeding his powers.
 9
10 See Orion Shipping & Trading Co. v Eastern States Petroleum Corp., 312 F.2d 299,301 (2d Cir.

11 1963) ("an action for confirmation is not the proper time for a District Court to 'pierce the

12 corporate veil.'"), cert den 'd 3 73 U.S. 949, 83 S Ct 1679 (1963 ).
13
              Second, in order to establish a cause of action for unjust enrichment, Plaintiffs were
14
      required to establish: (1) that the defendant received money that was intended to be used for the
15
      benefit of the plaintiff, (2) that the money was not used for the benefit of the plaintiff, and (3)
16
      defendant has not given money to the plaintiff. Ghirardo v. Antonioli, 14 Cal. 4th 39, 51, 924
17
18 P .2d 996, 998 (Cal. 1996). Pursuant to his contract, Randazza was permitted to represent third-

19 parties through his non-party law firm. Exhibit A at§ 6(C).

20            Randazza successfully represented an individual named Wayne Hoehn against a compan
21
      called Righthaven, arising from Mr. Hoehn' s fair use of an article in the Las Vegas Review-
22
      Journal; Righthaven was found to lack standing. Righthaven LLC v. Hoehn, 716 F.3d 1166,
23
      1168 (9th Cir. 2013). Subsequently, on June 6, 2013, Randazza Legal Group was awarded
24

25
     The Arbitrator erroneously states the $60,000 figure is for the Hoehn representation, but then
      21

26 only awarded $60,000 for both instances. The Arbitrator earlier correctly identified the Hoehn
   amount as $55,000. Exhibit D at 18.
27

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      $55,000 "for its administrative expenses." Righthaven, LLC, v. Hoehn,. C.A. No. 2:11-cv-00050
 1

2 (D.Nev. Jun. 6, 2013). The Arbitrator made no evaluation of the basis on which that fee was
3 -awarded, neither was -fill)' record-made. The public record, howe_ver,shows thatof $34,Q4550

4 awarded for the Hoehn matter alone. Randazza's time represented but 15.02 hours over a six
 5
      msmth J;)eriod,totaling $6,773.50. See BJghthaven v. Hoehn, C.A. No. 2:11-cv-000~Q, Document
6
      32-3 (D.Nev. Jul. 5, 2011) (timesheet). The Hoehn distribution also included $3,815 earned by
 7
      Randazza Legal Group in the companion matter of Righthaven v. Leon, C.A. No. 2:10-cv-01627
 8
      (D.Nev. Jul. 5, 2011), none of which was based on Randazza's time (per ECF 42-3 May 3, 2011
 9
10 in that matter). Finally, it included the $29,848.35 incurred inRighthaven v. Wolf, C.a. No. 1:11-

11 cv-00830 (D.Colo.) of which Randazza's time was but 9.5 hours over a five month period (per

l2 ECF No. 59-3, Oct. 14, 2011). Thus, Randazza Legal Group received $55,000 for nearly
13
      $65,000 in bills, where Randazza spent less than 24 hours of his own time working on the matter,
14
      between January and October 2011. There was no evidence that Randazza, in working on
15
      average less than three hours per month in his personal time, did any of the work on the
16
                             time when he should have been working for Excelsior. He did not
17 Righthaven matters during
18 receive funds for the time intended for the benefit of Excelsior.

19           Moreover, the legal fees earned in the Hoehn matter were not for the benefit of Excelsior,
20 nor could they be. Were Randazza, through Marc J. Randazza, P.A., to deliver the legal fees to

21
      Excelsior, they would be in violation of California Rule of Professional Conduct 1-320 and
22
      Nevada Rule of Professional Conduct 5.4(a), prohibiting lawyers and firms from sharing fees
23
      with non-lawyers. Excelsior, as a for-profit corporation, does not meet the exception of Nevada
24
                                                                   which were misapprehended by
25 Rule 5.4(a)(4). As a matter of fact and a matter oflaw, both of
26 the Arbitrator, Excelsior is not entitled to the Hoehn fees. Thus, the Court cannot confirm the

27

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                  award of $55,000 as unjust enrichment.
            1

           2             The Arbitrator also awarded as unjust enrichment $5,000 received by Randazza Legal

       -- --3 GrnuP-from a Mr. James Grady:.-Exhibit D at-23-.-As found by the Arbitrator, Grady funded the

           4 Oron litigation in the amount of $5,000. Id. at 18. Plaintiffs offered no evidence, and thus the
            5
____        -1,   Arbitrator c~annoLhave                           not used for ExQ_elsior's benefit. Instead, the
                                      found. that thos~ funds we_r_e
            6
                  Arbitrator merely asserted that Randazza's statement lacked corroboration. Exhibit D at 19.
            7
                  Yet, as set forth above, at no time did the Arbitrator require Plaintiffs to corroborate that Oron
            8
                  was paid $275,000. Such a double standard cannot be condoned.
            9
                         Further, if Plaintiffs, over Defendant's objection, are permitted to introduce new evidence

           11 relating to the trust account and computer, Randazza should be permitted to supplement the

           12 record with documentation corroborating his disbursement of the $5,000 for the benefit of

           13
                  Liberty. Thus, there is no basis to confirm this portion of the award.
           14
                                      111.        Damages For Spoliation Or Conversion Are Not Warranted
           15
                          The Arbitrator awarded Plaintiff(s) $3,215.98 in expert fees incurred, and he reserved his
           16
                  decision on damages for spoliation and/or conversion pending further evidence of data
           17
           18 destruction. Exhibit D at 23-24. As noted above, this demonstrates the non-finality of the entire

           19 award, precluding confirmation. Notwithstanding the foregoing, there is no evidence of
           20 spoliation or conversion and the Arbitrator manifestly disregarded the law. In a conversion

           21
                  claim, a plaintiff must show (1) that the plaintiff owned and/ or had a right to possess an item of
           22
                  personal property, (2) the defendant intentionally interfered with the plaintiff's right to
           23
                  possession, including by destroying or refusing to return the property, (3) the plaintiff did not
           24
                                                         5) the defendant's conduct was a substantial factor in
           25 consent, (4) the plaintiff was harmed, and
           26 causing the harm. Plummer v. Day/Eisenberg, LLP, 184 Cal. App. 4th 3 8, 50, 108 Cal. Rptr. 3d

           27

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                          455, 464-465 (Cal. App. 4th Dist. 2010) (conversion requires an "act of dominion" over personal
                     1
                                    22
                    2 property).         Here, there is no dispute that Randazza, in his final days as an employee, removed

                    3 non-Excelsior materials and then securely erased data from his work-issued laptop. Having had

                    4 the benefit of over 100,000 documents produced and the delivery of all of its files from

                     5
-   ----   ------          andazza.~laintiffs_ identifiednot a single missing document OLcategoJy~_f QQ,ClUlltntL __
                    6
                          belonging to them. Their own experts even recovered 19,000 files transferred to the cloud
                     7
                          storage system. Exhibit G at 987:7-15. They only speculate, and the Arbitrator adopts, that
                     8
                          documents might have been taken. Exhibit D at 17. The Arbitrator knew that the identification
                     9

                    10 of potentially missing documents was crucial to this claim, yet he ignored his own prior ruling o

                    11 the subject. Exhibit Pat 1. Absent an evidentiary foundation, the Arbitrator failed to perform

                    12 his duties. Plaintiffs' expert fee was unnecessary, as their expert merely confirmed what

                    13
                          everyone knew: Randazza securely wiped the data and there was nothing he needed to retrieve
                    14
                          that was not otherwise given by Randazza to them freely. Further, as Randazza acknowledged,
                    15
                          keeping non-Excelsior materials on the laptop and iPhone, delivery of that data to Excelsior
                    16
                          could have violated Nevada Rule of Professional Conduct 1.6, as it could have resulted in the
                    17

                    18 revelation of confidential non-party client information. To condemn Randazza for abiding the

                    19 rules of professional conduct is manifest disregard of the law. Finally, the record is closed as to

                    20 all issues but attorneys' fees; no further examination or evidence is permissible under the

                    21
                          Arbitrator's scope.
                    22

                    23   Neither Nevada nor California recognize a cause of action for spoliation and Excelsior did not
                          22

                                                                                   v. Home Ins. Co., 118 Nev. 630,633,
                    24 make such a claim. Timber Tech Engineered Bldg. Prods.
                       55 P.3d 952, 954 (2002). To the extent the expense constitutes a sanction under JAMS
                    25 Employment Arbitration Rule 29, Randazza could not fairly have been said to not have complied
                       with his obligations under the Rules or the Arbitrator's order where arbitration had not yet been
                    26 initiated. See JAMS Employment Arbitration Rule 17(a) ( duty to exchange information only
                       accrues "after commencement of the Arbitration").
                    27

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            Moreover, the Arbitrator's ruling evidences a double-standard. In Footnote 8 of the
1
2 Interim Arbitration Award, the Arbitrator set forth that he excused the deletion of certain text

3 messages (the award erroneously calls them e-mails) by a Chaz Vorias. Exhibit D at 11, n. 8.

4 These text messages allegedly showed Randazza's assent to the April 2012 pornographic filming
5
                           at-258_:
            Qffi~--~ExhibiLG
     in_his__                    lJ-22-.~ALno             th(;:j~.pril23,2012_cQmpla._imto
                                            tLm_e_,_notafte_r
6
     Gibson or in August 2012 at the direction of counsel at Littler, did Excelsior cause Vorias to
7
     preserve those text messages. Id. at 963: 16-965: 10. Tue Arbitrator excused Excelsior' s failure
 8
     to ensure its agent preserved the alleged text message by shifting the blame to Vorias. Tue
9
1o failure of a company to preserve employee text messages constitutes spoliation. Small v. Univ.

11 Med. Ctr. of S. Nev., 2014 U.S. Dist. LEXIS 114406, *128 (D. Nev. Aug. 18, 2014). The irony

12 is that, unlike Vorias's destruction of text messages, Excelsior offered no evidence to suggest

13
     that Randazza destroyed documents, only, as he conceded, that he moved them to his firm's
14
     cloud storage. Tue Arbitrator's double standard cannot be condoned. Thus, there is no
15
     justifiable basis to confirm this portion of the interim award.
16
                          IV.        Disgorgement Of Wages Earned Is Impermissible
17

18           The Arcitrator orders Randazza to disgorge $197,000.00 of his earnings from his

19 employment with Excelsior. Exhibit D at 24. The Arbitrator states that it was for violations of
20 fiduciary duty in his capacity as an attorney regarding his performance in the TNAFlix and

21
     MegaUpload litigation, representation ofXVideos and/or XNXX, and "excessive, undisclosed,
22
     time" on other matters. Id. The disgorgement order is impermissible as a matter of law.
23
             Rather than consider California law, the Arbitrator decided to adopt the rationale of a
24
                                             997 S.W.2d 229, 237-238 (Tex. 1999). The Burrow
25 Texas Supreme Court case, Burrow v. Arce,
26 court relied on Proposed Restatement 3d of the Law Governing Lawyers, § 49 (Proposed Final

27

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     Draft No. 1, 1996), which stated "A lawyer engaging in clear and serious violation of duty to a
 1

2 client may be required to forfeit some or all of the lawyer's compensation for the matter." The
3 actual adopted Restatement provision appears at section 37 .. Reporter's Comment Eto

4 Restatement 3d of the Law Governing Lawyers,§ 37, specifically distinguishes in-house
 5
     counsel, noting "Io ]n nonforfeiture of the: salary of a Jawyer employee, see [casescj.!~gJ."
6
     Randazza was an employee, not outside counsel, rendering sec. 37 and Burrow entirely
7
     inapplicable. Such is consistent with the laws of California precluding disgorgement of wages,
 8
     discussed below.
 9

10          Additionally, in Burrow, the Texas Supreme Court determined that fee forfeiture may be

11 appropriate where a lawyer is engaged in "clear and serious violation of duty." 997 S.W. 2d at

12 241. The Arbitrator made no determination that Randazza's alleged violations were either clear

13
     or serious; even assuming a violation, the Arbitrator could not have found it clear or serious
14
     where undisputedly qualified experts disagreed that a violation even occurred under California or
15
     Nevada law. First, with respect to spending time on non-Excelsior or Liberty matters, the
16
     Arbitrator did not ground such in fiduciary duties, but rather attended to the contractual provisio
17
18 regarding outside work. Exhibit D at 24. Specifically, the contractual provision, Section 6(C),

19 required that Randazza's first duty of "temporal loyalty" lie with Excelsior. Exhibit A at§ 6(C).
20 In Footnote 16, the Arbitrator stated that "billed hours shown to be in excess of that permitted by

21
     that agreement." Exhibit D at 19. As to his "excessive, undisclosed, time", it appears that the
22
     Arbitrator made no findings as to how much time, if any, was taken away from Randazza' s
23
     responsibilities to Excelsior. Nothing in the record showed a failure of Randazza to meet
24

25 deadlines or any pre-termination concerns regarding time spent. The contract required Randazza
26 to use non-working hours, vacation days, and unpaid leave time to work on outside projects. The

27

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      Arbitrator made no finding that Randazza did not perform third-party work under these
 1

2 parameters. Although evidence was introduced ofRandazza's non-Excelsior/Liberty time,
3 Randazza testified that he worked long hoursr-Exhibit G at 63 2: 16-63 3 :7. At no poinLwas he

4 critiqued or disciplined for not spending enough time on Excelsior matters. Id. at 675:21-676:15.
5
      Thus. the Arbitrator lacked evidentiary foundation to suggest Randazza' s time on outside
6
      projects was excessive, requiring disgorgement.
7
             Second, with respect to concurrent representation of XVideos and/or XNXX, no evidence
 8
      was introduced of breach of fiduciary duty or that Excelsior suffered any harm. While working
 9
10 for Excelsior, Randazza's third-party clients included XVideos and XNXX, sites that might

11 facilitate the streaming of online videos. The evidence at the hearing indicated, at most, that

12 Randazza determined that they were not appropriate litigation targets. See Exhibit G at 734: 10-

13
      737:11; e-mail communication from Randazza dated September 6, 2011, attached as Exhibit S.
14
      At no point was any evidence introduced that Randazza's opinion was erroneous and, moreover,
15
      subsequent to Randazza's departure, Plaintiffs have not brought suit against them. Exhibit G at
16
      821: 12-17. The policies and choice Randazza instituted relative to XVideos and DMCA notices
17
18 have not changed, with new counsel implicitly ratifying them. Id. at 83 7: 15-83 8 :21. Instead, it

19 appears that the relationship was mutually beneficial, with Liberty's content having priority for

20 DMCA takedowns. Id. at 628:20-629:6.             With respect to the representation of XVHe0s and/or
21
      XNXX, 23 .the Arbitrator omitted any analysis oflegal causation. Similar to his analysis of post-
22
      termination breach of fiduciary duty, in which the Arbitrator found Excelsior had a right without
23
      a remedy, the absence oflegal causation bars a remedy. Thus, there is no factual basis for the
24

25
     As the Arbitrator did not actually make a finding as to whether Randazza represented XVideos,
      23

26 XNXX, or both, it is unknown how he determined that Randazza's representation of one or both
   of them at a particular time was adverse to Excelsior and a breach of fiduciary duty.
27

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     arbitrator to have concluded that the representation of:XVideos and XNXX violated any of
1

2 Randazza's fiduciary duties in any way that would warrant disgorgement.

3           Third, the Arbitrator found that Randazza' s representation of Libert-¥on matters-

4 involving TNAFlix and MegaUpload breached fiduciary duties. Exhibit D at 24. In negotiating
5
     -5cltlernen1s_withINAFlix aud MegaUpJQad,Ran_dazzawas offered so-called "bribes" to be
6
     conflicted out of future third-party representation, none of which was consummated. Randazza
7
     settled both of those matters for $50,000 and $600,000 respectively. Exhibit G at 731:17-732:3.
8
     In the MegaUpload matter, Randazza was offered a $5,000 "bribe." Id. at 749:17-750:6. In the
9
1o TNAFlix matter, negotiating with Attorney Gurvits, Randazza was offered $5,000 and made a

11 bluff demand of $30,000. E-mail from Randazza to Gurvits dated December 22, 2010, attached

12 as Exhibit T; e-mail correspondence between Randazza and Gurvits dated December 30, 2011 to

13
     January 11, 2011, attached as Exhibit U. None of these negotiations bore fruit. Plaintiffs' expert
14
     claimed that these negotiations violated the Nevada and California rules of professional conduct
15
     precluding restrictions on the right to practice. These rules address an attorney's obligations to
16
           at large, not a particular client, in order that any person can hire the services of any
17 society
18 attorney of their choosing. Excelsior is only permitted to recover on a claim for breach of

19 fiduciary duty where the fiduciary duty was owed specifically to Excelsior arising out of the
20 attorney-client relationship. Stanley v. Richmond, 35 Cal. App. 4th 1070, 1086-1087, 41 Cal.

21
     Rptr. 2d 768, 776 (Cal. App. 1st Dist. 1995). No evidence of harm resulting from either
22
     negotiation was introduced, and Liberty benefitted from the TNAFlix negotiation where
23
     Randazza subsequently appeared credible to Gurvits in the Oron litigation. Even absent harm,
24
                                                             duties to Excelsior or Liberty. Thus,
25 there is no evidence that Randazza breached his fiduciary
26 absent an actual breach of duty, causation, or harm, the Arbitrator had no basis in fact or law to

27

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      order disgorgement.
 1

2            Not only is Randazza not subject to penalty as he did not violate any fiduciary duties, the

3 supposed remedies of forfeiture .and disgorgement violate California law, Both Section 37 of the

4 Restatement and Burrow speak to forfeiture of the right to collect fees, rather than disgorgement
5                                                     where the attorney was require~dto disgor&h
      uf feescoJle_cte~d._Nocas_elawhas_.b_e_en_provid_ed
6
      the only precedent is a statement in dicta that disgorgement may be appropriate. See Rodriguez
 7
      v. Disner, 688 F.3d 645, 653 (9th Cir. 2012). Even in Burrow, no individual attorney was
 8
      required to return his or her salary.
 9

10            Moreover, the Ninth Circuit did not analyze California wage law on the question. None

11 of the cases address the salary of in-house counsel as a fee to be disgorged. None properly

12 could. California Labor Code, Section 221, states that "[i]t shall be unlawful for any employer to

13
      collect or receive from an employee any pa.ti of wages theretofore paid by said employer to said
14
      employee." Thus, even if outside counsel might be subject to a disgorgement order, in-house
15
      counsel, as an employee protected by the wage laws, is not. Randazza is entitled to retain his
16
      salary and bonuses previously paid under California law, and the Arbitrator's Interim Arbitration
17
18 Award is in manifest disregard of the law. For Excelsior to seek enforcement thereof would

19 constitute a new violation of those laws. Thus, the Interim Arbitration Award cannot be
20 confirmed.

21
              Finally, the Arbitrator did not consider any of the specific factors to determine the extent
22
      of forfeiture. \Vith the exception of the few matters at issue in the arbitration, Defendant's
23
      service to Excelsior has not been questioned. The Arbitrator gives no indication at how he
24
                                                                         with any of Plaintiffs'
25 arrived at the $197,000.00 figure and it does not appear to correlate
26 specific requests for disgorgement. Such analysis is required by Burrow:

27

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            It would be inequitable for an agent who had performed extensive services
 1
            faithfully to be denied all compensation for some slight, inadvertent misconduct
2           that left the principal unharmed, and the threat of so drastic a result would
            unnecessarily and perhaps detrimentally burden the agent's exercise of judgment in
3           conducting the principal's affairs . . . . In determining_whether and to what extent
            forfeiture is appropriate, relevant considerations include the gravity and timing of
4           the violation, its willfulness, its effect on the value of the lawyer's work for the
            client, any other threatened or actual harm to the client, and the adequacy of other
 5
            remedies.
6
     Burrow v. Arce, 997 S.W.2d 229,241 (Tex. 1999). For that reason alone, the Interim Arbitration
 7
     Award cannot be confirmed.
 8
            The Arbitrator impermissibly instituted punitive damages, even in the absence of
 9
10 liability. The Arbitrator specifically ordered disgorgement to act "as a deterrent and disincentive

11 for an attorney or other agent to breach of fiduciary duty." Exhibit D at 20, n. 18. The

12 disgorgement was thus not compensatory. Absent a showing of actual harm, there is no tort, thus

13
     punitive damages cannot be awarded. Jackson v. Johnson, 5 Cal. App. 4th 1350, 1354-55, 7
14
     Cal.Rptr.2d 482 (Cal. App. 2d Dist. 1992). Moreover, to the extent the duties arose
15
     independently of the contract, Plaintiffs were required to show, by clear and convincing
16
             oppression, fraud or malice. Cal. Civ. Code§ 3294(a) (2015). The Arbitrator made no
17 evidence,
18 such findings. California does not permit the disgorgement order where (a) there was no

19 precedent for attorney fee disgorgement; (b) there was no breach of fiduciary duty, causation, or
20 harm; (c) wage laws prohibit in-house counsel from disgorging earnings; and (d) there was no

21
     actual harm or oppression, fraud, or malice warranting such punitive damages. In sum, the
22
     disgorgement order was issued in manifest disregard of the facts and the law, in violation of the
23
     Arbitrator's duties.
24

25 I I I

26
27

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                             V.         Remittance Of Trust Funds Is Improper
1

2               As previously discussed, a non-party law firm, Marc J. Randazza P.A. d/b/a Randazza

3 Legal Group represented Liberty in litigation .. Funds were placed in the law firm's client-funds. -

4 trust account relative to expenses and recoveries in litigation. The Arbitrator orders Randazza to
5
                        certain funds held in this trust ace_ouutandpayl0% intereslthereon,
     _defar__er_t0_J>laintiffs
6
     specifically, "all Oron related funds 24 and, further, an additional $30,000 of non-Oron-related
7
     client funds." Exhibit D at 24-25. Such is improper for several reasons, in disregard of the law,
 8
     and in excess of the Arbitrator's authority.
9

10              As set forth in the disbursement breakdown, of the original $550,000.00 Oron settlement

11 received, Randazza was owed his 25% commission of $137,500.00, plus an additional

12 $25,000.00 for the loan. Exhibit I. As counsel, Randazza Legal Group was also required to

13
     disburse $31,800.00 in litigation costs to third parties. Id. Additionally, Liberty owed Randazza
14
     Legal Group $21,279.50 for the services of professionals other than Randazza in the Oron
15
     litigation. 25 Id. Finally, Liberty owed Randazza Legal Group $2,601.00 for non-Oron matters.
16
     Remittance of these funds is impermissible.
17

18              First, to the extent such funds represent wages owed to Randazza, as set forth above,

19 tender would be impermissible. Disgorgement of wages earned is impermissible under the law.
20 Second, also as noted, the funds are not in a personal trust account, but rather with the non-party

21
      law firm; the Arbitrator lacks the authority to issue such an order as there has been no proper
22
23
24    24
           Plaintiffs claim that it was $275,000.

25   Judge Navarro determined that the actual value ofRandazza Legal Group's services, including
      25

   Randazza's, was $131,797.50. Liberty Media Holdings, LLC v. FF Magnat Ltd., Case No. 2:12-
26 cv-01057 (D.Nev. Sept. 4, 2012). Subtracting out Randazza's labors, for which compensation is
   due under the employment contract, Randazza Legal Group is actually entitled to $81,433.98.
27

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      finding that the firm is Randazza's alter ego. Instead, these funds are subject to pending
1

2 litigation in the State Court Action, Marc J Randazza, P.A. v. Liberty
                                                                         Media Holdings, LLC,

3 Case No. A-12~673275-C. Thus, thetrust account was never properly before the arbitrator.

4            Third, the 10% interest is excessive under Nevada law, as previously noted. Moreover,
 5
      the_Arbitrator's r~uirement ofinterest conflicts with Nevada Ruleof Professional Conduct 1.15,
6
      which does not require that funds held in trust be placed in an interest bearing account. Tue
 7
      Arbitrator manifestly disregarded this rule, resulting in an improper penalty to Randazza for his
 8
      firm's compliance with the rule. Certainly, if there was interest earned and the principal was
 9
10 owed Plaintiffs, then they would be entitled to the interest earned, but an award of prejudgment

11 interest on disputed funds places a burden on law firms and lawyers that the rules of conduct do

12 not require. See Lopez v. Corral, 2010 Nev. LEXIS 69, *17-18 (Nev. Dec. 20, 2010) ("an

13
      attorney who holds disputed funds in his trust account pending resolution of the dispute does not
14
      convert those funds as a matter of law"). Thus, there is no basis at law for the award of interest.
15
              Fourth, there is no basis in fact for the claim for an additional $30,000. Although
16
      Plaintiffs claim it, there is no evidentiary basis. Instead, the only record was testimony from
17
18 Gibson that Randazza Legal Group may have received some settlement funds, which he admitted

19 was without any actual knowledge of such on his part. Exhibit G at 773:9-774:3. The Arbitrator

20 had no facts in evidence that would permit such an award.

21
                           VI.        No Audit Of Randazza Legal Group's Trust Account Is
22                                    Permissible

23            Continuing his impermissible actions relative to the non-party law firm's client funds
24
      trust account, the Arbitrator orders an accounting of that trust account. Exhibit D at 25. This
25
      cannot be subject to confirmation. First, as previously noted, the record is closed. Plaintiffs did
26
      not seek to keep the record open and this was a matter that could have been resolved during the
27

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      discovery phase. Second, the Arbitrator gives no purpose to such accounting as relates to the
 1
2 rights of Plaintiffs. In fact, Excelsior never requested an accounting as part of its counterclaim.

3 Excelsior's Answer and Counterclaim, attached as Exhibit V ~Thus,_iLexceeds the Arbitrator's

4 powers to order an accounting. Third, again exceeding the Arbitrator's authority, it interposes an
 5
                                          law firms, whichare notparties to the arbitra:tio~11'1.llcltJms
      ~obligation on oneor PQ!l:iJ1Q11--party
6
      beyond the Arbitrator's powers. And fourth, an audit of the account would necessarily reveal the
 7
      identities of other clients of the non-party law firms, revealing the fact of representation, which
 8
      may be confidential, and disclosing monies that may be subject to confidentiality agreements or
 9
1o otherwise reveal client financial arrangements. Such would result in a gross violation of

11 California Rule of Professional Conduct 3-100 and Nevada Rule of Professional Conduct 1.6.

l2 Finally, a "claim for accounting must be tethered to relevant actionable claims." Simon v. Bank
13
      of Am., NA., 2010 U.S. Dist. LEXIS 63480, *30, 2010 WL 2609436, at *11 (D. Nev. June 23,
14
      2010) (internal citation omitted). As there is no other actionable claim, no accounting is
15
      warranted. As a result, given the Arbitrator's manifest disregard of facts and law, in excess of
16
      his authority, no accounting is warranted and the Interim Arbitration Award cannot be
17
18 confirmed.

19                        vu.         Randazza Cannot Return A Non-Existent Laptop

20        As previously argued in his Opposition to Plaintiffs' Request for an Order Shortening Time
21
      and Motion for Continuance, incorporated herein by reference, Section 6 of the Interim
22
      Arbitration Award is meaningless. Exhibit D at 25. It requires Randazza to return an
23
      unidentified laptop computer that likely does not exist. There is no manufacturer, model, serial
24
                                                or referenced by the Arbitrator that would pem1it
25 number, or MAC address entered into evidence
26 Randazza to identify the computer and comply. Plaintiffs presented no evidence in the record

27

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       that would identify such computer, when they simply could have testified to issuing computers X
   1
                                                      mention in the record is where Gibson states
   2 & Y and only receiving back computer X. The only

- --3 that he is seeking-the return ofa "second company laptop that Mr. Randazza testified he had, and

   4 has not returned to the company." Exhibit G at 772:16-19. Nothing in Randazza's testimony

   5
       mentfoned simultaneously. having two mpany                  issued laptops, only that over_the course of his
   6
       employment, two had been issued; at the time of termination, there was only the MacBook Air.
   7
       Id at 197: 15-22. Moreover, Plaintiffs did not even make a claim for the return of a computer in
   8
       their counterclaim. Exhibit V. Absent any claim, let alone evidence, the Interim Arbitration
   9
  10 Award is unreasonable and unenforceable. It exceeded the Arbitrator's authority and is in

  11 manifest disregard of the facts. The issue of an alleged second laptop should have been

  12 addressed in discovery; the record is closed and there is no meaningful purpose to this section of

  13
       the award. There is no cause for any further inspection of the non-existent, unidentified
  14
       computer, as required by Section 7 of the Interim Arbitration Award. Thus, the Interim
  15
       Arbitration Award must be vacated.
  16
                              viii.         Gibson Is A Proper Party
  17
                         26
  18          Finally,        Gibson should not be dismissed, per Section 9 of the Interim Arbitration

  19 Award. Exhibit D at 26. First, as discussed above, the Arbitrator failed to perform a meaningful

  20 alter ego analysis and expressly and unfairly deprived Defendant of the opportunity to present

  21
       evidence on this question. His own prior order deferred the question and evidence thereon, and
  22
       the ruling is therefore capricious and contradictory. Second, and related thereto, upon vacatur
  23

  24

  25

  26   26
         Defendant takes no issue with the order in Section 8 that the parties are free to each apply for
       attorneys' fees and costs, reserving the right to challenge any such application by Plaintiffs.
  27

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          and remand to a different arbitrator, it is expected the evidence will show Gibson liable as an
 1

2 alter ego of Excelsior. Thus, the Interim Arbitration Award cannot be confirmed.

3              D. Interim Awards are N-0t Otherwise Subject to Confirmation

4              1. The Interim Award Was Replete With Bias

 5
_--1 ,_   __                              the Interim _ArbitrationAward that the Arbitrator disfuvored
                 ~It is evicknt thrn_u_ghQ_ut
6
          Defendant and resolved all factual and credibility disputes, as well as conflicting expert opinions,
7
          against him. In doing so, the Arbitrator demonstrated his bias, failing to draw logical
 8
          conclusions and placing Randazza in catch-22 situations. There are several instances that
 9
10 highlight these problems.·

11             a. Physical Position Is Not An Indicium Of Credibility When The Arbitrator Directed Such
                  Position
12
                  Relegating the credibility determination to Footnote 4 of the Interim Arbitration Award,
13
14 the Arbitrator determined Randazza lacked credibility based upon his physical position. Exhibit

15 D at 6-7, n. 4. Randazza was the only witness who was told prior to his testimony where to face,

16 for no other reason than to ensure the court reporter and the Arbitrator properly heard him.

17
          Exhibit G at 10: 16-11 :22. At the hearing, the Arbitrator instructed Randazza as follows:
18
               ARBITRATOR HABERFELD: I would just ask, Mr. Randazza, if you could, as much
19             as you can, although the questions will be coming from Mr. White, who is to your right,
               and I am to your left, and the court reporter is across from you, to please try to be as
20             much giving your testimony to me and to the court reporter, rather than looking to Mr.
               White, which would be making it difficult to read your lips and to hear you better.
21
22 Id. at 11: 10-19. Yet, in the Interim Arbitration Award, the Arbitrator commented negatively on

23 this middle-distance position, for Randazza's near perfect obedience "leaning well forward and
24 looking down or straight ahead into 'middle distance' in the direction of the wall behind where

25
          the Arbitrator was seated." Exhibit D at 6-7, n. 4. He further criticized Randazza for not
26
          maintaining "eye contact with either the questioning attorney or the Arbitrator" even though the
27

                                                               - 53 -
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     Arbitrator had instructed him not to even make eye contact with his own counsel and to face the
 1

2 middle distance between the court reporter and the Arbitrator. Id.

3                                                                                    e.g., Exhibit G at
             There was no similar colloquy before any other witness testified.-----See,

4 658-659 (testimony of Jason Gibson). The record does not indicate anywhere that Randazza
 5
              fromlhe_phy._si_calpositiQn_ilie Arbitrator__required; the Arbitrator' sJindings do nQi~ven_
     de_yiate_d
 6
     indicate that his position during cross-examination differed from that during direct examination.
 7
     Exhibit D at 6-7, n. 4; Exhibit C. It is patently unfair of the Arbitrator to make a credibility
 8
     assessment adverse to Randazza based on him having followed the Arbitrator's explicit
 9
                  27
10 instruction.        And, it appears that the positioning colored the Arbitrator's entire decision,

11 requiring vacatur and remand for a new hearing before a different Arbitrz.tor.

12        b. The Arbitrator Expressly Bifurcated The Question Of Alter-Ego Liability But
             Disregarded His Own Order
13

14           The Arbitrator, again by footnote, dismissed Gibson as a party, finding that Defendant

15 had failed to show Gibson was an alter ego of either Excelsior or Liberty, and determined that
16 neither Excelsior nor Liberty were alter egos of anybody or entity. Exhibit D at 2, n. 1.

17
     Randazza had specifically sought declaratory relief in Count 8 of his Amended Arbitration claim
18
     that Excelsior, Liberty, and Gibson were alter egos of each other, to be held jointly and severally
19
     liable. Exhibit L at 34-3 7. Presumably, the footnote ruling suggests that they were not found to
20
      alter egos of each other, denying Claim 8. The Arbitrator omits from this footnote and the
21 be
22 remainder of the Interim Arbitration Award any reference to his earlier ruling of January 8, 2014.

23

24
     Moreo'1er, in raising the position ofRandazza in their post-'-hearing hief, Plaintiffs i~properly
     27

25 dropped a footnote relaying a supposed incident where chewing gum may have appeared on the
   car of Plaintiffs' counsel, without any actual evidence that Randazza was actually the cause and
26 without relevance to the proceedings themselves. This may have prejudiced the entire decision
   making process, warranting vacatur.
27

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      In that ruling, the Arbitrator states that Randazza's "'alter ego' contentions will be segmented
 1

2 from [his] claims for liability and damages and will be deferred to a later phase of the arbitration

3 or will become.moot.-"-Exhibit W-at-1. T-his or<ler-Precluded even the-taking of discovery-from

4 Gibson and the entities that would tend to have shown alter-ego status. Without notice to
 5                                                                                            did not exist.
      Defendant. the Arbitrator disregarded this order, effectivtly~etendingit
 6
      Defendant lacked opportunity to take discovery or present evidence on the question of alter ego.
 7
      This issue was adjudicated adversely to Defendant even where the remainder of the decision
 8
      rendered the qaestion moot. The issue was not bifurcated, per the Arbitrator's own· order. And
 9
10 the Arbitrator failed to undertake any actual analysis or application of the facts to the law.

11            Curiously, despite this ruling, the Arbitrator treats Plaintiffs as alter egos of each other.

12 In that very same footnote, and throughout the interim award, the Arbitrator opts to treat

13
      Excelsior and Liberty interchangeably.       In fact, at p. 23, paragraph 2, the Arbitrator issues a
14
      monetary award to all Plaintiffs, including Gibson, 28 jointly. Exhibit D. If they are not alter
15
      egos and proper parties, then the only party entitled to any award would be Excelsior, being the
16
      only party to assert a counterclaim. In fact, if they are not alter egos, the other Plaintiffs could
17
18 not have asserted counterclaims as they were then not parties to the arbitration agreement.

19 Similarly, since of the three Plaintiffs only Liberty was the client in the Oron litigation, and since

20 Liberty was the only of the three Plaintiffs to allegedly disgorge the $275,000, only Liberty has

21
      standing to assert these alleged damages.
22
              Further, there was no evidence to suggest that Excelsior had standing to bring a claim for
23
      malpractice on behalf of Liberty. Similarly, the Arbitrator requires disgorgement of disputed
24
25

26    28
        Gibson cannot be entitled to enforce a monetary award in his favor where he was dismissed as
      a "party," not merely as Respondent, depriving him of standing.
27

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      funds relative to the representation of Liberty held in trust, otherwise the subject of the State
 1

2 Court Action. Plaintiffs cannot have it both ways-they                are either alter egos or the award is

 3 void; and the Arbitrator acted with manifest disregard of the law and facts to let Plaintiffs have it

 4 both ways.
 5
             Further, without even being presented the issue for adjudication,~th~ Arbitrator in his
 6
      interim award, at paragraphs 2, 4, & 5, implicitly treated non-parties Marc J. Randazza, P.A.
 7
      d/bla Randazza Legal Group and Randazza Legal Group, PLLC, as Randazza's alter egos. As
 8
      noted above, Marc J. Randazza, P.A. d/bla Randazza Legal Group, a Florida entity, was the
 9
10 outside law firm representing Liberty and other clients. Randazza Legal Group, PLLC, did not

11 begin operations until after Randazza's termination. The cited paragraphs of the Interim

12 Arbitration Award appear to require one or both of these non-party law firms to disgorge legal

13
      fees for work performed in part by other lavvyers, disgorge funds held in trust and certain
14
      disputed funds to Plaintiffs, and require one or both of their trust accounts to be audited. The
15
      Arbitrator manifestly disregarded the portions of the record indicating that all litigation was
16
      conducted through the non-party law firm, Marc J. Randazza, P.A. Exhibit G at 55: 11-24. At no
17
18 time was evidence, let alone the question, presented to the Arbitrator as to whether the law firms

19 were Defendant's alter ego and the Arbitrator performed no analysis of the matter. Thus, not

20 only did the Arbitrator blatantly disregard his prior ruling relative to the alter ego status of

21
      Plaintiffs, he opted to doubly surprise Defendant by sua sponte determining Defendant and his
22
      law firms were alter egos in the Interim Arbitration Award. This further evidences the
23
      Arbitrator's determination to construct an award adverse to Randazza, in an arbitrary fashion,
24

25 without regard for facts or law.

26 Ill
27

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            c. Errors Of Counsel Were Misattributed To Defendant
  1

  2             In retaliation for Randazza having filed his arbitration claims, Gibson filed bar

-- 3 complaints against him in each of the five jurisdictions in-Which he was_admitted._ To properly

  4 preserve his sexual harassment claim, Randazza filed a complaint with the Nevada Equal Rights
  5
                                                       Commission. Exhibit X. Randazza h_'!d
       ~onunj§si911,.&,.Equal Employment OpIJ_QrtllllW.es
  6
       different attorneys in these differing proceedings. The Arbitrator noted that Randazza's varying
  7
       counsel made factual errors, where one or more attorneys appear to have not yet located or
  8
       overlooked evidence. Exhibit D at 6, n. 4, 17-18. This matter included over 100,000 documents
  9
 10 exchanged as part of discovery. Exhibit G at 801:14-18. 29 Given the volume of pleadings and

 11 documents at issue, mistakes of counsel are bound to happen. However, for unknown reasons,

 12 the Arbitrator attributed these errors to Randazza personally, and then he drew adverse

 13
       credibility findings Rgainst Randazza for the errors of counsel. Exhibit D at 6, n. 4, 17-18. Such
 14
       constitutes guilt by association, "one of the most odious institutions of history." Joint Anti-
 15
       Fascist Refugee Committee v. McGrath, 341 U.S. 123, 178 (U.S. 1951). And yet, this guilt by
 16
       association was a significant factor in the credibility determination and must not be condoned.
 17

 18         d   The Arbitrator Cannot Make An Adverse Credibility Finding Based On An Issue He
                Opted Not To Decide
 19
                As noted above, due to the office-desk pornography and back-seat fellatio incidents in
 20
                   was targeted, separate and apart from the explicit nature of the industry, a
 21 which Randazza
 22 sexual harassment and retaliatory termination claim was filed with the Nevada Equal Rights

 23 Commission and EEOC and made part of Randazza' s arbitration claims. Exhibit X. Plaintiffs
 24

 25
      There has been no finding that the documents produced were not properly responsive to the
       29

 26 Plaintiffs' discovery requests or otherwise excessive. Plaintiffs' overbroad discovery requests
    necessitated Defendant's comprehensive response.
 27

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      denied the occurrence of the fellatio incident and denied that these events actually upset
 1

 2 Randazza. The Arbitrator found, ultimately (and erroneously), that Randazza resigned, thus he
_ J explicitly held ihathewas.not      resolv:ing a conflict of evidence as---1o.how
                                                                                   or whether the incidents

 4 occurred and their effect on Randazza. Exhibit D at 5. Even though the Arbitrator expressly
 5
      ~tlltedtha_ttli~ sexual incidents were not being decided,_he smnehpw hdd tlii_sagainst Randazza.
 6
      At page 6, paragraph F, the Arbitrator states that the failure of Randazza to prove his sexually-
 7
      based allegations and reactions to them undermined his credibility. Id. However, it was not the
 8
      case that Randazza did not prove them; instead, the Arbitrator decided that no proof was
 9
10 required. To summarize the Arbitrator's circular reasoning: he chose not to make a credibility

11 determination, because he credited Plaintiffs' theory as to cause of separation, resulting in

l2    Randazza not being credible, which is why he found Plaintiffs' theory credible. Such
13
      demonstrates clear bias and the absolute failure of the Arbitrator to execute his duties.
14
         V.      Conclusion
15
              The motion to confirm Plaintiffs' arbitration award is not properly before the Court as it
16
      is in the wrong jurisdiction and venue-. Further, in light of the foregoing, given the evident bias,
17
18 manifest disregard for the facts and the law, and exceeding his contractual powers, the

19 Arbitrator's Interim Arbitration Award cannot be confirmed. To the contrary, it must be vacated

20 and remanded to a different arbitrator.

21
              DATED thi~ay          of August, 2015.
22                                                                  HUTCHISON & STEFFEN, LLC

23

24
                                                              /4~h~ Michael K. Wall (2098)
25                                                                  Timothy R. Koval (12014)

26                                                                  Attorneys for Defendant
                                                                    Marc J Randazza
27

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 1                                      CERTIFICATE OF SERVICE

2           Pursuant to NRCP 5(b), I certify that I am an employee of HUTCHISON & STEFFEN,
 3
     LLC and that on this
                            1~day of August, 2015, I caused the above and foregoing document
4
     entitled DEFENDANT'S OPPOSITION TO PLAINTIFFS' MOTION TO CONFIRM
 5
     ARBITRATION AW ARD AND COUNTER-MOTION TO VACATE AND/OR MODIFY
 6
         served as follows:
 7 to be

 8           □               by placing same to be deposited for mailing in the United States Mail, in a
                             sealed envelope upon which first class postage was prepaid in Las Vegas,
 9                           Nevada;
10
             □               pursuant to EDCR 7.26, to be sent via facsimile;
11
                             pursuant to EDCR 8.05(a) and 8.05(f), to be electronically se:-ved through
12                           the Eighth Judicial District Court's electronic filing system, with the date
                             and time of the electronic service substituted for t.1iedate and p!ace of
13
                             deposit in the mail; and/or
14
             □               to be hand-delivered;
15
     to the attorneys and/or parties listed below at the address and/or facsimile number indicated
16
17 below:

18 Wendy MeduraKrincek, Esq.
   Ethan D. Thomas, Esq.
19 LITTLER MENDELSON, P.C.
   3960 Howard Hughes Parkway, Ste. 300
20
   Las Vegas, NV 89169-5937
21 702-862-8800 (Tel)
   702-862-8811 (Fax)
22
     Attorneys for Plaintifjs
23

24

25

26

27

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                        EXHIBIT 11
                         Order to Show Cause
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                                          1

                                          2
                                          3
                                                                                      Honorable August B. Landis
                                          4                                          United States Bankruptcy Judge
                                          5Entered on Docket
                                       June 26, 2018
                                   ___________________________________________________________________
                                          6
                                               LARSON ZIRZOW & KAPLAN, LLC
                                          7
                                               ZACHARIAH LARSON, ESQ.
                                          8    Nevada Bar No. 7787
                                               E-mail: zlarson@lzklegal.com
                                          9    MATTHEW C. ZIRZOW, ESQ.
                                               Nevada Bar No. 7222
                                          10   E-mail: mzirzow@lzklegal.com
                                          11   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                          12   Tel: (702) 382-1170
Tel: (702) 382-1170 Fax: (702) 382-1169
 LARSON ZIRZOW & KAPLAN, LLC




                                               Fax: (702) 382-1169
                                          13
        Las Vegas, Nevada 89101




                                               Attorneys for Debtor
          850 E. Bonneville Ave.




                                          14
                                          15                               UNITED STATES BANKRUPTCY COURT
                                          16                                  FOR THE DISTRICT OF NEVADA

                                          17    In re:                                            Case No.: BK-S-15-14956-abl
                                                                                                  Chapter 11
                                          18    MARC JOHN RANDAZZA,
                                          19                     Debtor.                          Date: July 31, 2018
                                          20                                                      Time: 1:30 P.M.

                                          21   ORDER TO SHOW CAUSE WHY STEPHEN HABERFELD AND JAMS, INC. SHOULD
                                                    NOT BE COMPELLED TO COMPLY WITH THE ORDER APPROVING
                                          22    SETTLEMENT AGREEMENT AND/OR HELD IN CONTEMPT AND SANCTIONED
                                                        FOR WILLFUL VIOLATIONS OF THE AUTOMATIC STAY
                                          23
                                                         The Court having reviewed and considered the Motion for Order to Show Cause Why
                                          24
                                               Stephen Haberfeld and JAMS, Inc. Should Not be Compelled to Comply With the Order Approving
                                          25
                                               Settlement Agreement and/or Held in Contempt and Sanctioned for Willful Violations of the
                                          26
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                                  22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                               Case 15-14956-abl               Doc 238       Entered 06/26/18 15:37:31              Page 2 of 3


                                           1
                                               Automatic Stay (the “Motion”)1 filed by Marc John Randazza (“Mr. Randazza”), as debtor and
                                           2
                                           2
                                               debtor in possession, and, without making any final determination regarding the Motion and the
                                           3
                                           3
                                               requests for relief set forth therein; and good cause appearing;
                                           4
                                           4
                                                          IT IS HEREBY ORDERED:
                                           5
                                           5
                                                          1.       Arbitrator Stephen Haberfeld and JAMS, Inc. (collectively, the “JAMS Parties”)
                                           6
                                           6
                                               shall show cause why they allegedly have failed or refused to comply with the terms of this Court’s
                                           7
                                           7
                                               Order Granting Debtor’s Motion to Approve Settlement Agreement and Release With Excelsior
                                           8
                                           8
                                               Media Corp., Liberty Media Holdings, LLC and Jason Gibson Per Fed. R. Bankr. P. 9019 (the
                                           9
                                           9
                                               “Settlement Order”) [ECF No. 219], and in particular why they allegedly have failed or refused to
                                          10
                                          10
                                               enter the Arbitration Dismissal Stipulation attached to the Settlement Agreement and Release (the
                                          11
                                          11
                                               “Settlement Agreement”) as Exhibit 1, and in the form as presented to them, without change,
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          12
                                               further briefing, or hearing on the matter in the Arbitration, JAMS No. 1260002283 (the
 LARSON ZIRZOW & KAPLAN, LLC




                                          13
                                          13
                                               “Arbitration”), including the vacatur of the Interim Arbitration Award as set forth in that
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                          14
                                               Stipulation.
                                          15
                                          15
                                                          2.       The JAMS Parties shall further show cause why they allegedly have not committed
                                          16
                                          16
                                               various intentional and willful violations of the automatic stay pursuant to 11 U.S.C. § 362 by
                                          17
                                          17
                                               entering the Order to Show Cause Whether or Not Interim Arbitration Award Should be Subject
                                          18
                                          18
                                               to Vacatur, With Prejudice, as Requested by Settling Parties (the “Arbitration OSC”) in the
                                          19
                                          19
                                               Arbitration on or about June 11, 2018, and by undertaking any further proceedings in the
                                          20
                                          20
                                               Arbitration pursuant to the Arbitration OSC or otherwise except as consistent with this Court’s
                                          21
                                          21
                                               Settlement Order, the Settlement Agreement and the Arbitration Dismissal Stipulation attached to
                                          22
                                          22
                                               the Settlement Agreement as Exhibit 1.
                                          23
                                          23
                                                          3.       The JAMS Parties shall further show cause why they should not be held in contempt
                                          24
                                          24
                                               of court and sanctioned for their alleged failures or refusals to abide by the Settlement Order and
                                          25
                                          25
                                               their intentional and willful violations of the automatic stay as set forth herein, including in
                                          26
                                          26
                                               particular why Mr. Randazza should not recover his reasonable attorneys’ fees and costs in having
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                                          28       Unless otherwise indicated, all capitalized terms herein shall have the same meaning as set forth in the Motion.




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                                  22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                               Case 15-14956-abl        Doc 238      Entered 06/26/18 15:37:31       Page 3 of 3


                                           1
                                               to file and prosecute the Motion, pursuant to 11 U.S.C. §§ 105(a) and/or 362(k), and/or the Court’s
                                           2
                                           2
                                               inherent power to enforce its orders, to the extent applicable.
                                           3
                                           3
                                                      4.      The JAMS Parties shall respond to this Order to Show Cause by
                                           4
                                           4
                                               July 12, 2018, Mr. Randazza shall file any reply to such response by
                                           5
                                           5
                                               July 26, 2018, and the Court shall hold a hearing on the Motion on July 31, 2018 at 1:30 p.m..
                                           6
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                                                      IT IS SO ORDERED.
                                           8
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                                          10
                                          10   PREPARED AND SUBMITTED:
                                          11
                                          11
                                               By:    /s/ Matthew C. Zirzow
                                          12   LARSON ZIRZOW & KAPLAN, LLC
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          12
 LARSON ZIRZOW & KAPLAN, LLC




                                          13   ZACHARIAH LARSON, ESQ.
                                          13   Nevada Bar No. 7787
        Las Vegas, Nevada 89101




                                          14   MATTHEW C. ZIRZOW, ESQ.
          850 E. Bonneville Ave.




                                          14   Nevada Bar No. 7222
                                          15   850 E. Bonneville Ave.
                                          15
                                          16   Attorneys for Debtor
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                                          17                                                  ###
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                           EXHIBIT 12
                       Randazza CLE Presentation
Ethical Considerations
                         Marc John
                         Randazza
                         0   This lawyer was disciplined by a
  You might be           sta e licensi g au ho ·ty in 2019.

  surprised at           Read more
                         [:] Save
                                                                                                   138 of 210




  what violates
                                  **         25 reviews
  Rule 1.8               AVVO     RATING    10   0
                         Q Las V gas, NV
                             See all office locations
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                                         RAN DAZZA
                                         LEGAL GROUP
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                       EXHIBIT 13
                  Declaration of Jay M. Wolman
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                             D-1-GN-18-001835
   NEIL HESLIN                           §    IN DISTRICT COURT OF
      Plaintiff                          §
                                         §
   VS.                                   §
                                         §    TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,         §
   FREE SPEECH SYSTEMS, LLC, and         §
   OWEN SHROYER,                         §
      Defendants                         §    459th DISTRICT COURT
                                         §

                             D-1-GN-18-001842
   LEONARD POZNER and                    §    IN DISTRICT COURT OF
   VERONIQUE DE LA ROSA                  §
      Plaintiffs                         §
                                         §
   VS.                                   §    TRAVIS COUNTY, TEXAS
                                         §
   ALEX E. JONES, INFOWARS, LLC,         §
   and FREE SPEECH SYSTEMS, LLC,         §
       Defendants                        §    459th DISTRICT COURT
                                         §


                             D-1-GN-18-006623
   SCARLETT LEWIS                        §    IN DISTRICT COURT OF
      Plaintiff                          §
                                         §
   VS.                                   §
                                         §    TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,         §
   and FREE SPEECH SYSTEMS, LLC,         §
       Defendants                        §
                                         §    459th DISTRICT COURT
                                         §


                      DECLARATION OF JAY M. WOLMAN
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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 I, Jay M. Wolman, hereby declare as follows:
       1.     I am over the age of 18 years and have never been convicted of a crime
 involving fraud or dishonesty.
       2.     The facts set forth in this declaration are within my personal knowledge
 and are true and correct to the best of my knowledge and belief.
       3.     I am an attorney with Randazza Legal Group, PLLC (“RLG”), and I am
 admitted to, and in good standing with, the bars of the State of New York, the District
 of Columbia, the Commonwealth of Massachusetts, and the State of Connecticut, as
 well as numerous federal district and appellate courts.
       4.     I represent Defendants in related litigation brought by other Sandy Hook
 families and one FBI agent in the State of Connecticut.
       5.     I am a religiously observant Jew, and I regularly observe Jewish
 religious traditions and holidays.
       6.     I have known Attorney Marc J. Randazza for over 20 years. We went to
 law school together, and we have worked at the same firm for over 6 years.
       7.     At no point have I known Mr. Randazza to make any statement or
 engage in any conduct that I could characterize as anti-Semitic. I cannot see how
 anyone could reasonably believe in good faith that any of his statements or conduct
 could even potentially be anti-Semitic.
       8.     I am fully aware of Mr. Randazza’s litigation history with Roca Labs
 and its principal, Don Juravin, and I have worked with Mr. Randazza in multiple
 cases against them. At no time have I observed Mr. Randazza to have engaged in
 unethical behavior, though Juravin has repeatedly made spurious accusations against
 Mr. Randazza in an attempt to gain a litigation advantage.
       9.     Like many attorneys, I use the Twitter social media platform, and I
                                           2
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 routinely interact with other attorneys across the country on that platform.
        10.   In May 2017, I became acquainted with the Twitter account
 "@RespectableLaw." Upon information and belief, that is the same month the
 account was created.
        11.   On or about September 24, 2017, after reviewing information he
 publtshed to his followers, I observed that Mark Bankston (who is now Plaintiffs'
 counsel), was the operator of the said Twitter account "@RespectableLaw." Mr.
 Bankston confirmed his status as the operator. On or about April 18, 2018, he
 extended an invitation to me to get together when he would be in Newtown,
 Connecticut, to visit one of his clients.
        12.   I virtually met and engaged with Mr. Bankston on Twitter before I was
 hired by Defendants and before this litigation or the related Connecticut litigation
 was filed.
        13.   Mr. Randazza and RLG have always accommodated my religious
 observance, including my Sabbath and holiday observances where I do not work.


       lVIyname is Jay Marshall Wolman, my date of birth is February 2, 1976, and
 my business address is 100 Pearl Street, 14th Floor, Hartford, Connecticut, 06103,
 United States. I declare under penalty of perjury that the foregoing is true and correct.

                                                                   (I\
 Executed in Hartford County, State of Connecticut, on this :2t, day of July, 2021.




                                             JayM. Wolman



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                     EXHIBIT 14
             Declaration of Cassidy S. Curran
                       Postle v. Brill
                   22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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               1 Marc J. Randazza, SBN 269535
                 Alex J. Shepard, SBN 295058
               2 RANDAZZA LEGAL GROUP, PLLC
                 2764 Lake Sahara Drive Suite 109
               3 Las Vegas, NV 89117
                 Telephone: (702) 420-2001
               4
                 Email: ecf@randazza.com
               5 Attorneys for Defendant,
                 Veronica Brill
               6
               7                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

               8                               FOR THE COUNTY OF SACRAMENTO

               9
LEGAL GROUP




              10 Michael Postle, an individual;                           Case No. 34-2020-00286265

              11                  Plaintiff,
                                                                           DECLARATION OF CASSIDY S.
              12          vs.                                              CURRAN
              13 Veronica Bill, an individual; ESPN, Inc., a
                 Delaware Corporation; Joey Ingram, an individual; Action Filed: 10/01/2020
              14 Haralabos Voulgaris, an individual; Daniel
                                                                    Trial Date: Not Yet Set
I




                 Negreanu, an individual; Upswing Poker, Inc., a
              15 Nevada Corporation; iBus Media Limited d/b/a
RANDAZZA




              16 “PokerNews”, and Isle of Man, United Kingdom
                 Private Limited Liability Company Parent; Jonathan
              17 Little Holdings LLC, d/b/a “Poker Coaching”,
                 a Nevada Limited Liability Company; Solve For
              18 Why Academy LLC, a Nevada Limited Liability
                 Company; Todd Witteles, an individual; Run It
              19 Once, Inc., a Nevada Corporation; and DOES 1
                 through 1,000, inclusive;
              20
              21                  Defendants.

              22
              23          I, Cassidy S. Curran, declare:
              24          1.      I am over 18 years of age and have never been convicted of a crime involving fraud or
              25 dishonesty.
              26

              27
              28
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                                                       Declaration of Cassidy S. Curran
                   22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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               1          2.      The facts set forth in this Declaration are within my personal knowledge and are true

               2 and correct to the best of my knowledge and belief.
               3          3.      I am a Legal Assistant and Paralegal employed at Randazza Legal Group, PLLC
               4 (“RLG”).

               5          4.      On March 17, 2021, I was located in the same office as Attorney Randazza.
               6          5.      Attorney Randazza, in preparing for his call with Mr. Postle, asked me to carefully
               7 listen to his portion of their phone conversation, as Mr. Postle was not represented by counsel, and
               8 Attorney Randazza wanted to be extremely careful in his discussion.
               9          6.      This is our common practice unless I am asked to leave the room for a confidential
LEGAL GROUP




              10 conversation, as Attorney Randazza and I share an office, divided only by cubicle walls, and I actively
              11 listen to his phone conversations when deadlines and next steps of a case will be discussed to ensure
              12 we do not overlook a deadline or task and to ensure a level of familiarity with his work and projects.
              13          7.      I could not hear Mr. Postle’s portion of the phone conversation.
              14          8.      It appeared that Attorney Randazza was speaking to two people, but I was not aware
I




              15 that Alexandrea Merrell was the third party present on the call until Attorney Randazza stated such
RANDAZZA




              16 afterwards.

              17          9.      I am aware that Mr. Postle and Attorney Randazza spoke regarding the continuance
              18 of the Anti-SLAPP hearings, and Attorney Randazza agreed to 60 days.

              19          10.     At no time during this call did I hear Attorney Randazza state “you’re a fucking cunt”
              20 or “you fucking bitch.” Had I overheard the use of the word “cunt” I would have taken note of this
              21 or shared my discomfort and concern with Attorney Randazza or our Human Resources department.

              22          11.     I did hear Attorney Randazza tell someone to “shut the fuck up” and he also called
              23 someone “a fucking liar.”

              24          12.     It was not until after the call that Attorney Randazza stated that he made those
              25 comments due to the phone parties speaking over each other, and Ms. Merrell constantly interrupting
              26 the ongoing conversation, and trying to take control of the conversation.

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                                                      Declaration of Cassidy S. Curran
                   22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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              1           13.    He explained that he called Ms. Merrell a “fucking liar” because she had previously

              2 claimed that Attorney Mark Bankston would be participating in the case, but he had made a call to
              3 Mr. Bankston, who said that this was not true and he did not know who Mike Postle was.
              4

              5 I declare that the foregoing is true and correct to the best of my knowledge.




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              7           Dated: June 14, 2021.                ________________________
                                                               Cassidy S. Curran
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              9
LEGAL GROUP




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RANDAZZA




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                                                    Declaration of Cassidy S. Curran
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                          EXHIBIT 15
                   Declaration of Cassidy S. Curran
                       Authenticating Exhibits
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                            D-1-GN-18-001835
  NEIL HESLIN                           §    IN DISTRICT COURT OF
     Plaintiff                          §
                                        §
  vs.                                   §
                                        §    TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOW ARS, LLC,        §
  FREE SPEECH SYSTEMS, LLC, and         §
  OWEN SHROYER,                         §
     Defendants                         §    459 th DISTRICT COURT
                                        §


                             D-1-GN-18-001842
  LEONARD POZNER and                    §    IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                  §
     Plaintiffe                         §
                                        §
  VS.                                   §    TRAVIS COUNTY, TEXAS
                                        §
  ALEX E. JONES, INFOW ARS, LLC,        §
  and FREE SPEECH SYSTEMS, LLC,         §
      Defendants                        §    459 th DISTRICT COURT
                                        §

                             D-1-GN-18-006623
  SCARLETT LEWIS                        §    IN DISTRICT COURT OF
     Plaintiff                          §
                                        §
  vs.                                   §
                                        §    TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,         §
  and FREE SPEECH SYSTEMS, LLC,         §
      Defendants                        §
                                        §    459 th DISTRICT COURT
                                        §



         DECLARATION OF CASSIDY S. CURRAN
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      I, Cassidy S. Curran, hereby declare as follows:
       1.     I am over the age of 18 years and have never been convicted of a crime
involving fraud or dishonesty.
      2.      The facts set forth in this declaration are within my personal knowledge
and are true and correct to the best of my knowledge and belief.
      3.      I am a paralegal with Randazza Legal Group,.PLLC ("RLG").
      4.      On July 29, 2021 at approximately 5:10 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to an
October     4,      2020       tweet     by    @RespectableLaw    located    at    the   url
<https://twitter.com/RespectableLaw/status/1312927581260394496>.              Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit A.
      5.      On July 29, 2021 at approximately 5:16 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to an
August      28,     2020       tweet     by    @RespectableLaw    located    at    the   url
<https://twitter.com/RespectableLaw/status/1299466941061632000>.              Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit B.
       6.        On July 29, 2021 at approximately 5: 17 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
 Chrome internet browser, I visited the website <twitter.com> and navigated to a
November          10,   2019     tweet    by    @RespectableLaw    located    at   the   url
 <https://twitter.com/RespectableLaw/status/1193779142510157824>.             Immediately
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22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit C.
       7.        On July 29, 2021 at approximately 5:18 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to an
August      4,     2018    tweet     by    @RespectableLaw   located    at    the   url
<https://twitter.com/RespectableLaw/status/1025 8105 54399727 616>. Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit D.
       8.        On July 29, 2021 at approximately 5:19 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a
January     10,     2019    tweet    by    @RespectableLaw    located    at   the   url
<https://twitter.com/RespectableLaw/status/1083449803936329728>.          Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit E.
       9.        On July 29, 2021 at approximately 5:20 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
 Chrome internet browser, I visited the website <twitter.com> and navigated to an
 October    29,     2020     tweet    by   @RespectableLaw    located    at   the   url
 <https://twitter.com/RespectableLaw/status/1321981292683104258>.         Immediately
 after viewing this tweet, I took a screen capture of it using Google Chrome's print to
 PDF function. A true and correct copy of this screen capture is attached to this
 Declaration as Exhibit F.
                                             3
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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      10.     On July 29, 2021 at approximately 5:20 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to an
October      8,     2019       tweet     by    @RespectableLaw    located    at    the   url
<https://twitter.com/RespectableLaw/status/1181467917138976768>.              Immediately
after viewing this tweet,. I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit G.
       11.     On July 29, 2021 at approximately 5:21 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a
January      26,        2020    tweet    by    @RespectableLaw    located    at    the   url
<https ://twitter .com/RespectableLaw / status/ 1221600377994448 900>. Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit H.
       12.        On July 29, 2021 at approximately 5:22 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a
 September        28,    2018    tweet    by    @RespectableLaw    located    at   the   url
<https://twitter.com/RespectableLaw/status/1045887134505336832>.              Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit I.
       13.        On July 29, 2021 at approximately 5:23 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
 Chrome internet browser, I visited the website <twitter.com> and navigated to a
                                                 4
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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September      29,    2018    tweet    by    @RespectableLaw      located        at    the        url
<https://twitter.com/RespectableLaw/status/1045936859535364096>.                 Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit J.
       14.     On July 29, 2021 at approximately 5:24 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a
September      6,     2019   tweet    by     @RespectableLaw      located        at    the        url
<https://twitter.com/RespectableLaw/status/l l 70056549357817862>.               Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit K.
       15.     On July 29, 2021 at approximately 5:24 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a
December       31, 2018      tweet    by    @RespectableLaw     located     at the          url    <
https:l/twitter.com/RespectableLaw/status/1079858807193391 l 05>.                Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit L.
       16.     On July 29, 2021 at approximately 5:25 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
 Chrome internet browser, I visited the website <twitter.com> and navigated to a July
 20,    2021         tweet    by      @RespectableLaw         located       at        the         url
 <https://twitter.com/RespectableLaw/status/1417655473885614085>.                Immediately
 after viewing this tweet, I took a screen capture of it using Google Chrome's print to
                                              5
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit M.
        17.     On July 29, 2021 at approximately 5:26 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to an
October       4,     2019     tweet   by   @RespectableLaw      located        at    the   url
<https://twitter.com/RespectableLaw/status/1180230065877073920>.                Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit N.
        18.        On July 29, 2021 at approximately 5:27 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a June
 13,    2020          tweet      by    @RespectableLaw       located      at        the    url
<https://twitter.com/RespectableLaw/status/1271977717978804224>.                Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit 0.
        19.        On July 29, 2021 at approximately 5:28 p.m. EDT,. while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
 Chrome internet browser, I visited the website <twitter.com> and navigated to an
April     15,       2019      tweet   by   @RespectableLaw      located        at    the   url
 <https://twitter.com/RespectableLaw/status/1117899754149597186>.               Immediately
 after viewing this tweet, I took a screen capture of it using Google Chrome's print to
 PDF function. A true and correct copy of this screen capture is attached to this
 Declaration as Exhibit P.


                                             6
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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        20.     On July 29, 2021 at approximately 5:28 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a
March         17,     2019    tweet    by   @RespectableLaw   located   at    the   url
<https:/ /twitter .com/RespectableLaw/ status/ 110745 79793 6698163 3>. Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit Q.
        21.         On July 29, 2021 at approximately 5:29 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to an
August        13,      2018   tweet    by   @RespectableLaw   located   at    the   url
<https://twitter.com/RespectableLaw/status/1029128026813067264>.          Immediately
after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit R.
        22.         On July 29, 2021 at approximately 5:30 p.m. EDT, while at the
Massachusetts office of RLG and using a Macbook Air laptop and the Google
Chrome internet browser, I visited the website <twitter.com> and navigated to a
January        21,     2020    tweet   by   @RespectableLaw   located    at   the   url
<https://twitter.com/RespectableLaw/status/1219721879939960832>.          Immediately
 after viewing this tweet, I took a screen capture of it using Google Chrome's print to
PDF function. A true and correct copy of this screen capture is attached to this
Declaration as Exhibit S.




                                              7
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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      My name is Cassidy Sarah Curran, my date of birth is March 7, 1996, and my
business address is 30 Western Avenue, Gloucester, Massachusetts 0 1930, United
States. I declare under penalty of perjury that the foregoing is true and correct.


      Executed in Essex County State ofMassachusetts, on thiJ        ~y of July, 2021.




                                                            Cassidy S. Curran




                                           8
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT A
           October 4, 2020, tweet by Mark Bankston
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                                                157 of 210
29/07/2021         Respectable Lawyer on Twitter: "I have zero respect for the Secret Service. Fuck every single one of those guys. If you think there are good Secret Ser…

                                                    Thread                                                                                    Q    Search Twitter
             Explore                                 Respectable Lawyer
                                                     @RespectableLaw                                                                         New to Twitter?
             Settings                      I have zero respect for the Secret Service. Fuck every
                                                                                                                                            Sign up now to get your own per
                                           single one of those guys. If you think there are good                                                                      Sign up
                                           Secret Service agents, sorry, you are wrong.
                                                 Bakari Sellers @Bakari_Sellers · 4 Oct 2020
                                                                 •                                                                           Relevant people
                                             I have so much respect for the Secret Service, bc I would’ve just tossed Trump
                                             the keys and showed him where I parked.                                                                   Respectable Lawy
                                                                                                                                                       @RespectableLaw
                                           9:28 pm · 4 Oct 2020 · Twitter Web App                                                                      Exclusively practicin
                                                                                                                                                       redistribution of cor
                                                                                                                                                       into the hands of w
                                            125 Retweets 6 Quote Tweets 2,106 Likes                                                                    exploiting rules the
                                                                                                                                                       for itself.
                                                     0                    t.l-
                                                                                                                                                       Bakari Sellers
                                                     Respectable Lawyer @RespectableLaw · 4 Oct 2020                                                   @Bakari_Sellers
                                                                                                                                                       Former SC House o
                                                                                                                                                                          •
                                                     Replying to @RespectableLaw                                                                       @CNN @StromLaw
                                                     The career path, disposition, and ideology required to be offered a job                           Bestseller “My Vani
                                                     protecting the president means every last one of them is a deranged                               stores now.
                                                     mutant freak.
                                                         24              n 39                     1.2K
                                                     0
                                                                                                                                             What’s happening

                                           •         st. vincent-st. marys grad @StVincentGrad23 · 4 Oct 2020
                                                     Replying to @RespectableLaw
                                                     What about the guys who just hunt down counterfeit money
                                                     0   1                n
                                                     Matt Clark @MrGoldendeal1 · 4 Oct 2020
                                                                                                   2
                                                                                                                                             COVID-19 · LIVE
                                                                                                                                             People should still get
                                                                                                                                             vaccinated even if they’ve
                                                                                                                                             already had COVID-19, hea
                                                                                                                                             agencies and medical expe
                                                                                                                                             say
                                                     Replying to @RespectableLaw
                                                     Secret Service were some of the ones beating the shit out of protestors                 Television · LIVE
                                                     0                   n                         64                                        BBNaija: All the action from
                                                                                                                                             house II
                                                     Jack Liu @baconradar · 4 Oct 2020                                                       Trending with Maria, Beatrice
                                                     Replying to @RespectableLaw                                                             Celebrities · Trending
                                                     ACAB, but especially the potus goon squad.                                              Jared Leto
                                                                         n                         59                                        A first look at Jared Leto’s tr
                                                                                                                                             his role in the upcoming film
                                                            Even more Premium Rankings @VicNobu · 4 Oct 2020                                 has sparked conversation
                                                     Replying to @RespectableLaw                                                             19.3K Tweets
                                                     If it was such a secret how come we always know who they are? They're
                                                     not even good at their jobs                                                                Variety · 2 hours ago
                                                         1                                         36                                        Scarlett Johansson sues D
                                                     0                   n                                                                   over 'Black Widow' stream
                                                     Show replies                                                                            release
                                                                                                                                             Trending with Scarlett Johansso
                                                     That Tweet that I Himbroned @CharlieWBrennan · 4 Oct 2020                               ScarJo
                                                     Replying to @RespectableLaw                                                             COVID-19 · LIVE
                                                     Jar-head robots whose icy dads beat them.                                               COVID-19: News and upda
                                                     0                    n                        4                                         for Massachusetts
                                              This Tweet is from a suspended account. Learn more                                             Show more

                                                    riley bunchofnumbers @ryaitch · 5 Oct 2020                                               Terms of Service Privacy Policy
                                                    they’re literal cops protecting an imperialist state, you don’t have to dig              Ads info More © 2021 Twit
                             Don’t   miss     what’s       happening
                                                    that deep
                             People on Twitter are the first to know.                                                                                       Log in           Si
                                                                                                   10
https://twitter.com/RespectableLaw/status/1312927581260394496                                                                                                              1/3
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                158 of 210
29/07/2021         Respectable Lawyer on Twitter: "I have zero respect for the Secret Service. Fuck every single one of those guys. If you think there are good Secret Ser…

                                                     Anarcho-Feudalist @jermergerg · 4 Oct 2020                                                                                      Q   Search Twitter
                                                     Replying to @RespectableLaw
             Explore                                 The secret service agents who Trump exchanged covid particles with in
                                                     that cramped car during his vanity ride almost certainly voted for him so
                                                     it's very very funny that he's giving them covid in return.
             Settings                                0                                    n                                          56
                                                     blank @Hail_the_Fist · 4 Oct 2020
                                                     Replying to @RespectableLaw
                                                     literally the praetorian guard of the american empire
                                                     0       1                            n                                           7

                                              This Tweet was deleted by the Tweet author. Learn more
                                                     Reign @Reignstradamus · 4 Oct 2020
                                                     When we say ACAB we mean it.
                                                     0                                    n                                           4
                                                     hexhunter + ☭ @hexhunter · 4 Oct 2020
                                                     Replying to @RespectableLaw
                                                     Secret Service, covering up their latest incident:
                                                          wint @dril · 9 May 2014
                                                      drunk driving may kill a lot of people, but it also helps a lot of people
                                                      get to work on time, so, it;s impossible to say if its bad or not,
                                                     0                                    n                                           4



                                           •         Aranock, 4 of Ravens @Aranock1 · 4 Oct 2020
                                                     Replying to @RespectableLaw
                                                     Also they did this:
                                                           Josh Stewart @JoshDStewart · 23 Aug 2017
                                                       The U.S. Secret Service is advertising on Breitbart. Is this a thing?
                                                     ~ause we belie\'e deeply in our mission to make l',fic the
                                                     need to focus the companr to deliver on our mission,~
                                                     .sua\ journalism already makes up 7596of the time that
                                                     new platforms emerge and e.•dsting platfonns continue
                                                     · a dominant fonn of news consumption.~




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                                                     es behind this new market of 'tap stories,' in which we
                                                     tt,~ he continued. "In addition, we remain confident
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                                                      'TJsions into the oremium ddeo soace and alreadv see


                                                     0                                    n                                 'v        5




                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                                                           Log in     Si
https://twitter.com/RespectableLaw/status/1312927581260394496                                                                                                                                             2/3
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                        EXHIBIT B
         August 28, 2020, tweet by Mark Bankston
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                                                160 of 210
29/07/2021                                               Respectable Lawyer on Twitter: "Because fuck them, that's why." / Twitter


   -I                                       ~      Thread                                                                             Q    Search Twitter
    #        Explore                                Respectable Lawyer
                                                    @RespectableLaw                                                                  New to Twitter?
    @        Settings                      Because fuck them, that's why.
                                                                                                                                     Sign up now to get your own per
                                                                                                                                                          Sign up
                                             ~ Ari Fleischer @AriFleischer · 28 Aug 2020
                                                                •
                                             Doing this to an elderly couple, simply because they attended President
                                             Trump’s speech. Why?                                                                    Relevant people
                                                                                                                                               Respectable Lawy
                                                                                                                                               @RespectableLaw
                                                                                                                                               Exclusively practicin
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                                                                                                                                               Ari Fleischer
                                                                                                                                               @AriFleischer
                                                                                                                                               Former WH Press S
                                                                                                                                               News contributor. Y
                                                                                                                                               Dolphins fan. “Afleis

                                           6:00 pm · 28 Aug 2020 · Twitter Web App                                                   What’s happening
                                           682 Retweets 12 Quote Tweets 7,324 Likes                                                  COVID-19 · LIVE
                                                                                                                                     People should still get
                                                                                                                                     vaccinated even if they’ve
                                                    0                    t_l,                                                        already had COVID-19, hea
                                                                                                                                     agencies and medical expe
                                                    Respectable Lawyer @RespectableLaw · 28 Aug 2020                                 say
                                                    Replying to @RespectableLaw
                                                    There's a lot of sad rubes out there voting for Trump who I mostly pity,         t) Variety · 2 hours ago
                                                    but I don't have an ounce of respect or sympathy for some well-heeled
                                                    old couple attending Trump's White House speech.
                                                                                                                                                •
                                                                                                                                     Scarlett Johansson sues D
                                                                                                                                     over 'Black Widow' stream
                                                    0   6               n 39                     1.1K             .!,                release
                                                                                                                                     Trending with Scarlett Johansso
                                                    Respectable Lawyer @RespectableLaw · 28 Aug 2020                                 ScarJo
                                            '"°
                                                    Also:                                                                            Entertainment · Trending
                                                                                                                                     Hawkeye
                                                        • Handball Enjoyer @lib_crusher · 28 Aug 2020
                                                      Replying to @AriFleischer
                                                    I you belong in The Hague
                                                                                                                                     66.3K Tweets
                                                                                                                                     Music · Trending
                                                                                                                                     Chris Brown
                                                        1               n 6                      467                                 Chris Brown appears to addr
                                                                                                                                     controversy surrounding Da
                                                    0                                                             .!,

                                                    Roller Girl li.'1. @kruppofnoodles · 28 Aug 2020                                 Instagram Story
                                                    Replying to @RespectableLaw                                                      24.9K Tweets
                                                    How about they show up with guns instead? Oh wait...that just happened           COVID-19 · LIVE
                                                    in Kenosha.                                                                      COVID-19: News and upda
                                                    0                   n                         18                                 for Massachusetts
                                                    Brydon @BrydonBlack · 28 Aug 2020                                                Show more
                                                    Replying to @RespectableLaw
                                                                                                                                     Terms of Service Privacy Policy
                                                                                                                                     Ads info More © 2021 Twit


                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                               Log in        Si
https://twitter.com/RespectableLaw/status/1299466941061632000                                                                                                   1/3
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                161 of 210
29/07/2021                                                Respectable Lawyer on Twitter: "Because fuck them, that's why." / Twitter

                                                                                                                                      Q   Search Twitter
             Explore
             Settings


                                                        GIF
                                                                              1                   177
                                                    The Wizard of Whoopie @TJEBergen · 28 Aug 2020
                                                    Replying to @RespectableLaw
                                                    "won't anyone think of the complacent olds???"
                                                    0                    n                        60               ,!,

                                                    Rohan @Fine_Feels · 28 Aug 2020
                                                    Replying to @RespectableLaw
                                                    Don't base your political action around what simply feels good and
                                                    cathartic.
                                                    0    2               n                         1               ,!,

                                                    Christine VH @CVHarrold · 28 Aug 2020
                                                    Replying to @RespectableLaw
                                                    The Covington kid got in an old Veterans face. That’s ok though.
                                                    0    1               n 2                       70              ,!,

                                                    Snapchat me says ''yello'' @th_hplss_rollr · 29 Aug 2020
                                                    I mean pretty sure it was the other way round
                                                    0    1               n                         1               ,!,




                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                            Log in     Si
https://twitter.com/RespectableLaw/status/1299466941061632000                                                                                              2/3
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT C
          November 10, 2019, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                163 of 210
29/07/2021         Respectable Lawyer on Twitter: "@KrangTNelson Fuck me, that was two years ago. Feels like yesterday we had that guy to kick around. https://t.co/m…

                                                                                                                                             Q    Search Twitter
             Explore                               Tweet
                                             This Tweet is unavailable. Learn more
             Settings                              Respectable Lawyer
                                                   @RespectableLaw                                                                          New to Twitter?
                                                                                                                                            Sign up now to get your own per
                                           Replying to @KrangTNelson
                                           Fuck me, that was two years ago. Feels like yesterday we                                                              Sign up
                                           had that guy to kick around.
                                                      Baked Alaska.,.•
                                                                                                                 (    Foll<>w )         v
                                                                                                                                            Relevant people
                                                      @bakedalaslra
                                                                                                                                                   Respectable Lawy
                                           Apparentlythere's a coo going on in Saudi                                                               @RespectableLaw
                                                                                                                                                   Exclusively practicin
                                           Arabia and no one is reporting on it                                                                    redistribution of cor
                                                                                                                                                   into the hands of w
                                           3:27 PM - 4 Nov 2017
                                                                                                                                                   exploiting rules the
                                           242 R@tw@@lsS41 Lik@s              @                                                                    for itself.
                                                                                                                                                   america's lounge s
                                            o              n.             CJ                                                                       @KrangTNelson
                                                120             242                541
                                                                                                                                             '   . inventor of the SUV
                                                      Rcspc,ct:iblclawycr          @Respectable Law · 2 3m                              V

                                                   ' Replying to @balcedalaska
                                                      Hello Mr. Alaska, I am wilt>The federalist and I wanted lo know if we could use
                                                                                                                                            What’s happening
                                                                                                                                            COVID-19 · LIVE
                                                      your tweet for an upcoming story on brain parasites.

                                                       Q   6          n       3s         Q   475                                            People should still get
                                                                                                                                            vaccinated even if they’ve
                                                      Baked Ala~ka"' • @oakedalaska - 21m
                                                                                                                                            already had COVID-19, hea
                                                      No u may not
                                                                                                                                            agencies and medical expe
                                                       Q   2          t.l.2              Q   9                                              say
                                                                                                                                               Variety · 2 hours ago
                                                      RMp@rlablC!lawyC!r @Respectablelaw
                                                   ' Gonna do it anyway.try and stop me ruck.
                                                                                                    · 20m                               V

                                                                                                                                                       •
                                                                                                                                            Scarlett Johansson sues D
                                                       Q              U                  Q                                                  over 'Black Widow' stream
                                                                                                                                            release
                                                           2                  14             326


                                           1:35 am · 11 Nov 2019 · Twitter Web App                                                          Trending with Scarlett Johansso
                                                                                                                                            ScarJo
                                           16 Retweets 1 Quote Tweet 608 Likes                                                              Music · Trending
                                                                                                                                            ABEL IS COMING
                                                                                                                                            8,582 Tweets
                                                      the return of waynebilly @MaryHartmanx2 · 11 Nov 2019                                 Entertainment · Trending
                                                      Replying to @RespectableLaw and @KrangTNelson                                         Hawkeye
                                                      I wonder if he’s still blind                                                          66.5K Tweets
                                                           1                                                 6                              COVID-19 · LIVE
                                                                                                                                            COVID-19: News and upda
                                                      Josh Callahan @Jschmuck2 · 11 Nov 2019                                                for Massachusetts
                                                      Replying to @RespectableLaw and @KrangTNelson
                                                      he lived right by me and I never had the chance to shout him out of a                 Show more
                                                      restaurant :(
                                                      o 2                          n                         8          i!i                 Terms of Service Privacy Policy
                                                                                                                                            Ads info More © 2021 Twit
                                                      Bigtime Obama Boy @kyleleehufnagel · 11 Nov 2019
                                                      My man would 100% be in the dishpit not the dining room tho
                                                                                                             2
                             Don’t miss what’s      Privatehappening
                                                    Replying
                             People on Twitter are the
                                                              Equity Communist @oldmanbackagain · 11 Nov 2019
                                                       first totoknow.
                                                                  @RespectableLaw and @KrangTNelson                                                        Log in        Si
                                                    He was home scoo’d leave him alone
https://twitter.com/RespectableLaw/status/1193779142510157824                                                                                                          1/2
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                164 of 210
29/07/2021         Respectable Lawyer on Twitter: "@KrangTNelson Fuck me, that was two years ago. Feels like yesterday we had that guy to kick around. https://t.co/m…
                                                    He was home-scoo d - leave him alone
                                                    0                   n                                                                Q     Search Twitter
             Explore                                Roger @Oppfattet · 11 Nov 2019
                                                    Replying to @RespectableLaw and @KrangTNelson
             Settings                               Cant drink my coffee I'm laughing so much over this
                                                    0                   n                        2
                                                    Justin Defund SPD Ward @justwardoctrine · 11 Nov 2019
                                                    Replying to @RespectableLaw and @KrangTNelson
                                                    Guided by steak




                                                                                                 7
                                                    Chris “Ready for Summer” @newhandleAlaska · 11 Nov 2019
                                                    Replying to @RespectableLaw, @LoverOfShrimp and @KrangTNelson
                                                    Those Saudis and their damned pigeons.
                                                    0                   n

                                                                            Show more replies




                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                  Log in       Si
https://twitter.com/RespectableLaw/status/1193779142510157824                                                                                                     2/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT D
            August 4, 2018, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                166 of 210
29/07/2021          Respectable Lawyer on Twitter: "@spencer12281 @RealCandaceO @nytimes @sarahjeong "Stop being such a jew about it" https://t.co/rVMVo95BX…

                                                                                                                                   Q    Search Twitter
             Explore                           This Tweet was deleted by the Tweet author. Learn more
             Settings                                 Respectable Lawyer @RespectableLaw · 4 Aug 2018
                                                      Weird how when you change it to a historically marginalized group,
                                                      suddenly it becomes extremely ugly instead of funny.
                                                      0   79              u 47                    1.3K

                                               This Tweet is from a suspended account. Learn more
                                                      Respectable Lawyer @RespectableLaw · 4 Aug 2018
                                                      I'm sorry you're not enjoying the experience of being white as much you
                                                      rightfully should.
                                                      0   3               u 2                     337

                                                     Tweet
                                               This Tweet is from a suspended account. Learn more
                                                      Respectable Lawyer @RespectableLaw · 4 Aug 2018
                                                      Cool, then stop crying you giant baby.
                                                      0   2               n 1                     432

                                               This Tweet is from a suspended account. Learn more
                                                     Respectable Lawyer                                                           New to Twitter?
                                                     @RespectableLaw
                                                                                                                                 Sign up now to get your own per
                                             Replying to @spencer12281 @RealCandaceO and 2 others
                                             "Stop being such a jew about it"                                                                         Sign up

                                                                                                                                  Relevant people
                                                                                                                                           Respectable Lawy
                                                                                                                                           @RespectableLaw
                                                                                                                                           Exclusively practicin
                                                                                                                                           redistribution of cor
                                                                                                                                           into the hands of w
                                                                                                                                           exploiting rules the
                                                                                                                                           for itself.
                                                                                                                                           Candace Owens
                                                                                                                                           @RealCandaceO
                                                                                                                                           New York Times be
                                                                                                                                           Founder of @BLEXI
                                             2:27 pm · 4 Aug 2018 · Twitter Web Client                                                     Black people don’t
                                                                                                                                           Democrats— still.
                                             2 Retweets 1 Quote Tweet 411 Likes
                                                                                                                                  What’s happening
                                                      0                    t_l,
                                                                                                                                  COVID-19 · LIVE
                                                                                                                                  People should still get
                                               This Tweet was deleted by the Tweet author. Learn more                             vaccinated even if they’ve
                                                                                                                                  already had COVID-19, hea
                                                                                                                                  agencies and medical expe
                                                      Respectable Lawyer @RespectableLaw · 4 Aug 2018                             say
                                                      I'm whatever religion is going to make you fill your diaper the hardest.
                              Don’t miss what’s1 happening 1
                               People on Twitter are the first to know.
                                                                                                  154                               Variety ·Log
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                                                                                                                                  Scarlett Johansson sues D
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https://twitter.com/RespectableLaw/status/1025810554399727616                                                                                               1/2
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                167 of 210
29/07/2021         Respectable Lawyer on Twitter: "@spencer12281 @RealCandaceO @nytimes @sarahjeong "Stop being such a jew about it" https://t.co/rVMVo95BX…
                                                    Show replies                                                                 over 'Black Widow' stream
   -I                                                                                                                             Q Search Twitter
                                                                                                                                 release
                                                    FIREBEARD @fesso667 · 4 Aug 2018
                                                                 e"                                                              Trending with Scarlett Johansso
                                                    Replying to @RespectableLaw @spencer12281 and 3 others                       ScarJo
    #        Explore                          ,,
                                                    When I read the words Rick Nayman the voice in my head sounds like
                                                    Matt Damon in Team America.                                                  Entertainment · Trending
    @        Settings                                                                                                            Hawkeye
                                                                                                                                 66.5K Tweets
                                                                                                                                 Sports · Trending
                                                                                                                                 Westbrook to the Lakers
                                                                                                                                 4,485 Tweets
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                                                                                                                                 COVID-19: News and upda
                                                                                                                                 for Massachusetts
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                                                    Show replies                                                                 Terms of Service Privacy Policy
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                                             This Tweet was deleted by the Tweet author. Learn more
                                                    Show replies
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                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                           Log in       Si
https://twitter.com/RespectableLaw/status/1025810554399727616                                                                                               2/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                         EXHIBIT E
          January 10, 2019, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                169 of 210
29/07/2021         Respectable Lawyer on Twitter: "Steve King is back in the news, so here is a flashback to my dogged attempts to have the noble congressman impregn…

                                                   Thread                                                                                           Q    Search Twitter
             Explore                                Respectable Lawyer
                                                    @RespectableLaw                                                                                New to Twitter?
             Settings                      Steve King is back in the news, so here is a flashback to
                                                                                                                                                   Sign up now to get your own per
                                           my dogged attempts to have the noble congressman                                                                             Sign up
                                           impregnate my wife to save the white race.
                                                        Steve KingO @SteveKinglA · 22 Nov 2017
                                                        Prime Minister Viktor Orban has uttered         an axiom of history and of humanity.
                                                                                                                                                   Relevant people
                                                                                                                                                             Respectable Lawy
                                                        Western Civilization is the target of George Soros and the Left.

                                                                                                                                                             @RespectableLaw
                                                                                    Defend Europa @DefendEvropa
                                                                                                                                                             Exclusively practicin
                                                                                    A nation which expects its biological survival from
                                                                                                                                                             redistribution of cor
                                                                                                                                                             into the hands of w
                                                                                    immigrants won't survive.


                                                                                                                                                             exploiting rules the
                                                                                                                                                             for itself.
                                                                                    - Viktor Orbiin


                                                        Q    1.2K        tl-   1.0K       Q    2.1K    El
                                                        Respectable lawyer Iii! @Respectablelaw               · 22 Nov 2017
                                                        Representative King, my wife and I live in Iowa's 4th District and we are unable to
                                                                                                                                                   What’s happening
                                                                                                                                                   COVID-19 · LIVE
                                                        have children.

                                                        Q    17          tl-   75         Q    809
                                                                                                                                                   People should still get
                                                        Respectable lawyer Iii! @Respectablelaw                                                    vaccinated even if they’ve
                                                                                                                                                   already had COVID-19, hea
                                                                                                              - 22 Nov 2017                    V



                                                                                                                                                   agencies and medical expe
                                                        The only people we were able to find on Craigslist willing to help were of Italian
                                                        or Jewish descent.

                                                        Q    5           tl-   19         Q    496      ill
                                                                                                                                                   say
                                                                                                                                                      Variety · 2 hours ago
                                                        Respectable lawyer Iii! @Respectablelaw               · 22 Nov 2017
                                                        In short Representative King, I want you to have sex with my wife.                                    •
                                                                                                                                                   Scarlett Johansson sues D
                                                        Q                tl-              Q                                                        over 'Black Widow' stream
                                                                                                                                                   release
                                                             7                 50              809


                                                        Respectable lawyer Iii! @Respectablelaw               · 22 Nov 2017
                                                                                                                                                   Trending with Scarlett Johansso
                                                        She is very white, and pretty in a sad sort of way.                                        ScarJo
                                                        Q                tl-              Q
                                                                                                                                                   Music · Trending
                                                             2                 20              672


                                                        Respectable lawyer Iii! @Respectablelaw               · 22 Nov 2017                        Chris Brown
                                                        I would be honored for your pure seed to take hold in her delicate Anglo-Saxon
                                                                                                                                                   Chris Brown appears to addr
                                                        womb.
                                                                                                                                                   controversy surrounding Da
                                                        Q    6           tl-   23         Q    632      ill                                        Instagram Story
                                                        Respectable lawyer Iii! @Respectablelaw               - 22 Nov 2017                    V
                                                                                                                                                   25.2K Tweets
                                                        Please have someone from your staff contact me if you would be interested in
                                                                                                                                                   Music · Trending
                                                        helping a family in your district preserve the white race.
                                                                                                                                                   ABEL IS COMING
                                                        Q    2           n     18         Q    532      ill                                        8,589 Tweets
                                                                                                                                                   COVID-19 · LIVE
                                                        Respectable lawyer Iii! @Respectablelaw               · 22 Nov 2017


                                                                                                                                                   COVID-19: News and upda
                                                        PS, it is totally up to you whether I am in the room when you impregnate          my
                                                        beloved Caucasian wife, I will respect your wishes either way.

                                                        Q    25          tl-   23         Q    782
                                                                                                                                                   for Massachusetts

                                           2:45 pm · 10 Jan 2019 · Twitter Web Client                                                              Show more
                                           366 Retweets 54 Quote Tweets 2,645 Likes                                                                Terms of Service Privacy Policy
                                                                                                                                                   Ads info More © 2021 Twit
                                                    Q                               t.1-
                                                    Respectable Lawyer @RespectableLaw · 10 Jan 2019
                                                    Replying to @RespectableLaw
                                                                    Respectable lawyer II @Respectablelaw · 24 Nov 2017




                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                             Log in        Si
https://twitter.com/RespectableLaw/status/1083449803936329728                                                                                                                 1/4
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                170 of 210
29/07/2021         Respectable Lawyer on Twitter: "Steve King is back in the news, so here is a flashback to my dogged attempts to have the noble congressman impregn…

                                                                                                                                                         Search Twitter
                                                                 Respectable Lawyer II @Respectablelaw              · 24 Nov 2017
                                                                 Maybe you or your staff missed my request, which I politely raised in one of your   Q
                                                                 recent tweets:


             Explore                                                  Respectable Lawyer II @Respectab!elaw


             Settings
                                                                      Representative King, my wife and I live in Iowa's 4th District and we are
                                                                      unable to have children.

                                                                     n,           t7     <        (")         ,I,


                                                    0 2                        n 11                                 218
                                                    Respectable Lawyer @RespectableLaw · 10 Jan 2019
                                                                 o,               U•             Q      191


                                                                 Respectable Lawyer 11
                                                                 @Respectablelaw

                                                        Replying to @Respectablelaw          @SteveKinglA

                                                        Please have someone on your staff DM me,
                                                        and God protect you and your family's
                                                        shopping on this blessed Black Friday.
                                                        3:20 PM • 24 Nov 2017


                                                        6 Retweets


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                                                    0    3                     n 8                                   212
                                                    Respectable Lawyer @RespectableLaw · 10 Jan 2019
                                                                 Respectable Lawyer 11
                                                                 @Respectablelaw

                                                        Replying to @SteveKinglA

                                                        Representative King, as a proud resident of
                                                        Iowa's 4th District, I could not agree with you
                                                        more, and it is for this reason that I am again
                                                        compelled to ask for your assistance in
                                                        impregnating my sweet Caucasian wife.
                                                        9:10 PM - 26 Nov 2017




                                                    0    1                     n 5                                  192




                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                           Log in     Si
https://twitter.com/RespectableLaw/status/1083449803936329728                                                                                                             2/4
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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29/07/2021         Respectable Lawyer on Twitter: "Steve King is back in the news, so here is a flashback to my dogged attempts to have the noble congressman impregn…

                                                                                                                                          Q    Search Twitter
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                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                  Log in       Si
https://twitter.com/RespectableLaw/status/1083449803936329728                                                                                                      3/4
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                172 of 210
29/07/2021         Respectable Lawyer on Twitter: "Steve King is back in the news, so here is a flashback to my dogged attempts to have the noble congressman impregn…

                                                                                                                                          Q    Search Twitter
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                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                  Log in       Si
https://twitter.com/RespectableLaw/status/1083449803936329728                                                                                                      4/4
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT F
           October 29, 2020 tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                174 of 210
29/07/2021         Respectable Lawyer on Twitter: "@Cryptoterra I could tell you that Kanye made a hologram of Bob Kardashian and he made it tell Kim that his spirit …

                                                                                                                                          Q     Search Twitter
             Explore                                Respectable Lawyer @RespectableLaw · 29 Oct 2020
                                                    For my birthday, Kanye got me the most thoughtful gift of a lifetime. A
             Settings                               special surprise from heaven. A hologram of my dad. It is so lifelike! We
                                                    watched it over and over, filled with emotion.




                                                        12                   58                  1.3K
                                                    Bris Angel @Cryptoterra · 29 Oct 2020
                                                    guessing there's a new thing I have to learn about
                                                   Tweet
                                                      1                                           14
                                                   Respectable Lawyer                                                                     New to Twitter?
                                                   @RespectableLaw
                                                                                                                                         Sign up now to get your own per
                                           Replying to @Cryptoterra
                                           I could tell you that Kanye made a hologram of Bob                                                                   Sign up
                                           Kardashian and he made it tell Kim that his spirit is always
                                           around whenever her pussy farts and that he is so proud                                        Relevant people
                                           she married the greatest genius in the world but you
                                           wouldn’t believe any of that.                                                                            Respectable Lawy
                                                                                                                                                    @RespectableLaw
                                           9:04 pm · 29 Oct 2020 · Twitter for iPhone                                                               Exclusively practicin
                                                                                                                                                    redistribution of cor
                                           2 Retweets 1 Quote Tweet 31 Likes                                                                        into the hands of w
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                                                    0                    t_l,
                                                                                                                                                    Bris Angel
                                                    Bris Angel @Cryptoterra · 29 Oct 2020                                                           @Cryptoterra
                                                    Replying to @RespectableLaw                                                                     microphone check
                                                    anything I see like 10 people tweet verbatim is real and I will not
                                                    investigate further
                                                    0                   n                         5                ,!,                    What’s happening
                                                    Spooky & Sexy @LestradeMorgan · 29 Oct 2020                                           COVID-19 · LIVE
                                           8        Replying to @RespectableLaw and @Cryptoterra
                                                    unfortunately I would believe all of that because we live in a hell world
                                                                                                                                          People should still get
                                                                                                                                          vaccinated even if they’ve
                                                                                                                                          already had COVID-19, hea
                                                    0                   n                         2                ,!,                    agencies and medical expe
                                                                                                                                          say
                                                    Bby⁷ @Exluansis · 29 Oct 2020
                                                    Replying to @RespectableLaw                                                           t) Variety · 2 hours ago
                                                    I need a fucking drink.                                                                          •
                                                                                                                                          Scarlett Johansson sues D
                                                                                                                                          over 'Black Widow' stream
                                                    0                   n                                          ,!,
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                                                    Hayden Gordon @HaydenRGordon · 30 Oct 2020                                            Trending with Scarlett Johansso
                                                                                                                                          ScarJo
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                                                    Replying
                                                         had
                                                               to @RespectableLaw and @Cryptoterra
                                                              me  until "he is so proud"
                             People on Twitter are the first to know.                                                                     COVID-19 · LastLog
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https://twitter.com/RespectableLaw/status/1321981292683104258                                                                                                        1/2
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                175 of 210
29/07/2021         Respectable Lawyer on Twitter: "@Cryptoterra I could tell you that Kanye made a hologram of Bob Kardashian and he made it tell Kim that his spirit …
                                                                                                                                          Health experts discuss the
                                                                                                                                           Q Search
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                                                                                                                                                  updated  mask guida
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             Explore                                                                                                                      Trending in United States
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             Settings                                                                                                                     COVID-19 · LIVE
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https://twitter.com/RespectableLaw/status/1321981292683104258                                                                                                         2/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT G
           October 8, 2019, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                177 of 210
29/07/2021         Respectable Lawyer on Twitter: "Because I am kind to everybody, and that’s true whether you brush your hair differently than me, or if you like pineap…

                                                                                                                                             Q    Search Twitter
             Explore                                 Respectable Lawyer @RespectableLaw · 8 Oct 2019
                                                     Some of you may have seen video of me at the Cowboys game sitting
             Settings                                next to Jared Fogle, the guy from the Subway ads who molested children.
                                                     Here’s the whole story.
                                                     0   66             u 1.8K                    10.1K
                                                     Respectable Lawyer @RespectableLaw · 8 Oct 2019
                                                     First, I want to emphasize that the tickets were given to me by a friend
                                                     who is very rich, and that the seats were very fancy. It’s very important
                                                     you keep that in mind.
                                                     0   1               u 70                     2.5K
                                                     Respectable Lawyer @RespectableLaw · 8 Oct 2019
                                                     Second, I was there primarily to visit l with my very rich friend, not Jared
                                                     Fogle.
                                                     0   2               u 42                      2K
                                                     Respectable Lawyer @RespectableLaw · 8 Oct 2019
                                                     Yes, I did take a cutesy cell phone video with Jared Fogle, and yes, I
                                                     shared a few laughs with the famous pedophile, BUT, and here is the
                                                     important part:
                                                     Thread
                                                        2                     58                   2K
                                                     Respectable Lawyer @RespectableLaw · 8 Oct 2019
                                                     It’s only because I am better than you and more morally praiseworthy, and
                                                     being nice to Jared Fogle proves that.
                                                     0   3               n 70                     2.4K
                                                   Respectable Lawyer                                                                       New to Twitter?
                                                   @RespectableLaw                                                                          Sign up now to get your own per
                                           Replying to @RespectableLaw                                                                                           Sign up
                                           Because I am kind to everybody, and that’s true whether
                                           you brush your hair differently than me, or if you like                                          Relevant people
                                           pineapple on pizza, or if you rape children.
                                           3:14 am · 8 Oct 2019 · Twitter for iPhone                                                                  Respectable Lawy
                                                                                                                                                      @RespectableLaw
                                            77 Retweets 4 Quote Tweets 2,455 Likes                                                                    Exclusively practicin
                                                                                                                                                      redistribution of cor
                                                                                                                                                      into the hands of w
                                                     0                    t.l-

                                                     Respectable Lawyer @RespectableLaw · 8 Oct 2019
                                                     Replying to @RespectableLaw
                                                     In short, I sat in a private luxury box with Jared Fogle for the good of the
                                                     country, as opposed to your ugly, divisive, divide and conquer, win at any
                                                     cost brand of politics.
                                                                                                                                    -
                                                                                                                                    Share
                                                                                                                                                      exploiting rules the
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                                                                                                                                            What’s happening
                                                                                                                                            COVID-19 · LIVE
                                                         38              u 131                     3K                                       People should still get
                                                     0                                                                                      vaccinated even if they’ve
                                                     Derek Ahlswede @derekahlswede · 8 Oct 2019                                             already had COVID-19, hea
                                                     Replying to @RespectableLaw                                                            agencies and medical expe
                                                                                                                                            say
                                                     This is the best thread ever
                                                 V



                                                                                                   1                                           Variety · 2 hours ago
                                                     0                   u                                                                             •
                                                                                                                                            Scarlett Johansson sues D
                                                     Steve @graymagiker · 9 Oct 2019                                                        over 'Black Widow' stream
                                                     Replying to @RespectableLaw                                                            release
                                                     But are you a packers or cowboys fan?                                                  Trending with Scarlett Johansso
                                                                                                                                            ScarJo
                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                       Music · TrendingLog in       Si
                                                    power to the ice pick @britneyskoipond · 9 Oct 2019
https://twitter.com/RespectableLaw/status/1181467917138976768                                                                                                          1/2
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                                     power to the ice pick @britneyskoipond · 9 Oct 2019
29/07/2021         Respectable Lawyer on Twitter: "Because I am kind to everybody, and that’s true whether you brush your hair differently than me, or if you like pineap…

                                              ..     Replying to @RespectableLaw                                                            ChrisBrown
                                                                                                                                            Chris Brownappears to addr
                                                                                                                                             Q Searchsurrounding
                                                                                                                                            controversy  Twitter Da
                                                     Unroll please @threadreaderapp                                                         Instagram Story
             Explore                                 0   1               n                                                                  25.2K Tweets

             Settings
                                           •         Thread Reader App @threadreaderapp · 9 Oct 2019
                                                     Hallo there is your unroll: Thread by @RespectableLaw: "Some of you
                                                     may have seen video of me at the Cowboys game sitting next to Jared
                                                     Fogle, the guy from the Subway ads who m […]"
                                                     threadreaderapp.com/thread/1181467…
                                                     Share this if you think it's interesting.
                                                                                                                                            COVID-19 · Last night
                                                                                                                                            Health experts discuss the
                                                                                                                                            CDC's updated mask guida
                                                                                                                                            Trending with Marco
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                                                                                                                                            COVID-19: News and upda
                                                                          Thread by @RespectableLaw: "Some of you may …                     for Massachusetts
                                                                          Thread by @RespectableLaw: "Some of you may
                                                                          have seen video of me at the Cowboys game …                       Show more
                                                                          6' threadreaderapp.com
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                                                                             Show more replies




                             Don’t miss what’s happening
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https://twitter.com/RespectableLaw/status/1181467917138976768                                                                                                          2/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT H
             January 26, 2020 tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                180 of 210
29/07/2021         Respectable Lawyer on Twitter: "@YouOnlyLeviOnce There won’t be a massive monetary settlement for rape after we drink together if that’s what yo…

                                                                                                                                        Q    Search Twitter
             Explore                                Respectable Lawyer @RespectableLaw · 26 Jan 2020
                                                    While everyone is in shock over a helicopter crash, it's worth
             Settings                               remembering that we lost nearly 40,000 people in car wrecks last year.
                                                    That's like a Vietnam War every year. It needs to be a bigger priority.
                                                    0   538             n 540                  4.3K
                                                    Levi @YouOnlyLeviOnce · 26 Jan 2020
                                                    I bet you're fun to party with
                                                   Tweet
                                                      1                                         1
                                                   Respectable Lawyer                                                                  New to Twitter?
                                                   @RespectableLaw
                                                                                                                                       Sign up now to get your own per
                                           Replying to @YouOnlyLeviOnce
                                           There won’t be a massive monetary settlement for rape                                                             Sign up
                                           after we drink together if that’s what you’re getting at.
                                           8:06 pm · 26 Jan 2020 · Twitter for iPhone                                                  Relevant people
                                           45 Likes                                                                                              Respectable Lawy
                                                                                                                                                 @RespectableLaw
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                                                                                                                                       What’s happening
                                                                                                                                       COVID-19 · LIVE
                                                                                                                                       People should still get
                                                                                                                                       vaccinated even if they’ve
                                                                                                                                       already had COVID-19, hea
                                                                                                                                       agencies and medical expe
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                                                                                                                                       Sports · Trending
                                                                                                                                       Rob Pelinka
                                                                                                                                       Trending in United States
                                                                                                                                       #BeforeJulyIsOver
                                                                                                                                       COVID-19 · LIVE
                                                                                                                                       COVID-19: News and upda
                                                                                                                                       for Massachusetts
                                                                                                                                       COVID-19 · Last night
                                                                                                                                       Health experts discuss the
                                                                                                                                       CDC's updated mask guida
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                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                 Log in        Si
https://twitter.com/RespectableLaw/status/1221600377994448900                                                                                                      1/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                         EXHIBIT I
             September 28, 2018, tweet by Mark Bankston
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                                                182 of 210
29/07/2021         Respectable Lawyer on Twitter: "@Kennyright2 @AtticusGF Well, let's assume for a moment that Brett had some bromantic experimentation in those …

                                                                                                                                       Q    Search Twitter
             Explore
             Settings




                                                   Respectable Lawyer @RespectableLaw · 28 Sep 2018
                                                   In short, the American people are entitled to know
                                                         that a lifetime appointee to the highest instrument of law is not a liar
                                                                                                        𝐛𝐞𝐲𝐨𝐧𝐝 𝐚𝐥𝐥 𝐫𝐞𝐚𝐬𝐨𝐧𝐚𝐛𝐥𝐞




                                                   with a history of being a disgusting sex pest.
                                                   𝐝𝐨𝐮𝐛𝐭




                                                   0   8              n 179                     1.2K
                                                   Respectable Lawyer @RespectableLaw · 28 Sep 2018
                                                   And so I'm not saying every allegation is disqualifying, but if a substantial
                                                   number of fair-minded people have doubts about the appointee's
                                                   integrity, they should be withdrawn.
                                                   0   8               n 72                     798
                                                   Respectable Lawyer @RespectableLaw · 28 Sep 2018
                                                   There are literally thousands of people who could competently fill the role
                                                   and who are also free from significant public doubt about their integrity.
                                                   0   9               n 92                     911
                                                   Respectable Lawyer @RespectableLaw · 28 Sep 2018
                                                   At this point, to support Kavanaugh is to support the idea that it's fine and
                                                   healthy for a substantial portion of America to have reasonable doubts
                                                   about the fitness and honesty of a Supreme Court Justice.
                                                   0   6              n 213                     1.1K
                                                   Respectable Lawyer @RespectableLaw · 28 Sep 2018
                                                   And you may disagree the standard should be quite that high. Maybe you
                                                   want something higher, like "probable cause." And I think that's fair. But
                                                   the idea that Kavanaugh must be proven guilty, or even beyond a
                                                   preponderance of the evidence, is just insane.
                                                   0   8               n 55                     810
                                                   Respectable Lawyer @RespectableLaw · 28 Sep 2018
                                                   But in the end, this "burden of proof" stuff should be academic lawyer
                                                   talk. Because that guy lied to our faces.
                                                   Devil's Triangle is not a drinking game.
                                                   Boofed is not farting.
                                                   He lied. I know it. You know it. They know it. Dogs know it.
                                                   0   49             n 402                     2.2K

                                             This Tweet was deleted by the Tweet author. Learn more
                             Don’t miss what’s happening
                                                    Respectable
                             People on Twitter are the             Lawyer @RespectableLaw · 28 Sep 2018
                                                       first to know.                                                                               Log in       Si
                                                    Boofed is a primarily Northeast/Midwest term meaning "I got unbelievably
https://twitter.com/RespectableLaw/status/1045887134505336832                                                                                                   1/3
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                183 of 210
29/07/2021
                                                     Boofed is a primarily Northeast/Midwest term meaning I got unbelievably
                   Respectable Lawyer on Twitter: "@Kennyright2 @AtticusGF Well, let's assume for a moment that Brett had some bromantic experimentation in those …

                                                     intoxicated."                                                                                           Q    Search Twitter
                                                     Weirdly enough, among junkie subculture, "to boof" means to take drugs
             Explore                                 anally. But the past tense usage would be an active verb vs. passive, e.g.,
                                                     "I just boofed some dope" vs. "I got boofed."
             Settings                                0                          n 1                              3

                                             This Tweet was deleted by the Tweet author. Learn more
                                                     Respectable Lawyer @RespectableLaw · 28 Sep 2018
                                                     Check the whole entry as there as more than one definition. And as I
                                                     mentioned, it can also mean shoving something into your butt. But in the
                                                     context of Brett talking about hanging out with his male friends, I reallllly
                                                     doubt it's anal sex.
                                                         Urban Dictionary: Boofed
                                                         https://www.urbandictionary.com/deflne.php?term=Boofed         ,..
                                                         extremely drunk, derived from the boot box of beer from milwaukee, which was a ton of beer at an
                                                         insanely low price. usually coincides with stumbling and ..




                                                     0                          n                                2

                                                   Tweet
                                             This Tweet was deleted by the Tweet author. Learn more
                                                     Respectable Lawyer                                                                                     New to Twitter?
                                                     @RespectableLaw
                                                                                                                                                            Sign up now to get your own per
                                           Well, let's assume for a moment that Brett had some
                                           bromantic experimentation in those days. I really don't                                                                               Sign up
                                           think they're going to be writing yearbook notes to each
                                           other about the secret anal sex they had. After all, it was                                                      Relevant people
                                           Brett who "got boffed."
                                           12:04 am · 29 Sep 2018 · Twitter Web Client                                                                                Respectable Lawy
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                                           3 Likes                                                                                                                    Exclusively practicin
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                                             This Tweet was deleted by the Tweet author. Learn more                                                                   Atticus Goldfinch
                                                                                                                                                                      @AtticusGF
                                                     Respectable Lawyer @RespectableLaw · 29 Sep 2018                                                                 communications str
                                                     It would be cool if it was tho                                                                                   you idiots. bully wit
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                                                                                                                                                            COVID-19 · LIVE
                                                                                                                                                            People should still get
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                                                                                                                                                            Scarlett Johansson sues D
                                                                                                                                                            over 'Black Widow' stream
                                                                                                                                                            release
                                                                                                                                                            Trending with Scarlett Johansso
                                                                                                                                                            ScarJo
                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                       Entertainment ·Log in
                                                                                                                                                                           Trending      Si
https://twitter.com/RespectableLaw/status/1045887134505336832                                                                                                                          2/3
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                         EXHIBIT J
      September 29, 2018, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                185 of 210
29/07/2021          Respectable Lawyer on Twitter: "@DRomATX @urbandictionary So unless these guys plugging heroin up their butts, the phrase “have you boffed yet…

                                                                                                                                       Q     Search Twitter
             Explore
             Settings




                                            •        Daniel Romero @DRomATX · 29 Sep 2018
                                                     Both? Don't be dense.
                                                     0   1                n
                                                     Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                     Well, I guess because "I'm dense", I'll have to plow through both terms
                                                     and every definition listed in urban dictionary. Ok Daniel. Let's do this but
                                                     I'm sending you an invoice at the end, ok?
                                                     0   2                n                         24
                                                     Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                     The term “Devil’s Triangle” has seven listed definitions on urban
                                                     dictionary. The first, added ten years ago and with more than 1800
                                                     upvotes, is “a threesome with 1 woman and 2 men.”
                                                     0   1                n 2                       13
                                                     Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                     The second, third, fourth, and fifth definitions are all variations of jokes
                                                     about Kavanaugh, making fun of his lame excuse. All were added on
                                                     September 27, 2018.
                                                     0   1                n                         17
                                                     Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                     The sixth definition, added February 2011, claims it is “NOT A THREESUM
                                                     WITH TWO GUYS,” but instead using rough language to say it means
                                                     penetration of all three major orifices. It was heavily downvoted.
                                                         1                     1                    9
                               Don’t miss what’s
                               People on Twitter are the
                                                             happening
                                                      Respectable    Lawyer @RespectableLaw · 29 Sep 2018                                           Log in       Si
                                                      Thefirst to know.
                                                           seventh  definition says it is another name for the Bermuda Triangle,
                                                       hi h i
https://twitter.com/RespectableLaw/status/1045936859535364096
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             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                186 of 210
29/07/2021         Respectable Lawyer on Twitter: "@DRomATX @urbandictionary So unless these guys plugging heroin up their butts, the phrase “have you boffed yet…
                                                   which is true. It’s a Latin American usage and typically in Spanish, though
                                                   not always. Not exactly relevant for our purposes, though.                         Q     Search Twitter
                                                        1               n                        10
             Explore
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                                                   Respectable Lawyer @RespectableLaw · 29 Sep 2018
             Settings                              So, I’m not sure what you’re getting at or what you’re even asking when it
                                                   comes to this term, but that must be because I am dense. I don’t even
                                                   know which of those definitions you’re citing. But those are the
                                                   definitions.
                                                    0   1               n                        16
                                                    Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                    So yeah, it means a MMF threesome. Moving on to “boofed”…
                                                    0   2               n 1                      19
                                                    Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                    The first definition was added in 2004, and it means to have anal sex. It
                                                    was upvoted over 1400 times.
                                                    0   2               n                        9
                                                   Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                   The second definition, added in February 2018, says the term is also
                                                   short for “buttf**ked”, and that it relates to consuming alcohol or drugs
                                                   through the anus.
                                                    0   1               n                        6
                                                    Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                    The third definition, added in November 2009, means “totally spun out of
                                                    your mind” or “high on meth.” It got about 50 upvotes and 50 downvotes.
                                                    0   1               n                        6
                                                   Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                   The fourth definition, added in July 2005, means “extremely drunk,
                                                   derived from the boof box of beer from Milwaukee.” It has about 60
                                                   upvotes and 60 downvotes. Likely a regional thing but who knows?
                                                    0   1               n                        7
                                                   Respectable Lawyer @RespectableLaw · 29 Sep 2018
                                                   The fifth definition means “high from smoking weed”. The sixth is “to
                                                   shove angrily into your anus.” The seventh is “to have sex.” All had less
                                                   Tweet
                                                   than 100 votes and none were particularly popular or unpopular.
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                                                                                                                                      New to Twitter?
                                                  Respectable Lawyer                                                                 Sign up now to get your own per
                                                  @RespectableLaw
                                                                                                                                                          Sign up
                                          Replying to @RespectableLaw, @DRomATX and @urbandictionary
                                          So unless these guys plugging heroin up their butts, the
                                          phrase “have you boffed yet?” means anal sex.                                               Relevant people
                                          3:22 am · 29 Sep 2018 · Twitter Web Client                                                           Respectable Lawy
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                                                    Respectable Lawyer @RespectableLaw · 29 Sep 2018


                             Don’t miss what’s
                                                    Replying to @RespectableLaw, @DRomATX and @urbandictionary
                                                    So, is there any particular point or question you had about any of these
                                                    fourteen various definitions that I was supposed to mind-read, or did I just
                                                    completely waste my time? Because I’m pretty sure I just wasted my time
                                                           happening
                                                    and you’re
                             People on Twitter are the first
                                                         2   to
                                                                 about to say something weird.
                                                                know.         1                   19
                                                                                                                                      •        Daniel Romero
                                                                                                                                               @DRomATX
                                                                                                                                               Nobody #Crypto ne
                                                                                                                                               Semi-pro troll. Hood
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https://twitter.com/RespectableLaw/status/1045936859535364096                                                                                                   2/3
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                                                                                                                                              Urban Dictionary
29/07/2021         Respectable Lawyer on Twitter: "@DRomATX @urbandictionary So unless these guys plugging heroin up their butts, the phrase “have you boffed yet…




             Explore
             Settings
                                           •        Daniel Romero @DRomATX · 29 Sep 2018
                                                    The point is the definition to these was more succinctly defined by urban
                                                    dictionary...which probably had more credence than wiki-fucking-pedia
                                                    than any other source.
                                                    Anyone wishing to obfuscate the true definition of these terms didn't
                                                    cover their bases at all. I'm with U 1/1
                                                                                                                                      Q       @urbandictionary
                                                                                                                                            Search Twitter
                                                                                                                                              Mention   @urbandic
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                                                                                                                                              Dictionary definition
                                                                                                                                                Ii

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                                                                                                                                      Rob Pelinka
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                                                                                                                                      Jared Leto
                                                                                                                                      A first look at Jared Leto’s tr
                                                                                                                                      his role in the upcoming film
                                                                                                                                      has sparked conversation
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                             Don’t miss what’s happening
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https://twitter.com/RespectableLaw/status/1045936859535364096                                                                                                    3/3
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                          EXHIBIT K
          September 6, 2019, tweet by Mark Bankston
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29/07/2021         Respectable Lawyer on Twitter: "@NickRekieta Hey man I gave $7000 to your GoFundMe and you showed up to court in a cheap suit and sneakers. T…

                                                                                                                                     Q     Search Twitter
             Explore                               Tweet
                                             This Tweet is from a suspended account. Learn more
             Settings                              Respectable Lawyer
                                                   @RespectableLaw                                                                   New to Twitter?
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                                           Replying to @NickRekieta
                                           Hey man I gave $7000 to your GoFundMe and you                                                                 Sign up
                                           showed up to court in a cheap suit and sneakers. This is
                                           torturous interference and likely also conspiracy. I will be                              Relevant people
                                           filing suit against you as soon as I can figure out how to
                                           fake a signature on an affidavit.                                                                  Respectable Lawy
                                                                                                                                              @RespectableLaw
                                           3:29 pm · 6 Sep 2019 · Twitter for iPhone                                                          Exclusively practicin
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                                           14 Retweets 222 Likes                                                                              into the hands of w
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                                           •        Dan Keevy @DanielKeevy · 6 Sep 2019
                                                    Replying to @RespectableLaw and @NickRekieta
                                                                                                                                     What’s happening
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                                                    Pirate Toaster @PirateSkyProd · 6 Sep 2019                                       controversy surrounding Da
                                                    Replying to @RespectableLaw and @NickRekieta                                     Instagram Story
                                                    Apparently the Blackjack font works pretty well for that:                        25.4K Tweets
                                                    fontspace.com/typadelic/blac…                                                    COVID-19 · LIVE
                                                    0    1              n                        12                                  COVID-19: News and upda
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                                                    Stephen Kiskamp @skiskamp · 7 Sep 2019
                                                    For about 2 seconds before an intelligent person looks at it.                    Show more
                                                    0                   n                        1
                                                    Damion Schubert, Zen Designer @ZenOfDesign · 6 Sep 2019                          Terms of Service Privacy Policy
                                                                                                                                     Ads info More © 2021 Twit
                                                    Replying to @RespectableLaw and @NickRekieta



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                             People on Twitter are the first to know.                                                                               Log in       Si
https://twitter.com/RespectableLaw/status/1170056549357817862                                                                                                   1/2
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                         EXHIBIT L
          December 31, 2018, tweet by Mark Bankston
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29/07/2021         Respectable Lawyer on Twitter: "Really think it’s myopic of Louis CK to think youngsters can’t subvert dominant paradigms while also doing jello sh…

                                                   Tweet                                                                                   Q     Search Twitter
             Explore                                Respectable Lawyer
                                                    @RespectableLaw                                                                       New to Twitter?
             Settings                      Really think it’s myopic of Louis CK to think youngsters
                                                                                                                                         Sign up now to get your own per
                                           can’t subvert dominant paradigms while also doing jello                                                              Sign up
                                           shots and finger banging.
                                           4:56 pm · 31 Dec 2018 · Twitter for iPhone                                                     Relevant people
                                           83 Retweets 4 Quote Tweets 1,073 Likes                                                                   Respectable Lawy
                                                                                                                                                    @RespectableLaw
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                                                    Tristan Gregory @GregoryWrites · 31 Dec 2018                                                    into the hands of w
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                                                    Replying to @RespectableLaw                                                                     for itself.
                                                    Obviously everybody who has ever challenged the status quo led a
                                                    celibate and sober existence.
                                                    0                   n                        4                                        What’s happening
                                                    Chris Hodorowski @chris_h00d · 31 Dec 2018                                            COVID-19 · LIVE
                                                    Replying to @RespectableLaw                                                           People should still get
                                                    Well said. This gives me hope.                                                        vaccinated even if they’ve
                                                                                                                                          already had COVID-19, hea
                                                    0                   n                        1                                        agencies and medical expe
                                                                                                                                          say
                                                    Stephanie Gangi @gangi_land · 31 Dec 2018
                                                    Replying to @RespectableLaw                                                              Variety · 2 hours ago
                                                    Yes! Exactly!                                                                         Scarlett Johansson sues D
                                                                                                                                          over 'Black Widow' stream
                                                    0                   n                                                                 release
                                                    Deep State Lizard @Baconpwn · 31 Dec 2018                                             Trending with Scarlett Johansso
                                                                                                                                          ScarJo
                                                    Replying to @RespectableLaw
                                                    Pretty sure subvert paradigms is just foreplay.                                       Politics · Trending
                                                                        n                        4                                        Gohmert
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                                                                                                                                          Reps. Louie Gohmert, Marjo
                                                                                                                                          and Matt Gaetz were denied
                                             This Tweet is from a suspended account. Learn more                                           attempting to visit alleged in
                                                                                                                                          a Washington D.C. jail
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                                           •        junebug @whatcolorbird · 31 Dec 2018
                                                    fingerblasted right out of the womb
                                                    fingerblasted right out of the womb
                                                    is it strange to fingerblast so soon?
                                                    0   1               n
                                                    c0nc0rdance @c0nc0rdance · 31 Dec 2018
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                                                                                                                                          COVID-19 · LIVE
                                                                                                                                          COVID-19: News and upda
                                                    Replying to @RespectableLaw                                                           for Massachusetts
                                                    Gosh, if only we had an example of a major social change movement
                                                    dominated by youth culture.                                                           Show more
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                             Don’t miss what’s happening
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https://twitter.com/RespectableLaw/status/1079858807193391105                                                                                                         1/4
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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29/07/2021         Respectable Lawyer on Twitter: "Really think it’s myopic of Louis CK to think youngsters can’t subvert dominant paradigms while also doing jello sh…

                                                    0   1               n                         35                                       Q    Search Twitter
             Explore                                Chrisi, Livable Climate Enthusiast @chrisiousity · 31 Dec 2018
                                                    As a parent, I only wish I believed that all the youth did today was politics
                                                    and pronouns.
             Settings                               Q                   n                         7                .!,

                                                    they call me bruce @ringtrick · 31 Dec 2018
                                                    Replying to @RespectableLaw
                                                    And yet




                                                      Opinion: Millennials are having less sex than any generation in 60 ye…
                                                      I spent most of yesterday morning mulling over Tara Bahrampour’s
                                                      article in the Washington Post headlined “‘There isn’t really anything…
                                                      6' latimes.com

                                                    0   1               n                                          .!,

                                                    Show replies
                                                    John Clavis @johnclavis · 31 Dec 2018
                                                    Replying to @RespectableLaw
                                                    It'd be hard for him to more explicitly articulate an out-of-touch "I don't
                                                    understand kids today" attitude than he already has.
                                                    Q                   n                         12               .!,




                             Don’t miss what’s happening
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https://twitter.com/RespectableLaw/status/1079858807193391105                                                                                                       2/4
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                         EXHIBIT M
            July 20, 2021, tweet by Mark Bankston
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                                                194 of 210
29/07/2021         Respectable Lawyer on Twitter: "@ksorbs Kevin my six year old son is dying from a type of tuberculosis cancer (or possibly COVID-19, not sure) and…

                                                                                                                                         Q     Search Twitter
             Explore                                Kevin Sorbo @ksorbs · 20 Jul
                                                                  •
                                                    i’m not proud of this but i just made a scene in public for the first time in
             Settings                               my life. I walked into Starbucks and they asked me to put a mask on. I
                                                    yelled this is BS. I turned around and walked out. I know what you’re
                                                    thinking… My first mistake was walking into a Starbucks!
                                                   Tweet
                                                      20K                    9.2K                 72.4K
                                                   Respectable Lawyer                                                                    New to Twitter?
                                                   @RespectableLaw
                                                                                                                                        Sign up now to get your own per
                                           Replying to @ksorbs
                                           Kevin my six year old son is dying from a type of                                                                  Sign up
                                           tuberculosis cancer (or possibly COVID-19, not sure) and
                                           his last wish is to do a series of Brazillian jujitsu strikes on                              Relevant people
                                           your nutsack, who do I need to call to make this happen?
                                           9:19 pm · 20 Jul 2021 · Twitter Web App                                                                Respectable Lawy
                                                                                                                                                  @RespectableLaw
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                                           157 Retweets 14 Quote Tweets 5,858 Likes                                                               redistribution of cor
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                                                      C O N S U M E ♦ @OminousBeeping · 20 Jul
                                                    Replying to @RespectableLaw and @ksorbs
                                                    BJJ doesn’t have striking
                                                        7                n
                                                    Respectable Lawyer @RespectableLaw · 20 Jul
                                                                                                  25
                                                                                                                                                  Kevin Sorbo
                                                                                                                                                  @ksorbs        •
                                                                                                                                                  Actor, director, prod
                                                                                                                                                  Click the link to see

                                                    That's the kind of hilarious thing losers like you say right before my               What’s happening
                                                    beautiful dying six year old son Gordon wails on their nutsack using
                                                    precision timed Brazillian jujitsu strikes.                                          COVID-19 · LIVE
                                                        6               n 8                       572                                    People should still get
                                                    0
                                                                                                                                         vaccinated even if they’ve
                                                    Show replies                                                                         already had COVID-19, hea
                                                                                                                                         agencies and medical expe
                                                    Mary Sloan @trueheart39 · 21 Jul                                                     say
                                                    Replying to @RespectableLaw and @ksorbs
                                                    ‘Respectable Lawyer’ there is no way he knew about your child and the                   Variety · 2 hours ago
                                                    CDC stated that it isn’t mask mandatory to wear them inside. Prayers for             Scarlett Johansson sues D
                                                    healing for your son and at 6 yo, they don’t have any idea what Brazilian            over 'Black Widow' stream
                                                    Jujitsu is). Don’t teach him hate.                                                   release
                                                        36               n 3                       58                                    Trending with Scarlett Johansso
                                                    0                                                                                    ScarJo
                                                    Respectable Lawyer @RespectableLaw · 21 Jul                                          Trending in United States
                                                    You know Mary, I think it's really SHAMEFUL how you would deny the                   AMZN
                                                    dying wish of my beautiful son Gordon who KNOWS AT LEAST SIX                         135K Tweets
                                                    different types of Brazilian jujitsu strikes.
                                                        4               n 2                       283                                    Music · Trending
                                                    0
                                                                                                                                         Chris Brown
                                                    Show replies                                                                         Chris Brown appears to addr
                                                                                                                                         controversy surrounding Da
                                                    molly conger @socialistdogmom · 21 Jul                                               Instagram Story
                                                    Replying to @RespectableLaw and @ksorbs                                              25.5K Tweets
                                                    this is a beautiful wish and i hope kevin can help gordon find some peace
                                                    in his final days. surely hercules is as brave and generous as this cop?             COVID-19 · LIVE
                                                                                                                                         COVID-19: News and upda
                                                                                                                                         for Massachusetts
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                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                   Log in        Si
https://twitter.com/RespectableLaw/status/1417655473885614085                                                                                                        1/2
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                195 of 210
29/07/2021         Respectable Lawyer on Twitter: "@ksorbs Kevin my six year old son is dying from a type of tuberculosis cancer (or possibly COVID-19, not sure) and…
                                                                                                                                         Terms of Service Privacy Policy
                                                                                                                                         Q     Search Twitter
             Explore
             Settings
                                                        Watch a Teen Fulfill Her Dying Wish to Tase a Police Officer
                                                        These police officers came through.
                                                        6' teenvogue.com                                                          ,
                                                                                                                              /



                                                    0     11             n 40                    833
                                                    Show replies
                                                    CherylMMMM @Cherylmmmm · 22 Jul
                                                    Replying to @RespectableLaw and @ksorbs
                                                    Prayers for your child, kind Sir
                                                    0                     n                                       .!,

                                                    GACFamilyRocks! @sam696979 · 22 Jul
                                                    Replying to @RespectableLaw and @ksorbs
                                                    My husband said call Zena warrior princess! Lol.
                                                    0                     n                                       .!,

                                                    LSD @Lucie31424715 · 23 Jul
                                                    Replying to @RespectableLaw and @ksorbs
                                                    LMFAO!! Your kid rocks!
                                                    0                     n                                       .!,

                                                    Jennifer @jholbert123 · 23 Jul
                                                    Replying to @RespectableLaw and @ksorbs
                                                    Is there a go fund me started to make this happen?
                                                    0                     n                                       .!,




                             Don’t miss what’s happening
                             People on Twitter are the first to know.                                                                                  Log in        Si
https://twitter.com/RespectableLaw/status/1417655473885614085                                                                                                       2/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT N
             October 4, 2019, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                197 of 210
29/07/2021               Respectable Lawyer on Twitter: "@Tolerance_haver @Emc2_Ted I'm just going to take a pill from InfoWars that makes me calm." / Twitter

                                                                                                                                        Q     Search Twitter
             Explore                                Respectable Lawyer @RespectableLaw · 4 Oct 2019
                                                    AOC not arguing with the crazy lady saying we should eat babies means
             Settings                               AOC is cool with eating babies.
                                                    0   103             n 165                  3.4K
                                                    Ted Haulley @Emc2_Ted · 4 Oct 2019
                                                    You realize Candace Owens pretty much said that.
                                                    0   4               n 1                    86

                                                   Tweet
                                             This Tweet is from a suspended account. Learn more
                                                   Respectable Lawyer                                                                  New to Twitter?
                                                   @RespectableLaw
                                                                                                                                       Sign up now to get your own per
                                           Replying to @Tolerance_haver and @Emc2_Ted
                                           I'm just going to take a pill from InfoWars that makes me                                                        Sign up
                                           calm.
                                           5:15 pm · 4 Oct 2019 · Twitter Web App                                                      Relevant people
                                           119 Likes                                                                                             Respectable Lawy
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                                                    Dave @Tzelph · 4 Oct 2019                                                                    exploiting rules the
                                                    Replying to @RespectableLaw, @Tolerance_haver and @Emc2_Ted                                  for itself.
                                                    They sure seem to make Alex Jones chill out.
                                                                        n                       17                                               Ted Haulley
                                                    0                                                                                            @Emc2_Ted
                                                                                                                                                 Navy Reservist, hist
                                             This Tweet is from a suspended account. Learn more                                                  fan and proud fathe
                                                       Saffi @SaffiEriksdottr · 4 Oct 2019
                                                    This is a fun read for people who hate David Brooks:
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                                                    phillymag.com/news/2004/04/0…                                                      COVID-19 · LIVE
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https://twitter.com/RespectableLaw/status/1180230065877073920                                                                                                     1/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT O
               June 13, 2020, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                199 of 210
29/07/2021                                    Respectable Lawyer on Twitter: "@dan_fic I take InfoWars pills which make me calm." / Twitter

                                                                                                                                          Q    Search Twitter
             Explore                                Respectable Lawyer @RespectableLaw · 13 Jun 2020
                                                    You ever get so angry that you become filled with the desire to murder
             Settings                               the Goofy lawyer on Twitter? twitter.com/GregForsythe14…
                                                      This Tweet is from a suspended account. Learn more
                                                    0   36              u 49                    1.2K
                                                    Dan Fic @dan_fic · 13 Jun 2020                                                       New to Twitter?
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                                                   Tweet
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                                                   Respectable Lawyer
                                                   @RespectableLaw
                                           Replying to @dan_fic
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                                           I take InfoWars pills which make me calm.                                                              Respectable Lawy
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                                           9:28 pm · 13 Jun 2020 · Twitter Web App                                                                Exclusively practicin
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https://twitter.com/RespectableLaw/status/1271977717978804224                                                                                                        1/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                               EXHIBIT P
               April 15, 2019, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                201 of 210
29/07/2021         Respectable Lawyer on Twitter: "@JA_Burton @G_eppler @MattWalshBlog Here’s the thing about the stuff you hear on InfoWars: it’s not real. That’…

                                                                                                                                       Q    Search Twitter
             Explore                                Matt Walsh @MattWalshBlog · 15 Apr 2019
                                                                 •
                                                    I don’t understand how a fire of this magnitude could happen accidentally
             Settings                               0   4.3K             n 2.1K                   8K
                                                    Respectable Lawyer @RespectableLaw · 15 Apr 2019
                                                    Normally I'd say that's because you're incredibly dumb, but in this case
                                                    it's clear you're just being a disingenuous goon in the hopes of spreading
                                                    a ridiculous conspiracy narrative to help feed the idiotic kayfabe of your
                                                    manufactured culture war.
                                                    0   98              n 232                   6.2K

                                             This Tweet was deleted by the Tweet author. Learn more
                                                    Respectable Lawyer @RespectableLaw · 15 Apr 2019
                                                    You mean the Newsweek article from last month that discussed a single
                                                    fire in a single church that all you paranoid chuds are freaking out about
                                                    to support your weird rants? The explanation is that you're a twitchy
                                                    freak.
                                                    0   82              n 58                    3.8K

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                                                   Respectable Lawyer                                                                 New to Twitter?
                                                   @RespectableLaw
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                                           Replying to @JA_Burton and @MattWalshBlog
                                           Here’s the thing about the stuff you hear on InfoWars: it’s                                                     Sign up
                                           not real. That’s not reality. That’s some weird fantasy. It’s
                                           made up.                                                                                   Relevant people
                                           5:17 pm · 15 Apr 2019 · Twitter for iPhone
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                                           29 Likes                                                                                             @RespectableLaw
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https://twitter.com/RespectableLaw/status/1117899754149597186                                                                                                    1/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT Q
              March 17, 2019, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                203 of 210
29/07/2021          Respectable Lawyer on Twitter: "@Ceeeeples @Queranus77 @Jewthulhu @Maii_Degeese @klartilkamp If you're asking for better outlets than Info…

                                                                                                                                                                                                            Q   Search Twitter
             Explore                               Respectable Lawyer @RespectableLaw · 17 Mar 2019
                                                   LMAO why am I not shocked Pewdiepie follows stuff like Stefan
             Settings                              Molyneaux, Brittany Pettibone, and InfoWars.
                                                       Guild officer with loot needs @gokunaruto3000 · 17 Mar 2019
                                                    smash an egg over this guys head
                                                    Show this thread
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                                                   Respectable Lawyer @RespectableLaw · 17 Mar 2019
                                                   Your brain is so god damn broken that it really doesn't matter what I say
                                                   to you right now. Go toss a few old shoes in a blender with a cup of milk,
                                                   drink it, videotape your neighbor's dog for six hours, write several emails
                                                   to Senator Sheldon Whitehouse, and download hentai.
                                                   0                    n                                                       72                                       .!,


                                            This Tweet was deleted by the Tweet author. Learn more
                                                   Billy Mishima Amogus @klartilkamp · 17 Mar 2019
                                                   Let me guess, Stefan saying that slavery was a good thing, or that white
                                                   people werent responsible for enslaving Africans, or non-white citizen
                                                   shouldn’t be in the west are all very rational and not at all racist opinions?
                                                   0                   n                                                        24                                       .!,


                                            This Tweet was deleted by the Tweet author. Learn more
                                                   Sealab Cadet @Maii_Degeese · 17 Mar 2019
                                                   Fair enough, but pseudo philosopher is an understatement. He's a full on
                                                   quack, and peddles racist conspiracy theories. Thats what he did in
                                                   Australia with Lauren Southern before they tried to do the same in New
                                                   Zealand.
                                                   0                    n 1                                                     12                                       .!,


                                            This Tweet was deleted by the Tweet author. Learn more




                             Don’t   miss
                                          •        Quatre-Vingt Dix Neuts @Jewthulhu · 17 Mar 2019
                                                   They’re super-racist. Him being a quack isn’t really the problem; you can
                                                   find all kinds of fake-deep philosophers in any high-school senior class.
                                                   It’s that he’s Incredibly Racist that’s the actual problem.
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                                                                      @Queranus77 · 17 Mar 2019                                                                                                                        Log in     Si
                                                   Andrew Bolt who has himself peddled racist and xenophobic crap on his
https://twitter.com/RespectableLaw/status/1107457979366981633                                                                                                                                                                    1/3
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                204 of 210
29/07/2021          Respectable Lawyer on Twitter: "@Ceeeeples @Queranus77 @Jewthulhu @Maii_Degeese @klartilkamp If you're asking for better outlets than Info…
                                                    Andrew Bolt, who has himself peddled racist and xenophobic crap on his
                                                    show, considered Southern and Molyneux to be too extreme and racist                    Search Twitter
                                                    when he interviewed them.                                                         Q

             Explore                                0   1                n                         5

             Settings                        This Tweet was deleted by the Tweet author. Learn more
                                                    Respectable Lawyer @RespectableLaw · 17 Mar 2019
                                                    Honestly you little weirdo, it's not so much your affinity for wretched
                                                    racists with brains full of rancid dishwater, it's the fact you said "InfoWars
                                                    is alright," which is one of the most horrifyingly dumb things you could
                                                    have ever said to me.
                                                    0                    n                         3

                                                   Tweet
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                                                    Respectable Lawyer                                                               New to Twitter?
                                                    @RespectableLaw
                                                                                                                                     Sign up now to get your own per
                                           If you're asking for better outlets than InfoWars, the
                                           answer is LITERALLY ANY OTHER OUTLET. I'd line my                                                              Sign up
                                           chicken coop with the Daily Caller but it's basically
                                           Edward Murrow compared to InfoWars, you freak.                                            Relevant people
                                           Also FYI Molyneaux and Pettibone are objectively,                                                   Respectable Lawy
                                           proudly, racist.                                                                                    @RespectableLaw
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                                           9:45 pm · 17 Mar 2019 · Twitter Web Client                                                          redistribution of cor
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https://twitter.com/RespectableLaw/status/1107457979366981633                                                                                                   2/3
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        EXHIBIT R
          August 13, 2018, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                206 of 210
29/07/2021         Respectable Lawyer on Twitter: "@CillizzaCNN If you want to know why Alex Jones was able to thrive, look in the mirror you goofy parasite." / Twitter


   -I                                                                                                                                      Q     Search Twitter
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                                                     . Chris Cillizza @ChrisCillizza · 13 Aug 2018
                                                                       •
                                                       And now I am told this is a fake Strzok account...
    @        Settings                                   <) Chris Cillizza @ChrisCillizza · 13 Aug 2018
                                                                            •
                                                        So I guess Strzok isn't sorry or.... twitter.com/notpeterstrzok…
                                              ~         Tweet
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                                                   Respectable Lawyer                                                                     New to Twitter?
                                                   @RespectableLaw
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                                           Replying to @ChrisCillizza
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                                           look in the mirror you goofy parasite.
                                           6:10 pm · 13 Aug 2018 · Twitter for iPhone                                                     Relevant people
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https://twitter.com/RespectableLaw/status/1029128026813067264                                                                                                        1/2
22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                         EXHIBIT S
          January 21, 2020, tweet by Mark Bankston
             22-01023-tmd Doc#1-12 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                                208 of 210
29/07/2021              Respectable Lawyer on Twitter: "@ShawnRobb3 @TomSteyer @BernieSanders Posting these fake quotes is just as bad as Alex Jones." / Twitter

                                                                                                                                        Q    Search Twitter
             Explore                        t•    \   Tom Steyer @TomSteyer · 21 Jan 2020
                                                                   •
                                                      At the risk of getting in the middle of it — I like @BernieSanders.
             Settings                                 Now let's move on, America.
                                                      0   6K            u 11.5K                   106.4K

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                                              This Tweet is from a suspended account. Learn more
                                                   Respectable Lawyer                                                                  New to Twitter?
                                                   @RespectableLaw
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                                           Replying to @ShawnRobb3, @TomSteyer and @BernieSanders
                                           Posting these fake quotes is just as bad as Alex Jones.                                                          Sign up
                                           3:42 pm · 21 Jan 2020 · Twitter Web App
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                              People on Twitter are the first to know.                                                                 COVID-19 · LIVELog in        Si
https://twitter.com/RespectableLaw/status/1219721879939960832                                                                                                      1/2
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